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17-2371-cr
   United States Court of Appeals
                           for the

                 Second Circuit

               UNITED STATES OF AMERICA,

                                                               Appellee,

                           – v. –

                     JOSEPH VALERIO,

                                                   Defendant-Appellant.
              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NEW YORK


                      APPENDIX
           Volume 2 of 2 (Pages A228 to A407)




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                  The redactions herein are consistent with the order of the District
                  Court requesting that children's names be redacted as well as the name
                  of the woman from South Africa who testified at the Fatico hearing.
                                                                                           1
                  1                         UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF NEW YORK
                  2
                         ----------------------------X
                  3
                         UNITED STATES OF AMERICA,                    CR 14-0094
                  4

                  5             -against-
                                                                     U.S. Courthouse
                  6                                                  Central Islip, NY
                         JOSEPH VALERIO,
                  7                                                  September 26, 2016
                             Defendant.                              1:45 p.m.
                  8
                         ----------------------------X
                  9

                 10                       TRANSCRIPT OF FATICO HEARING
                                     BEFORE THE HONORABLE JOSEPH F. BIANCO
                 11                      UNITED STATES DISTRICT JUDGE

                 12
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                 13
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                 22

                 23

                 24      Proceedings recorded by mechanical stenography; transcript
                         produced by computer transcription.
                 25




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1
2
3
              (Case called.)
                 MR. KABRAWALA: Good afternoon, Judge, Ameet
     Kabrawala and Allen Bode for the United States.
                                                                      2


                                                                                    1
                                                                                    2
                                                                                         Q
                                                                                         A
                                                                                                             D

                                                                                                              -      - Direct/Kabrawala


                                                                                              How many children do you have?
                                                                                              I've got two. I have a son who is nine years old and
                                                                                                                                                          4




                                                                                                                           -
4                THE COURT: Good afternoon.                                         3    a daughter seven.

5                MR. LATO: Leonard Lato and Anthony LaPinta for                     4    Q    What are their names?

6
7
8
     Mr. Valerio.
                 THE COURT: Good afternoon.
                 We scheduled this as a continuation of the
                                                                                    5
                                                                                    6
                                                                                    7
                                                                                         A
                                                                                         Q
                                                                                         A
                                                                                              L
                                                                                               •       , and daughter is A      .
                                                                                              Can you briefly describe your eduational background?
                                                                                              I studied finance in 2000 while I got my degree in
                                                                                    8    2000. It's called E.comm. And I've done a number of
9    Fatico hearing, so are we ready to proceed.
                                                                                    9    other courses but I got it.
10               MR. KABRAWALA: Yes, your Honor. The government
                                                                                   10    Q    The spelling of it is E.comm?
11   has one witness who is here.
                                                                                   11    A    Yes.
12               THE COURT: I appologize we moved the time from
                                                                                   12    Q    It's Doctoral in Commerce?
13   the trial that went over from last week so I appreciate
                                                                                   13    A    Yes.
14




                                                                -
     everybody changing their schedule.
                                                                                   14    Q    You got that around 2000?
15




      -
                 Who are you calling?
                                                                                   15    A    Correct.
16               MR. KABRAWALA: The witness' name is A
                                                                                   16    Q    Have you ever been to the United States before?
17   D         ,D                     and she is entering the courtroom
                                                                                   17    A    Yes, I've made a number of trips.
18   now.
                                                                                   18    Q    How many times have you been in the United States?
19               MR. LATO: Your Honor, just in terms of your                       19    A    I've been here now five times, five trips.
20   Honor's schedule, Mr. Kabrawala tells me he will be about                     20    Q    Can you please tell us approximately the month and
21   an hour. I figure I will be about a half hour, no more                        21    years you've been in the United States starting with your
22   than that. If we can have ten minutes between the direct                      22    first trip to the U.S.?
23   and cross so I can confer with Mr. Valerio?                                   23    A    The first time I came here was in February of 2008.
24               THE COURT: Absolutely.                                            24    I stayed around about the end of May of '08. Then I went
25



 1
 2
 3
        -        THE CLERK: Please remain standing and raise




     your right hand.
     A
                          D




                              D
                                      - Direct/Kabrawala




                                               ,
            called as a witness, having been first
                                                                      3
                                                                                   25



                                                                                    1
                                                                                    2
                                                                                    3
                                                                                                             D

                                                                                                              -
                                                                                         home to visit my mother for a couple weeks and I returned
                                                                                                                     - Direct/Kabrawala


                                                                                         again the end of June, somewhere there, stayed until
                                                                                         around about October-November and I went home to visit my
                                                                                         family. Then I came back. I think it was shortly before
                                                                                                                                                          5




      - -
 4          duly sworn, was examined and testified                                  4    Christmas, if I remember correctly.
 5          as follows:                                                             5                  And the last time I left I actually stayed for
 6            THE WITNESS: A                  ,A                                    6    an extended period. I overstated my permitted stay and
 7   D         ,D                 .                                                 7    left in March of 2010.
 8               THE COURT: You may be seated. If you can pull                      8    Q    So generally speaking, approximately you were here
 9   your chair up.                                                                 9    from February of '08 until May of '08, and then from June
10               Go ahead, Mr. Kabrawala.                                          10    of '08 until approximate October, November of '08, and you
11               MR. KABRAWALA: Thank you, Judge.                                  11    came back in -- toward the end of the year in 2009 and
12   DIRECT EXAMINATION                                                            12    stayed about 14 months until March of 2010?
13   BY MR. KABRAWALA:                                                             13    A    Correct.
14   Q      Good afternoon.                                                        14    Q    That just give us some bookends in terms of your
15   A      Good afternoon.                                                        15    prior stays here.
16   Q      Where are you from?                                                    16                  Now on all occasions that you visited the United
17   A      Johannesburg in South Africa.                                          17    States, did you come to Long Island, New York?
18   Q      Are you lived there your entire life?                                  18    A    Yes, I did.
19   A      Born and raised there.                                                 19                  When I first stayed here, I moved into a home in
20   Q      When were you born?                                                    20    Water Mill that Joseph owned and I stayed there for my
21   A      In 1979.                                                               21    first trip.
22   Q      Did you receive a subpoena to testify here today?                      22                  When I came back on my second trip I stayed for
23   A      Yes, I did.                                                            23    a couple of weeks in the house in Smithtown and that's
24   Q      Did you travel here with anyone?                                       24    where I was staying.
25   A      No, my children are at home.                                           25    Q    Are you referring to Joseph Valerio when you say
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                                                                          A-230



  1
  2
  3
       "Joseph"?
       A
       Q
            Yes.
                         -
                         D         - Direct/Kabrawala




            Do you see Mr. Valerio in the courtroom today?
                                                                    6
                                                                                  1
                                                                                  2
                                                                                  3
                                                                                                       D

                                                                                                        -        - Direct/Kabrawala


                                                                                       looked forward to develop the relationship.
                                                                                       Q    Tell us how the relationship progressed in the first
                                                                                       few months?
                                                                                                                                                    8




  4    A    Yes, I do.                                                            4    A    In the beginning it was really good, had a lot of
  5    Q    Could you please identify Mr. Valerio by pointing him                 5    fun, treated me very, very well, and then he started to
  6    out and describing an article of clothing he's wearing?                    6    become a little angry. If he had a bad day, and that
  7    A    A khaki green shirt.                                                  7    became two bads days in the week. The bad week would come
  8    Q    A khaki green shirt.                                                  8    a bad month. And his frustrations and anger became a
  9                MR. KABRAWALA: May the record reflect the                      9    regular occasion.
 10    witness has identified Mr. Valerio?                                       10              I was downstairs and I put my son in for a nap
 11                THE COURT: Yes.                                               11    and I wet to fetch him a bottle of formula and he tripped
 12    Q    Can you please tell us how you came to know                          12    me and started to laugh, and said to me you should be less
 13    Mr. Valerio?                                                              13    clumsy. It was a little bit of affront because I knew it
 14    A    I met Joseph on line on a dating website called                      14    was deliberate. I didn't know how to respond. That was
 15    christiansingles.com.                                                     15    the first incident that I recalled.
 16    Q    Around when was that?                                                16              After that I remember an incident where we've
 17    A    Around about July or August of '07 and I was seven                   17    been to the beach for the morning and we came back and
 18    months pregnant with my son at the time.                                  18    preparing lunch. Joe had been preparing something, I was
 19                We started communicating on line and he gave me               19    preparing something, and I thanked him for the trip, and I
 20    his personal e-mail address and started to communicate                    20    said I enjoyed my day and he said he didn't like my
 21    through private e-mail, and he used to phone me. And this                 21    response the way I thanked him and I couldn't understand
 22    continued for some time.                                                  22    what he met but he became very angry.
 23                Around about when my son was 3 months old, he                 23              I remember he became quite irate and he through
 24                                                                              24




                         -                                                                              -
       asked me to come to the United States.                                          me down to the kitchen floor and started choking me and
 25    Q    When, is it fair to say, you were developing a                       25    hitting me and I screamed.

                         D         - Direct/Kabrawala                                                  D         - Direct/Kabrawala
                                                                    7                                                                               9
  1    romantic relation with Mr. Valerio and on the phone?                       1              I remember hearing a teenaged boy next door,
  2    A    Yes.                                                                  2    mom, there's a woman screaming. And I don't know if it
  3    Q    This was around 2007?                                                 3    was a neighbor, but I heard Joe saying something to them
  4    A    Correct.                                                              4    and they left. And I just stayed in the room for the rest
  5    Q    At some point you two decided to meet?                                5    of the morning --
  6    A    In February of '08, I came to the United States for                   6              MR. KABRAWALA: I'm sorry for cutting you off.
  7
  8
  9
       the first time and that's when I met him in person for the
       first time.
       Q    When he collected you at the airport?
                                                                                  7
                                                                                  8
                                                                                  9
                                                                                       Q
                                                                                       A
                                                                                            How did Mr. Valerio behave toward L
                                                                                                                                 •    , your son?
                                                                                            He treated him very well in the beginning, very
                                                                                       loving, affectionate and I felt good about that.
 10    A    Yes.                                                                 10              He treated him well. He did everything that
 11
 12
 13
       Q
       A
       Q
            By the way, who paid for your plane ticket.
            Joe did.
            Did you have a child at this point?
                                                                                 11
                                                                                 12
                                                                                 13
                                                                                       L
                                                                                        •   needed. He would buy him a walking ring, buy him all
                                                                                       things that children need, gifts, things like that, and
                                                                                       treated him very well in the beginning.
 14    A    I had my son who was about three or four months old                  14    Q    Did that continue?
 15    at the time because he was born in October, so I brought                  15    A    No. As the relationship went on he made me feel my
 16    him with me.                                                              16    son was a burden, didn't want him around. I felt that he
 17    Q    That was your first time in the United States?                       17    began to resent him.
 18    A    Yes.                                                                 18    Q    What did Mr. Valerio say to you about your son?
 19    Q    You said that you lived in Water Mill?                               19    A    Well, there was a time I remember when my son was
 20    A    Yes, when he fetched me from the airport he took me                  20    crying because he was an infant and Joe would say he
 21
 22
 23
       to his home in Water Mill and I was thrilled to be here.
                   He treated me very well. He greeted me with a
       beautiful bouquet of roses, went to the home, enormous box
                                                                                 21
                                                                                 22
                                                                                 23
                                                                                       didn't sign up for this and if L
                                                                                                                        •    continued to cry maybe
                                                                                       he should be locked in the basement. Things like that
                                                                                       really upset me a lot.
 24    of chocolates, brought a beautiful gift to my son and made                24              If I used my son and gave him a lot of affection
 25    me feel very welcome and pleased that I was here, and I                   25    -- no, you are coddling him, he is a boy, he needs to
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                                ~           . Direct/Ka brawala                                                                    ~              . Direct1Kabrawa la
                                                                                     10                                                                                                              12
 1 t Oll g he n up.                                                                                   1   d id n 't w .. nt a n yone to be ups et a oou t the thi n g s that
 2 Q Did Mr. Va lerio tell you about any other worTI€n he was                                         2   ha p pened and creat e unnecessary issue s .
 3 involved with or was involved ... his lite?                                                        3   Q     YOll mentioned earli c r you left the Uni ted St" tc5 in

 • A       Wh" n r .. tart" d to rooo01 11 n i" at" wit h nn Ii"", h" t n lrl
 5 "''' d oou l his UJu~ i,, ' ~ d d uy h lt:r Loy l l,., II d ll '" u f Vdlt: r id .
                                                                                                      •   ~ ppr(])rim~tF ly

                                                                                                      5 Afr i<:d?
                                                                                                                                  M"V nt     ~ OOR       1).<1 ',Oil [Jo h;odc hOlTIf' t n SoIlit1



 •
 7
      The way he           ~         .. bout her, he ta lked a oollt her like ,.he
      wa s any othe r family m e mber.
                                                                                                      •
                                                                                                      7
                                                                                                          A     Ve,., I wa,. mis,.ing my mo the r very muc h and I knew
                                                                                                          !Jecall se mv son was so y o u llg and the dlild ren g row up
 8                    Then a5 t ime we nt on, afte r I met Joe and I wa s                             8   qu ic kly, s he would w a nt to see my son a g a in. So I a .. ked
 9    li"in!) with him , I .... w Ih ..1 h ... a ff.,.,ti n n .. lnwa rd~ I",r                        9    ,"" if I   f"I"lII~d   pI..,a _   vi _~i t   my m " l h.., r.
10    w e re j u .. t moo-e than lamil y a ",l he .. poke about hel-, how                           10                   Du ring th a t time in May he had mentione d th .. t he


"     wonderft~          ",he   wa ~,     wh y I dlOl,l<I be mo re like he r. I Wil<O
12 ne " e r Qood ellOllQh, and he a lwa ys used to lDIllpa re                                       "12
                                                                                                          w .. s in volved in som e kind o f fashi on show, I don't know if
                                                                                                          h e had arr .. nQed it o r he was iust involve d , but he wa s


,.
13 e veryt hing I did, everyth ing I sai d , Ihe w a y I d ....ssed ,
      a lways co m pared t o he r and t old me how she was t he lo" e of
                                                                                                    13
                                                                                                    14
                                                                                                          d o ing some thing w it h it a nd h" ilsked n.., t o b-e a pa rt o f
                                                                                                          it, but the d e tails th a t he gave about it made one


,.
15    hi s life a n d he w a s t he w oman he really wante d t o Loe wi t h.
      Q        During the Ii .. t fe w months a t Mr_ Va lerio's Water                              ,.
                                                                                                    15    e xtl·e ",e ly u ncomfort a bl e a n d I t hought it wa .. a g <><Kl
                                                                                                          opportunity f o r me befo re thi", fashion ",,-- s o I -.uhf n 't
17    Mill horTl€, did you come to meet any of his family memlJ.ers?                                17    have to d o a nyth inQ a bout il . And he had t o ld m e thilt
18    A        Yes, whe " my son was s ix mont h s o ld , w e decid "" t o                          18    t he .... we .... peop le th a t d es ig n"" a d ress, a parti c ular
19    m eet h is pa rents and 1 was s tayin IJ a t th e Wate r Mill h o me                          19    d ress t hey wanted me to Weil r and he s ta rted to t e ll one ho w
20    bee.....se J o se ph had a 12 o r 1 3 yea r old ,.., ,, .. t t he time and                    20    in t h e back room w e wou ld be w e a ring nothi n g Lout pa n ty
21    becao. ... e he would been r ecently rl ivo rced, he didn"t wan t t o                         21    h rn;e and t he girl w o u ld teed m e a glass o t c h a m roag ne and
22    Ull~t:l    hi s "." , Lov ill l ,udu'''"11 d "t:w WUlndll dl,d _ " ill lu his                 22    sulI ,t: loud v wuu "'!       ~I i "   d ri mlt:r    ill~iolt:   "'t:, ..",I I Il ,uUllhl I
23    in-la w .. , and I resp<>et ed t ha .. a,, 01 I t houg ht t h a t wa s                        23    wou ld w ith be very u ncom fo rta ble a nd it would be a good
2.    fa ir.                                                                                        24    t ime t o "is it my m other SO he could g o lO the fa shion s ho w
25                    By the n whe n my son wa s s ix mo nths old we                                25    wit h o ut me.
                                ~           . DirectlKa brawala                                                                    ~              . Direct1Ka braWII la


 1    t hought it was a g oool io1"a t o meet h is pa .... n ts .              I was
                                                                                     11
                                                                                                      1   Q     D.d you rerum - - withdrawo. How long approximately                                  "
 2    ullC:o m fo rta ble wit h t he sit ua t io n t hat he d idn ·t Wilnt hi s                       2   d id you spend In South Afnca                  OIl   that retlXTf!
 3    pa r e n ts to know th .. t m y son wasn't hi" son, a nd he wanted                              3   A     It    Wil5   a coupl e wee ks. I remem ber leaving aro und
 4    to introoluce m yself to his .... ren ... as his c h ild, a s a                                 4   a bout t he en d o f Nay, I t hi n k, and I t hink it wa s fOll ror
 5 newborn ch ild , but my m ild was s ix mo nths old at the                                          5   s ix weeks Ih ilt         I ca me bac k.
 6 t ime, he wa s a b ig child, so th is d id n't m .. ke any sell se t o                             6   Q     When ~'ou came back, who picked ~·ou up a t t he airport?
 7 m e i1 nd 1 kJ..,w it waSll"t be lie vable .                                                       7   A     Jose ph can.., t o fetc h me t he airpo rt .
 8                    I wouldn't confront him about it . I d id n't                                   S   Q     Who!: .....,," th ~t reu nion like?
 9    u n rl e .... t and the t ee lings, jus t leave it, and slIre ly t he                           9   A     I ca m e w it h two s uitcases a n d m y c hi ld a llli my
10    lrull , wi ll <:u"'" u u l.                                                                   10    s l rullt:r d lUJ 'ny I_KI,.            w,,'" ' Iu ilt: rull.       Tl't:r"   Wd S     d
'1                    So a t tha t point       I w e nt to m eet hi s paren ts, hi s                11    g entleman at the a irport who ve ry k ind ly off"red h is h e lp
12    mot he r, fat he r a n d s is le r and s is t e r·s hu s band at the                          12    a n d a s ked if he cou ld ta ke my bags s o I co uld carry my son
13    house in Massil pequil .                                                                      13    il n d I Wil S ve ry g r.. tcfu l fo r the h e lp. And I w il lk" d
14    Q        v n ll lrlt mr1 l1cPrl .      a~ YOllr   ch,l<1 w,th Mr. V,",,,nn-I                  14    t h m ll!)h   ;'IIl"    I Ill..,t lo"",p h in th" waitin,] a r"a              ;'IIl"   h" h ll'] '] oo
15
16
      A
      Q
               He int rodllce d ' " a ~ 1'Ii .. s o n .
               Now, doJing you r Ii",t t ri p -- w;thdr<lwo _                                       ,.
                                                                                                    15    me .. nd he g reete d m e .. nd he wa .. ha p py t o see U5 a nd the n
                                                                                                          h e was s llrp r ........ I d id n 't h.."e my bag s with m e and he
17                    At a n', t ime afte r you met r~ r . Yalerio·s farri ly.                      17    a s ke d me w he re is my baQs?
18    did you t e ll them a bout Mr.           Va~erio'5   mietreatment d you?                      18                   I t urned a round and pointed t o t he g e ntlema n
19    A        No, never.                                                                           19    !Jeh ind m e .         1 sa id Ihi s ge ntleman is he lpin IJ m e wit h my
20    Q        Why not?                                                                             20    b .. g " and J oe "udde nl y became a n g ry .. nd dr.. gge d the bag
21    A        I n the beginning I le lt t h"l it was pem"'"", ,...,m e t hing                      21    from d"" man "nd sto rmed o ff and I apolog ize<! t o t he
22    l hd l w u uld oIiSdVlJt!dr, I"'rhd ..... I <:ullid du s UII ,t: l loiny "'u,., u r           22    y t:lI llt:llldll, dill! J..., did ll ' l s.,...,k l u III" 11 ,t: rt:~l ur 11 ,t: Wd Y
23    01 0 s ometh in g bette r or c hang " 50Inething 10 ma ke t he                                23    in t he car and he was angry .
24    reliltionship bette r.              I thoug ht I could fix it. I dlOllg ht                    24                   I WilS con cernoo about wh ilt wo uld ha ppen when we
25    it w a" _ me t h in g t h ..1 wou ld be me n d e d ,..,me ho w , lind               I         25   g ot h o m e a"oJ we were trave ll in g o n ou r way ba c k t o Wa te r
                                                                                          Pa9" 10 to 13 «73                                                           4 0f 31 shee'"
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                                  ~         _ Dir@ctll<:tbrawala


                                                                                      "
                                                                                                                                        ~        _ Di,lI>CI/Ka b,,,,,,aI,,
                                                                                                                                                                                                       .
                             I.
  1    Nil! w hare [would ba s t <lying for a further few weaks_                                      1    a         What i" that p,oce of paper?
  2                       When he !Jot to 1I1e hOllse he told me to go                                2    A         u 's a n o te lIliIt wa s left on Iny (Om p u ter keybO<lrd Olle
  3    upstairs _ I = id I'm putt ing m y s on dDwn for a ''''p, I                                    3    "ftemoo n , Hc h"d gonc groccry s hopping ",ld hc c"m c bilck
  4    w .. nll n p ul               in hi.~ "' ih ~nd 1JiI1I" hi m fnrm"'" in Ih ..                  4    ..n<ll h .. 1pf>rl him , .. k .. Ih .. 'JrI"'.. ri .. ~ n"l oft h .. r .. r . T
  5
  6
       kil<-l..,., d,,,.lI.., wh" nt .. " I"" .... dnd dfler] ","1 h i'" <1ow" I
       d id c oma b a c k down~ta i ... ~ nd Joa ... <15 w ailin g fD r rna in Iha                    ,
                                                                                                      5    d .. ,, ' t re",,11 w ll d L II" _id t o "'" u r Wll dL it
                                                                                                           we had an u g um anl, an d t he "ei g hbo ... w are in t hair fronl
                                                                                                                                                                                 Wd~    dlJoul, du d


  7    lounge,                                                                                        7    d oor llecau s e the back doo r faces onto t he nelll hbor '5 front
  8                       He grabbed me <ln d ha p u shad n,a d o w n o n t o a                       8    ga rd e n.
  9    o;o ........   rl11'<1' Ih '" h .. h "" in I h .. ln " n O)" " "" p"~h .." my I " c ..         9                      Th,,' iln .. rnfl{)n nr    ~ "' nrll y   ' ..... r .. " n .. r, T w" nl
 10    down in th " pillow a nd s tart" d r ippin g my d othes off,                                  10    d own s la in t o th " co m p " t er and] found thi s not" left on
 11    Oh , you lik e ilttention ? I'll "h ow yon who is in c harge.                                 11    the keyboil rd for me.
 12    He lIery aqqresslvely h ild hi s 'Nay w it h m e a nd h e t o re                illY          12                      MR . LATO : Your Honor, may I IUS( have o ne
 13    doth .... <l n d whe n h e WilS don e with m e he gol u p iln d walked                        13    moment , plea,e .
 14    away and he lett me t here,                 I lIathered my cl othes a n d I                   14                      TH E COLlRT: Y€s.
 15    w .. ~ c rying ,                                                                              15    a         D<I   you M V"     "n "l'prDx ilTlllte tim" fra me          w"~n     thi" note
 16
 17
                          I had laken " .. hower. I didn' l know how to
       r e act, h o w t o confront him . what t o do. Got d re s sed and                             "
                                                                                                     17
                                                                                                           wa~

                                                                                                           A
                                                                                                                 left for y ou~
                                                                                                                     I can ·t remelllber t ... e exact date,
 18    went inlo I ha room.                                                                          18    a         Was thi<: at Wate r Mill '" Smithtown ?

 19                       MR. KABRAWALA: Mav I «l~roach the witness to                               19    A         Sm ithtown.
 20   9'·"       her rome WIIter?                                                                    20    a         At wm" p:! irt "" you described earlier you moved from
 21                       Tl-lE COURT: Yes .                                                         21    t he Water Mi l r"..idence to the Sm itht.....-n hou",,'
 22    Q         Diu    you lel l dll~""'" ~lJuu l Lh is illu ue"H                                   22    A         v,,~. I re", ,,,,,""r it WdS d ruund d"Ull Lhis s .." ',,
 23   A          Exc u s e m e?                                                                      23    b irthd a y. He f.,1t it wa" a good t im e t o in troduc e m a t o
 24    Q         lJId you tell anyone about th " mc denH                                             24    ... is son and tlliIt wa s a good t ime for Ille to m ove into t he
 25   A          No.                                                                                 25    Sm ithtown h ou sc, " round th c n,




  1    a         Why not?                                                             "               1    a         This was on your oocond trip?                                                     "
  2   A          Fo r som e o n e like me, I leel t ... at I wa s conc er ned                         2    A         Se c olld trip , yes .
  3    " bout what 1'''01'1'' w o u ld think, my fan,ily o r n,y fri"nd o r                           3    a         Now d id th is     not", infILJeM"     yoor decisi on whether             Dr

  4    """,,ebody bec~ use I'm " u ppo .. ed t o be;on educ ated w o man who                          4    not to talk to neig hbor-.: about what had t>e-en happen ing to
  5    should know bener, If s o meo n e t reats me bad ly. wily                                      5    you,
  6    wouldn ' l I le a ve, illld I w as en,bii"<l ssed, I felt                                      6    A         I didn 't w a llt t o tell an y bod y what wa 5 go ing o n. I
  7    embarra5sed t h at I did,, ·, make a proper ded si o n, but I                                  7    was enlbiirra ssetl.             I d idn't   know how t o tel! people, didn 't
  8    " I ~o d idn 't know w h " t ",Is" to do.                                                      8    knDW what t o !Rl'o/' I d idn 't thi"k anyo n " w o uld t h ink w ,,1t
  9                       Th e re'~ """,,e thing" ] com't e xpl a in , but] Wil ~                     9    o f it.
 10    d';/'d,"e<1 Lo Lell 1Jt'U...1., w" d L Wd~ "d",,,,,lliIlY Lo me. I uid,, ' t                  10    a         Now, ilLSlII Ilt: ""illL durilly )'Utlr "",.. oJ .i~i l Lu LUl ry
 11    w ~ nt them t o think bad ly o f me or how co u ld s loe let thi"                             11    lela nd , d id you become pregnant with                    Mr. Valerio 's child?
 12    happen? Wily doe~n 't she leave r I thougllt nob o dy would                                   12    A         Ye s. Arou n d a b out July 1 00(1, I tllink It was, I fell
 13    un dcr s t iln d .                                                                            13    pregnanl wilh nlY dilughte r ' "
 14    a         I ",anI 10 ~how you .. h~1 h ;,o; hPPn m ~rI<"""~                                   14    a         !lin Yolr 1<'11 M'- V"IH in 1""1 YOIl        ",'f''''   J>rf'!J"anl?
 15   G<l""mm"nt'~ Exhib it 3 -A, a nd             1'1 bring yDlJ the orig i",,1                     15    A         Y" s.   I d id .
 16    and I'll put on tfleoverhe~d .,.-ojector a ropy of t .                                        16    a         At .ome po irt during        yo"r ""cond lTip, d id you tell
 17                       Tl-lE COURT: Hokl on       iI   5erond. Any objeCtIo n to                  17    Mr. va lello that you menoo[J to r1'!tum to south Afrlr.a?

 18   t hi<: ?                                                                                       18    A         Yes.    I   had asked him if] co uld ple .... e go s ea my
 19                       MR. LATO : Oh, 00, your Honor.                                             19    motheraQilin and he bellan t o co m p la in : I didn ' l Wilnt t o
 20                       n l[ COURT: ) -A i~ 8dm itt"d .                                            20    s pe nd t h" m o n "y, and if I w a s n,i s5 in g my family it wu my
 21                       (Whereup:!n, Government Exh ibit           3-0\ was received               21    tough Iud.. I ill§1 hild t o d e al with il.
 22    ill "vii"""".)                                                                                22    a         Diu you      uIU",.. Lt: IV yet M,.   V~ leril"s 1-'." "'i s~lo" Lu yo
 23    a         Sho''-ng you what i<: in ev idence ~ < 3-Alflha, do yoo                             23    ttl South Africa?
 24    ret:Cqllze th ~t document l                                                                   24    A         Yes, eventually he ag re ed . He said to m e 1 could !l0
 25   A          V,,~,    I do,                                                                      25    bu t he lIl" d " it v" ry c!",ar t o " "" if] d id n o t com " back                         h"
5 of 31 >ho:eb                                                                            Pag<: 14 to 17 of 73
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 1
 2
 3
                        -
                        D     - Direct/Kabrawala


     was going to fetch me, send somebody after me and he would
     do me in, and I had to make sure that I was going to come
     back or he was going to hurt me.
                                                                18
                                                                                1
                                                                                2
                                                                                3
                                                                                                       D

                                                                                                        -        - Direct/Kabrawala


                                                                                     he was sleeping in the spare room because I wasn't having
                                                                                     sex with him and that frustrated him and he came into the
                                                                                     room one night and the ripped covers off and started to
                                                                                                                                                   20




 4   Q    Did you believe that to be true?                                      4    scream obscenities and went back to the spare room. So I
 5   A    I did, yes.                                                           5    followed him to try to speak with him. I got back into
 6   Q    So you returned to South Africa in I think you                        6    the room, and I don't recall what was said, but he got up
 7   testified October, November of 2009, thereabouts?                          7    and slapped me across the face I fell to the floor and I
 8   A    Yes.                                                                  8    split the inside of my lip open and I ran back and got
 9   Q    And you came back shortly thereafter. Was it before                   9    back to the room.
10   or after Christmas in '08?                                                10                There was an incident a month thereafter where I
11   A    If I remember correctly, I think it was before                       11    was sleeping and he came into the room and he just climbed
12   Christmas. I know I did give specific dates to the                        12    on top of me and tried to force me to have sex with him
13   authorities because it was in my passport, but it was                     13    and I asked him to stop and I was crying, was telling him
14   around about then.                                                        14    to please stop and he had his hand on my throat choking me
15   Q    How long were you permitted to return to the United                  15    and started punching me and hitting me. I told him to
16   States for?                                                               16    stop and eventually he stopped and got off me and left the
17   A    I would say six months at a time, even though my visa                17    room. I didn't know what to do about that. I was scared.
18   was valid for ten years, unfortunately the situation was                  18    So I just stayed in the room.
19
20
     such that when I gave birth to my daughter in April of
     '09, Joe refused to let me leave the country and I wasn't
                                                                               19
                                                                               20
                                                                                     Q
                                                                                     A
                                                                                           You gave birth to A
                                                                                                              •
                                                                                           Yes, in April of '09.
                                                                                                                    about a month later?


21
22
23
     going to leave my daughter behind, and I knew that if I
     had stayed or overstated my permitted stay it was going to
     cause penalties to me to not be aloud to come back.
                                                                               21
                                                                               22
                                                                               23
                                                                                     Q     After A
                                                                                     any better?   •   was born, did Mr. Valerio's treatment get


                                                                                                 Did he treat you better?
24                                                                             24    A




                        -                                                                           -
                 But as much as I fought with Joe to please let                            Not at all, no.
25   me leave he wouldn't.                                                     25                I remember there was a time when I was laying in

                        D     - Direct/Kabrawala                                                       D         - Direct/Kabrawala
                                                                19                                                                                 21
 1
 2
 3
     Q    I want to go back to the third time you came to the
     United States. Presumably you were pregnant?
     A    Yes.
                                                                                1
                                                                                2
                                                                                3
                                                                                     bed with A
                                                                                                  •    in my arms and Joseph came into the room
                                                                                     and there was a bassinet next to the bed. When I saw him
                                                                                     coming for me my first instinct was to put my child out of
 4
 5
 6
     Q
     time?
     A
          And then did you bring your son L
                                             •   with you at the


          Yes, I did. There was a period in time, I can't
                                                                                4
                                                                                5
                                                                                6
                                                                                     the way not to get her hurt. Joe jumps on top of me and
                                                                                     started to bang my head against the headboard and hit me
                                                                                     in the head and tried to rape me, telling me I must open
 7   recall the exact date where I actually asked my mother to                  7    my legs.
 8   please come and fetch my son. I didn't tell her what was                   8                And when I was breast feeding my child in the
 9   going on but I think she knew and she didn't want to ask,                  9    lounge one evening, he always made it very clear to me
10
11
12
     but I asked her to please come and fetch my son. I didn't
     tell her this, but I felt it necessitated to have him in a
     safe place and I didn't feel he was safe in Joe's home
                                                                               10
                                                                               11
                                                                               12
                                                                                     from the beginning, before A
                                                                                                                       •    was born, he said to me
                                                                                     you will bottle feed the child; you will not breast feed.
                                                                                     I said no, I believe that breast feeding is best for the
13   with a lot of the things that was happening to me.                        13    child, but he was very averse to it. He didn't want me to
14               There was oftentimes Joe was teasing me and my                14    breast feed my child, but I did.
15   son was in the room and I didn't want my son around that.                 15    Q     Did he say why?
16   My mother came to fetch my son and he stayed with her for                 16    A     No.
17   a couple months until a period thereafter. My mother                      17    Q     Did you have an understanding as to why?
18   wasn't coping, so she had to bring him back.                              18    A     Not really. I felt that perhaps he was jealous of me
19   Q    While you were pregnant in Long Island, how did                      19    giving that kind of attention to my child, but as a mother
20   Mr. Valerio treat you?                                                    20    I feel it is necessary and I'll do what is best for my
21   A    I found during my pregnancy the abuse got worse. He                  21    child.
22   would say things to me like why don't you get an abortion,                22                I remember one evening I was sitting on the
23   or why don't you fall downstairs and die.                                 23    couch in the lounge breast feeding my daughter and he was
24               And during my pregnancy I remember two                        24    sitting in the chair next to me and he had a coke can in
25   incidents. One was when I was seven months pregnant where                 25    his hand and he had a very angry look in his eye. For no
                                                                     Page 18 to 21 of 73                                                           6 of 31 sheets
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                             ~ . DirectJKabrawala                                                                                   ~          _Direct1Ka brawa la
                                                                                        22
  1    ...... """ he s t ood up and thre w th .. coke              Gill   in   Illy   I... ad w hi ch     1    call ? I .... id we ll, I was afraid that our argument was
  2    was st ill f ull amI it splashed allover t he wall and                                             2    go ing to e scalate into som e t hin !;! worse, whic h it did.
  3    spla s hed over m e, s o I du c ke d ,md it didn' t h it my h c ad                                 3    The n the "alicem" " s iJid you "rob"bly provoked it "nd d ill
  4    hilt Ih .. w,,11 ooh;",1 m e . He r>ickP.<! it "I' ;",,1 h p. th ....,w it                         4    v n u """',, him do .."mf'.th inlJ th"t ",,,d,, him "nlJ ry. T w" ..
  5    LdLk dydin dil<l iL IIIdtl .. d Liy d,," l ill th" wdll, s.oyillY 10..                             5    ,. lu"IIt,d.
  6    o:lid n 't ,,;gll up for th i" and he s tormed up~tai rs into hi "                                 5                   J oe , a lt hough he a lwa V" t o ld Ill e nobody wato going
  7    office il nd he stave d there.                                                                     7    t o care, nooody was !;!o ing to he lp me, now this police man
  S
  9
 10
       Q
                     I hat ""mm" r , "f,.w m""lh" "ft...
      di d Mr. Vll lft"io'~ m istT<:lIlmellt of you continue?
                                                                   A
                                                                   .
              Other than wroa l you'"" descri bed -- .... ilhdra wn .
                                                                               w"'" hom,
                                                                                                          8
                                                                                                          9
                                                                                                         10
                                                                                                               is stan<ling the .... a ccus ing me like I d eserved dlis o r I
                                                                                                               h"d dnn" SOI""thi n!) to d" .. erve t hi .. " nd wh"t w .... he 9flinlJ
                                                                                                               t o do with m e, .. nd       I w" s :5lu nned. I <l id n 't t hi nk what he
 '1   A       Y_. it d id . There were ",.my. many inc ide nt.. , There                                  11    .. a i<l wa" true, No one woukl care . Nobody wa" go in g t o
 12    ilre   onlv SOllie that I call recall in more d eta il than                                       12    h e lp m e .
 13    ot h e rs .                                                                                       13    Q     That SlImmer, was Nr. Valerio·s mistreatment of \·OU
 14                  1 r emember t hat he had taken his SOil to kilfate                                  14    IlITlted to inCidents w.t hln the home Itself or were there
 15    o n e e v e n in g a " d _          WitS   at ho",., wit h Ill e ilnd I w .. !> ill t h"          15    other incidents out:side of th ~ home?
 16    ki tc hen when h e       C'I I11e   h o me a"d he " !;ilrtoo to a rgue with               Ill e   15    A     We ll, there wa .. a lway" a "iluatio o whe re you know if
 17    about me willluinQ t o          QO   home and see m y m o dlel" . And so                   I      17    I wan t ed t o leave he wOllld threate n me . If I wanted to QO
 18    went a nd put _              down and         I we"t downstai rs to the                           18    h o me, he wOllkl a lways t e ll me no, yo u CiO n't leave, and if
 19    compu t er because 1 tholl!;!htthere mlls t be a way for me to                                    19    'IOU do ilnd you d o n ·t come back, L'II s end someone ilfter
 20    ge t out of t hi", th e re mu ~t be a way fo r me to lea " e, a ",1                               20    yo u . I bel ieye d him. I <l id n' t.
 21    he lo llo w oo me dow"" t "i ..... A" I .... t down, he pulloo the                                21                   He had t he f ina o cia l m eans to do th a t il nd I wa ..
 22    dldir u " lI" r "''' d",J I r,, 11 uul uul h" fluur d llli he Ir i" d lu                          22    l"rrifi"d ur hilil.
 23    grab Ine. I figured he wo uld hurt me. He t ook me u " the                                        23    Q     Was therE any incidEnt outside of the home                   th~ t

 24    sta irs a nd I was t ry ing to get away, and I did.                                               24    s"e<ifi cally stands o ut in your mnd from mat summer?
 25                  I went u " st ai ..,. t o the office iJnd I gra bbed one                            25    A     Th is WiJS no w o n my th ir<l t ri". My d ilUghtcr wa s,                  I
                             ~ · Direct1Kabrawala                                                                                   ~          _Direct1Ka braWII la


  1    of d.,." house pho nes and a s  I was runn ing d own t he passage,              "                  1    w ou ld say, \lery, very young, ca n 't s ay how old s he w as,
                                                                                                                                                                                          25


  2    he g rabbed t he phone Ollt o f my hand. 1 don't know if the                                       2    a nd his son d eci de d he want e d t o !;!O t o !lome kind of a
  3    pho ne fell "J><I rt or broke. I re me m ber th e pi ea:s ca me                                    3    conce rt. So he t ho llgh t, ok .. y, le t '" t a ke ~ t o " t ay
  4    out,. the battery fe ll OLlt.                                                                      4    wi t h hi" mothe r, Joe·" m other, and we'll have an evenillg
  5                  I wa s tryi n ll to call 'HI. The call d id n 't QO                                  5    Ollt. So w e t ook the child t o his mother and w e Qoc int o
  6 t hrough .                                                                                            5    t he car and we left , and dow n tI.,." roa d he cha nged hi s
  7            1 ra n into the bedroom . And then he didn't                                               7    mind. We ha dn 't go ne a few blocks. No, he hilS to fetc h
  8 fo ll o w me, e xce pt " hortly t he rea fte r he ","w m ~ com ing in                                 8 . , ., hi... d o ug ht er .
  9   t he room a nd .. aw me packing Illy .. uitea ..... He "aw I wa ..                                  9                   So he t u rne d aroulld , went to fetch ~ a lld put
 10    I'dLki"y Illy bd Y. lit: Cd"'" lu d~ log i £ ". H" ,.d idl .., Wd,.                               10    h" r ill Ih" Cd r. W" I"rl.        I Wd,. uI'''''''' I Wd '" r"dlly
 11    \lery s orry, he <l id n' t mean it . He wants me t o s t a y . If I                              11    looking fo rward t o go out. We didn't go o ut oft en and he
 12    want t o go, I ca ll go. And dlell the re Wilsa knock 011 t h ..                                  12    got SO angry wi t h me ilnd told me I w a'5 an Un!;!rateful
 13    <loo r.                                                                                           13    b it c h. An ot he r woman w o u ld be nmre g riltcful.
 14                  I   w"nt d nwn,;t"'r .. t o     " n ~Wf'.r   .. nd I " lo",] ht it w,,"             14                   " " hi t m", "nd    I pllt m y " rill upto n""", h ... arm
 15   t he poli ce. I re"lized d ..., 911 call went dll"OUg h, eYen                                      15    "wa y, .. nd     I hit   hi~ hand back, and h e j u~t gl·.. b bed my h" ir
 16   t hough I d idn't speak t o a n y bod y. Amf he came down"ta il"§                                  15    hecall"e I had very lo ng hair at the ti me and hit my head
 17    and he w ent in to t he TV rOOIl1 where ~ wa s .                                                  17    aQainst t he windo w and d as hboard and he wa s sc re am inQ a t
 18                  I le t t he pol ice into the door a nd I went into                                  18    m e , sc ....... ming at me , ins ul ting m e .
 19   t he kit che n with hi m, a nd Joe came into t he kitche n. We                                     19                   We ende d u p d riving . 1 did,( t kno w the places
 20    w e,.., "II standing t he re t og et he r.                                                        20    y~ ry well at the tim e becall 5e I d idn't go t o Ih" "", plaa:5
 21                  The re w e re two policemen. And the one who never                                  21    hefo re, a nd we we re dri\l ing dowlI th i" \lery lo ng ro"d wh ich
 22    _id d wtKd, Ih" u"" wlou d ill ,,·l s ,," dk lu duylrudy dlKm l                                   22    ,....,n,,, lik" I h" r" Wd ,. d "'''dch dl ....   d   lu i   of bus h" ,. u"   "'..,
 23    a nyt hi ng , and t he re wa s the ot he r o ne who d ill all the                                 23    s ide a nd beac h o n the other s ide, and w e drove lip thi s
 2.   ta lki n g.                                                                                        2.    10 1lg, Ion!;! roa d . There was a ta ll building o n t he e nd of
 25                  l ie a ... ked m e whal i" tl", " roble m ? Why d id I                              25    t he ro"d, loo k... like .. need le of a t .. 11 bu ilding , alld w e
7 of 31 >hooeb                                                                               PiI!l" 22 to 2.5 d 73
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                          ~ . DirectlKabrawala                                                                                    ~_          DirectlK3brawa la
                                                                                    26                                                                                                     28
 1   continuoo ba ck down th .. rOild in t h" oppo!'i it .. dir<>ctiol1.                              1   ha lf to g et fOO<! or som ething. That's where                       I staye<!    fo r
 2                He pulled over into th is dark pa rking area,                                       2   t he r ema inder of the time.
 3   looks like a !">rl<in!J ""ace but it            w"" "cry b usoh y w ith          iI              3   Q        So ou r roc<lrd is dcar, it ,,",unds te me I: ke right
 4   Int fl! grnwth.      "p. ....id to 1llP. th',.   j'i "   Ili" " rliIrl< p'"'''' t o              4   ~tt,.,   t h<lt ""Ii"" innrlPnt   YOl I   d.,,;rriOOrl, ~hon1 l'
 5   '''dve yUlL TUlliyl ,l you dr., yuiny lu di.,. "lUI I,,, ,..,id                                  5   III"r""[I",, you " ",v...J uuL,
 6   that with    ~lIch   conviction, I really believed hitll_                                        5   A        Ve .. , that neIt day I moved out into the " h e Iter, it
 7                When he slOpped the car I opened up my seat belt                                    7   was t he neIt morning.
 8   iI,,1i j umJ>8d out. I didn't know whe.e I was going t o run to                                  8   Q        What ..... "" thi! name of thE shelte r you mcwed to ?
 9   h"t I h;1(1 t o   I""""". 1_,ttothp. Il""knfthp.cilrtnnfl"'1l                                    9   A        Hri9ht"r I nmor~.
10   th e dom for Illy daughter ilnd           itS    I w as doing that th .. foont                  10   Q        Ilowdid you fi nd it,
'1   Coo , of the c ar was open .. "d t h e ca r door kn.,.,ke<l me olfer                            11   A        Found it on the internet. I wa" looking fo r a way to
12   i1nl1 I fell into the qround ilnd I was a little disoriented.                                   12   find help for women, abused wome n , and thi" shelter Came
13   }\nd I stood up and I        S<lW   the car reve rting towards                 Ille,   a"d      13   up a nd I found thi s .
14   J looked over to my right and 1 saw there was                         iI   car !><Irked         14   Q        How long dId you spend at           txl ~htE r    l omorrows'
15   ill the bu"h~ ",,,d the .... c:k l igh~          .w:." very d im :!iO I                         15   shelter?
16
17
     th o ught some l>ody wa s in the COIr ;;, ,"1 I..t.arted ...:reaming
     for help.                                                                                       "
                                                                                                     17
                                                                                                          A        Couple wee"" at most.
                                                                                                                           By that time Joe contacted m e and con¥incoo rne
18                Joe COIme and he had put h is h and o n my mouth.                                  18   to go ba c k to th e house in Water Mill.
19   Just shut up, shut up. He t hrew m e in the fron t of the                                       19   Q        NCYN . t hen you went fran the houS€ In Water I~ I II to
20   car, c losed the door, .. .,d h e got in the car a"d h e d rove                                 20   the house in Sm ithtown?
21   o tt.                                                                                           21   A        Correct.
22                I did ll' l k"uw Whd l l uSdY. DicJ,, ·1 kI,uw whdllu                              22   Q        D.u yuu I,dve UUl ill!! the lillie Ll"' l you w" ,elivirl!!
23   co, and he just droye me home.                                                                  23   with     I~r.   Va leno, whether it was t h., Water 111:11 r...:idenc:e
24   Q       Did you !itay at Mr . Valerio's house Of" did you move                                  24   or the Smithtown resideoce, did vou have re(Jular access t o
25   out that summer?                                                                                25   communication, vch:dc, tha t sort d thing, out:3idc
                          ~         . DireetlKabrawala                                                                            ~         _ Direc.tlK3brawa la
                                                                                                                                                                                           29
 1   A       I s taVe<! a t his house. The oniv time I moved out was                                  1   contact?
 2   whe n 1 when to the shelter, the women 's s h e lter. After                                      2   A        No. YOIl see he kind of wouldn ·t let me have anI'
 3   th e p-ol ice incident I le ft. What I did wa" I a ctualiv                                       3   cont .. ct with people . I wanted to try to make fri end " . I
 4   went downsta irs to fi n d a p lace to go and I found this                                       4   wanted t o join a gym or go t o a book dub o r go to the
 5   women' s shelter and I phoned t hen"\, and they said t o me                                      5   lib rary or partake in some k ind of soda l act ivity, rnee!:
 6   pad< a bag, w e ·1I send the police to fetch you.                                                6   people, piaI' tennis, or d o the thi ngs I enjov doing but h ..
 7                I he next nlOlTl inll when Joe left, J con't know                                   7   wouldn't allo w it.
 8   where h e w ent, he w e nt to woric, th ese people c ame to fetc h                               8                    There wa" all inc ident where h e "" id to me, VOU
 9   me a",i took me aWdV. Atter thdt he cOlllfinced me to c ome                                      9   know, mavbe VOU shou ld lind a ",te on line where coupleo;;
10   Ldu...                                                                                          10   """ ",.,.,l r.;uu" l.,s dill.! I (UUllcJ Ilrdl s lrdl'Y'" wh.,.... I,..
11                Th e cond it ion",   wer~    where I wa s were not                                 11   wouldn't let m e have my own friends. '·That is n't what I
12   comfortable. I"ve never been in a s ituat ion like this. I                                      12   wallt to do .'· - The n VOU d o n't: deserve to have anI' friends, '·
13   c idn't feci "'ilf" or comlortilblc, ",nd he WilS very                                          13   he sa id .
14   rnnvinr inlJ.                                                                                   14                    AI ()1lP. JKlint in t im " wh"n I w,."..         ~tililivillg   >It

15                Th ing'" would c h ange, things would..., better', a nd                            15   the Wate r· Mill home, h e "",id he was going to buy m e a car.
16   I wanted to bel ieve h im . He "a id all right, if I feel                                       16   So he bought a            Mercede~,       black Mercede", and tokl n..., it
17   safe, I can live in t he house in Water Nill aqain. So I                                        17   was mv car but he c ontroll ed it. He wouldn 't lei: me d rive
18   h ac two lady frien c", from the s helter, one had a c ar t h a t                               18   when I wanted to drive it . If I wanted to go someone he
19   cmye my daughter and 1 bOle" t o t he house in Water Mill                                       19   would ask me how lon(l 1 was goinll to be.
20   and I "tayed there for a wh ile . Tha t was the o niv time I                                    20                    There w e..., a fe w tim.". I recall h im w riting down
21   moyed out, but he convinced me t o move back from the                                  hou ~e   21   the mileage dnd c h ecking it to,...,., how fa r I would be and
22   ill Wd l". Mililu SlIIillrluWII t.a:,. us .. ill Wd l ... Mill I WdS                            22   Ii", .. "'.. lu "'.,., huw IUIIY I I_I """U               <ow ...,.

23   isolate<!, I didn't have the ca r, didn't haveth.. an_,ilies                                    23                    There were phones in the house. I was able to
24   we had in Smi t htown. The ma ll was SO far aWOlI', if I                                        24   ca ll my m other but he would monitor that, lI"MlIlitor who I
25   wanted t o walk, it would take m e an hour or an hoo.r and..                                    25   ca lle d , how long I spoI<e t o them fo r, and the .. e wa s a
                                                                                           Pa9"26to 29d73                                                                                  8of 3 1 s hed:o;
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                                 ~ . DirectlKabrawala                                                                      ~          _ DirectlK3brawa la
                                                                                       30                                                                                          32
  1    point in time where he gave m e use o f the cell pho"e but                                  1   mind knew this W<lS g oi ng to "pset Joe <lnd I was c oncen,ad
  2    he would always lake it away again.                                                         2   what would happen when we got home. Even thlM.l9h I d idn 't
  3                     I remem oo r he gave m e          iJ   SanlSl_19 phone to usc but          3   do <l nything. the .. itu"tion would <Inge r him,
  4    T ........ vNl " .,,,lIlrnm,, g irl in Roman i" , shP.                w;, .. looki n~       4               T r",r,,11 h im ""yinO) .... m"t hinO) "I..."t t h .._"" t wo
  5    rur )"""'1'10 . 1'111 surry, Ihis is hi,. "hullt" LIUI II ,i,. '''' Illy                    5   I.",bid".. d",J iL "'dol" hi", v"ry dnyry wh"" LlJt!Y w "r., dUI"".
  6    numb e r, can I help you1 And ~he put the phone d own . So I                                5   I 'm not ,.ure whether they gave him a tic ket o r not, I
  7    did a seilrm 011 the numlJef" to see where tile number had                                  7   t hink they d id, <lnd we left. He d idn 't speak to me. but
  8    come from "nd I!i<lW it W<lS fro", Itomania.                                                8   h e kept driving down t his long road which again had a
  9                     I ..,.;k1'<1 lop. ,",I>ollt it. H p. hf>cilm" "pry <I"f.. " ..,,,,,        9   ooitrl"o on t h", no", "ill'" ilntt h, ... h ..." on t h" nth",r,     HP.   m"tt .._a
 10    ilnd h e took the <:ell p hone away from on" and d id,, 't give me                         10   U-turn t hmugh t h e middle island. turne d ... -ound, ilnd
 '1   the u..., o f t he cell phone ••11:01 §OInetime aft.,.. thilt.                              11   pulled over into a p arking lot where [ remember seeing
 12                     Event uilily he bouQht me a BlilckB.er ry. It was                         12   like a bea ch area, There WilS a b uildinQ bur not houses.
 13    only in use 10f" a short period of tim e and tI_> he                                       13   I could jus t s .... water, And he got out of the ca r and
 14    wouldn 't ~y the ilc(Ount and they would connect it and                                    14   whi le we were drivin9 there, 1 remembered he !l rabbed my
 15    rli"c:on"ed it.                                                                            15   ha ir. I WilS weal-ing my hil i,· down, i1nd h e gl-abbed                   iI

 16                     If he left the hon,"" he would take the c a r keys                        15   hanrlful of m y ha ir and he        Wit'!>   scream ing a t "'" and
 17    with him so I oouldn' tt<lke t he c <lr and QO anywhere.                                   17   insultinQ me and SIIlashinll my head on the dashOOard and
 18    Some tinu15 he wou ld t <lke the phones with h im <lnd I would be                          18   w o uldn' t s top ilnd pulled out hand fulls of m y hair,
 19    left without         <I   p hone , He would lock         lilt':   in the house, 1          19               When we got t o the beach area he let (10 and Came
 20    r e m e mber both i1t the t he Wilte r Mill h Oll..e i1nd the                              20   out and c an"" around t o my s id e of the car a n d ripped my
 21    Sm ithtown home, the bl inds were <llw<lVs c ..... ed, bedroom                             21   d ress to pi""es" I was wea r stockings a t the t im e and he
 22    o.I....,r dlwdY!o hdol lu !oldY dusedl.ot:o.;.ou .." I,,, oI io.l,,' L wd,,1               22   r i"Jlt'{lII ,..."., dUoi rd".,,, II." H" Wdo; st;r.,dlloi,," dl "''' d!o he
 23    <lnybodv t o s .... anyth ing going on in the Itou .... ,                                  23   was doing that. I w a s e ...... ing and when he was d one I jus t
 24                     So !he bhds in the loun(l e , for eXample, had to                         24   (lat hered my d ress and (oat and s c ramlJl ed bac k into the
 25    fil ce   iJ   c ertiJin W<lV. If thev facoo the othe r w <ly the                           25   v e h icl e 01",1 h e w e nt "round to the front side of th e ( ar
                                 ~        " DireetlKabrawala                                                               ~          _ DirectiKabrawa la


  1    neighl>ors might see s omething in the house , If there was
                                                                                       31
                                                                                                   1   where the drive r's side i" an d h e ju"t ""t there for"                    "
  2    a noise in the h o use nobody c ould hear l>ecause he wanted                                2   (lood five minutes, s aid nothing , He started the car and
  3    m e to kee p the door" clOM: ,                                                              3   w e d rov e home .
  4                     The ..., were occa sion" I w"nte d light<: in the                          4               I remember h is mom and " ister "nd lamily were
  5    house so I openeo1 t he blinds <lnd op5Jed the doors and he                                 5   t here IJa by-sittinq becallse the c hildren were there, and I
  6    would becom... ve ...... ang ...... "t me closing th... doors "nd                           6   just went up into the room w ith my to", dress and h"ir,
  7    bl in d s.                                                                                  7   and he went and he cleaned the house, and 1 didn"t see him
  8    Q        Shortly before I'<>Il ,x,r>"rted the Uni ted Stnte" on you r                       8   until the n e xt day.
  9   third tril', we re there a ny incide nt.. th"t VOU could reca ll                             9   Q     You mentioned there       wa~   a nother incide nt as wei that
 10    tJ,,,1 ""used yu.o to "'dV~?                                                               10   """".".. you 10 b l'le?
 11   A         Yes, ther... were two in particular,                                              11   A     Yes. I think it w"s Nov... m .... r of '09 , Joe w ..... in his
 12    Q        Te ll US aboutthat?                                                               12   offic e. He s pent a lot of time in his o ffi ce, and when he
 13   A         n.., mle wa" . w e hao:l g o n e out lor an e v e n ing. I w"s                    13   is h e le ilve" the d oor i" always clo"",d , Some time" it                      Wil§


 14    "II oIr .._"......:I u l', ooaut iful dr ..."-,, "n, fur ~Oi\t" 1 kno w h "                14   ..",,,II n l"" nM, h ut not l'_no"'1h th",t 1 r nuld .."", what IN""
 15    loved th " evening out and it was all !IOing vay well,                                     15   going on in the l-e. I would a lwa ys have to knod<.
 16                     On our retun, home he pulleo1 into a g"" stat im,                         16   Q     "-The home office?
 17    to put fuel in the car. As he drove Ollt I", drove ou t                                    17   A     I I'" a hOIl'" offi(e in the Smithtown home ,
 18    going the wrong way down a o"e way. It was" very .... o rt                                 18               MR. KABMW"LA: Continue" I'm sorry"
 19    way, okay, he could z ip o ut and !loto                    tilt':   llIain road ,          19                IHt 1'.'111'1:";';: Oka\'.
 20   There          w"..., two police offi ""r ... and the y pulle d h im ove r,                 20               And I remember knod:ing on the door. I brought


 "
 22
      two fem" le police officers" They stopped him. One c ame
       lu Ioi .. wi",Juw lh" uti.."..        ~d'U"   lu Illy w i"o.Iuw "',iuiuy 110.,             "
                                                                                                  22
                                                                                                       h im s"",ething _ I don't remember ,f it
                                                                                                       d, i" k co ""1, "u L I Iu ,~ .. ,d
                                                                                                                                                        wa~   §OITlI':I:hing to
                                                                                                                                              1'' ' ' ' '"' tI ,e u lXJr ope"" I1t!
 23    lights in the car. I c ou ld see froln the look on h ... r face                            23   quickly stood u p from his compute r and switched the =-oo n
 24    she WilS (()f](ernerl , She didn "t know what t he s ituatio n                             24   off and !lot Ii\lht in my face a nd s l<XXl Vf'rf, ve ry dO51': to
  25 wa~, but I w'"" unc o m fortabl e because I in the bac k of my         25 me ftnd " sked me whftt is it thlll: I wllnt ? I 5II id I brought
') of 31 >heeb                                                   Pa9" 30 to 33 d 73
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                          ~ . DirectJKabrawa la                                                                                      ~       · Direct1Kabrawa la
                                                                                         34                                                                                             36
 1   you someth;ng, and then the next t hing h" f>ut hi!; hand                                       1   his ",om to p lease h .. lp to fix my teeth properly                      DecaU "",      my
 2   around my tlllu a t and started chokina me. I sa id you're                                      2   dentist: said I need r()()t cana ls done and c rowns on                        mv
 3   du>king me. He ""id """"'th ing to me, ,md I remem ocr                                          3   teeth, otherwise th e problem will never go "wily. It W<lS
 4   ""viro::J I'm , ;u" tw>hi'l"i n{l wil h an .. " im al                                           4   vP.ry p.XflPJ .... ivp.     ;It", T ,""v", r Il<VI th,,' don",.     Thilt WiI .. t h",
 5                n,t: '''' KL l hillY I ''''' ''''' ,'''' , I w..~ I.. Y;IIY u" LI,,,               5   )KJillll ... "",liL.,,,, if I didll'll"",w ., I diulI' L kllow Wlldl
 6   floor fa ce down in the       f).U liage.    And he Y/a~ ~itting next                           5   would h .. pp .. n to m .. next.
 7   to me saVino . owe . God , whal: have I d one. What hil'le I                                    7                   I   had to think about my children. If s.omed.ing
 8   done.                                                                                           8   happen..d to m e, they will be left without a m o t h .. r.
 9   Q      Wh>lt hM ha l'l"'nPCiJ                                                                   9   Q      KP.ffY"p. y"" Ip.ft, did     ',lOl l   ""p.k c"~lnrly of yn llr
10   A      H.. pun c hed m e in my face and I lost                   collsciou SllC!SS       and   10   d.. ughter _            ?
'1   I felt J>"11 ill   In., ,nouth. In the          ~"""ge        there is a 91as"                 11   A      I did,       V",..
12   cupbnilrd with lozellQeS ilnd I mrned around and I()()ked what                                 12                   When I Wa" in the women 's shelter they state d to
13   had ha J>pel1oo "nd there was blootl in my mouth a"d I saw he                                  13   me, they advised me to get a restraining order am1 s .... k
14   pUlldlet1my teeth. He had punched my teeth into m.,. mout h.                                   14   c ustody of mv daughte r. 1 went th rollgh the process of
15   The y wen, bmke n.                                                                             15   ">JpIVing for d-.at, bllt what hap >""n e d wa,. bee .. u"",, Joe had
16                 I stood up and went to the bathroom and I wa,. in                                15   convinced m e t o come back and becau~e of                          mv experienc"
17   SO   mud! pain, all I knew I had [0 save my leeth, It wa"                                      17   wi t h the law, with the JlQlice, it didn't help me. I
18   50   painfu l I t ried t o !>ear it. I t ried t o !,,,,,h m.,. teeth                           18   d idn't t hi nk that I st()()d a c han ce of ever being able it
19   back as much as I could and I went back to t he bedr()()m . 1                                  19   g e t away or to !Jet custody o f my daughter l>ecause Joe was
20   wa s so .5c.. r e d I d idn't know whal 10 do.                                                 20   te lling n"" no, h e 'll get th" best .. Uon.e~ .. nd h e ' lt
21                J_ lelt me alone the re,.t 01 t he night.                                         21   ta ke the best <lUorney"', alwi I'm not work ing.
22                TI", 1I.,,,lIlKJrllillq, I Sd iu, pl"ds." I , ......... lv             "V         22                   I ro:l L l l,., u.,sl UIILiulI WdS lu lJU lo u",., wi Lh mv
23   to see a d entist. He said okay. He "",id to me, I..t "' ..                                    23   c h ild, whi c h I did.
24   make it c lear 10 YOII, if you tell somebody what ha>JJ}ened                                   24   Q     And I j ust want to show you a copy of what has reen
25   i1nd if I go to pris on for what I did, 111 get out ,,,,d                                      25   m,, ",e d at 3S()0 AD 3 as in a~ delta 3 .
                          ~            ·Direct1Kabrawala                                                                             ~       ·Direct1Ka braWII la


 1   I'll kill you. H.. said, what you will tell them, you will
                                                                                         35
                                                                                                     1                   Do you recognize t hi, document a~ a cuctody                   "
 2   tell dlefll that you were playin!J wit h the children in the                                    2   pet,t,OII that yoo submitted to a CDLJrt: III LonO Islandt
 3   hou"",, and ,..,me body wa s waiting around th e con",r w it h a                                3   A     y "", .

 4   b a ""'ball .... t and a c cidentally h it VOlt in t he bee. Th .. t '",                        4   Q     And why don't you t humb t hroug h it and a t el l me if
 5   what I did .                                                                                    5   tha t is an accurat e copy that 'IOU provided to the
 6                 H.. t()()k m e to th .. d entist .. ,,0.1 she c ouldn't h .. lp                   6   goverrYTlent?
 7   m e , You need to go to a su r!leon.                                                            7   A      Yes, it is,
 a                So "he refe r,..,d "'" to a s u rgeon in Co mmack a"d                              8                   MR.    ~BRAWALA :             Your Honor, th" govern m" nt      move~

 9   w .. went there, <111<1 Jo .. g .... e me a blank check and ,..,id to                           9   to ,ntroouce Government'.. ExhilHt 3500 AD-3 into e vidence .
10   "''', j u"l yd you r ledl , fix., .... So lh., SU"'y.,UlI h"""",l, pul                         10                   MR. LATO ; flo " ltje<;LiuJ l.
11   5Om .. kind of brace on, pushed th .. teeth b.. ck in for me,                                  11                   THE CDlIRT, h D- 3 is a dmitted .
12   and I went into the reception to write out dle check and                                       12                   (VlhereLJpon , GoverrYlle nt Exh ibit AO- 3 was received
13   ""id it would c ost $ 2,000. So I told Joe, to le t him know                                   13   ,n evidence.)
14   "n<l I"" "'ilid th"t'"" Int n f mnnev, I' m "nt JliIYin'1 t h"l tn                             14   Q      I ~ It f~1I"   In "'-"'/ that V"" """" mp.nt ..... on~t~lJ("-"" of
15   fix you r fa"e, and I wrote t h e check oot anVW"y a"d I ga""                                  15   ~bu"" ,n th i5 f"'m ~y GOurt pctitiOll?
16   her the check, .. "d th~nl went home .                                                         15   A     Ye .. , I did.
17                So w hen I weill home, about two weeks later I had                                17   Q      Now, I want to rum ba ck to .. withdra 'o'l n.
18   to go for a follow-up wi";t, but Joe d id ,,'t want me to g o                                  18                   I\t some point ~'ou went back home to South N rica
19   back to the SilllIe su rgeon, s.o he found a family delltist alit                              19   and that was on March of llJ1U-r
20   in S m id.town and I went there a "d h e t()()k th .. brace.5 off                              20   A     Y""" I did. It was th e 9th of "'a.-eh. I we"t bade
21   fo r me anti d id a check-u>J to nl<lke ,.lIre .. verydli"g wa ..                              21   home.
22   VkdY.                                                                                          22   Q     The 9 Lh " f M,nh',
23                 My t eed. h .. ve never been the sa", ... I'm bee"                               23   A      Correct.
24   stru9glin!l with episodes where I wou ld hawe to be on                                         24   Q     You 'o'Im t back: and -- 'o'I ithdra Ml.
25   .. ntibiotK:.o m e dic ation .... d I've "5ked , you know, Joe .. nd         25                                     Did you td l Mr.      V~ I"rio     t hftt you would be bock?
                                                                       Pago::34 t037d73                                                                                            10 of 31 5he<:t:o;
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  1
  2
  3
      A     Yes.
                         D

                          -     e - Direct/Kabrawala




                   What had happened was I wasn't allowed to leave
      the country with my daughter without Joe's permission
                                                                  38
                                                                                  1
                                                                                  2
                                                                                  3
                                                                                                          D

                                                                                                           -       - Direct/Kabrawala


                                                                                       statements had on your decision to tell Mr. Valerio that
                                                                                       you would come back, but in fact you had no intention of
                                                                                       coming?
                                                                                                                                                    40




  4   because he's on her birth certificate and I know according                  4                 "I will come get my daughter, you fuck. Watch
  5   to the International Hague Convention you can't take a                      5    what will happen. All your fucking games you will play
  6   child out of the country without the parent's permission                    6    for her. She'll be taken from you, cunt.
  7   because of the child abduction laws, and I knew I wouldn't                  7                 What impact did that have on you?
  8   be able to leave with her without his permission. I                         8    A     It reaffirmed everything that was said before and it
  9   didn't have a choice but to stay.                                           9    made me aware he would come after me. I had to convince
 10                Eventually he did let me leave but made me                    10    him that I was coming back so he wouldn't come after me
 11   promise I would come back. He threatened me. I've got                      11    and take my child away from me.
 12   people there. They will come and fetch you.                                12    Q     You did come back at some point in January of 2016,
 13                At this point I pretty much believed a lot of                 13    correct?
 14   what he told me, and in March he let me leave with my                      14    A     Correct.
 15   child and I went back home.                                                15    Q     And when you came back, you were met by my colleague,
 16                I had, however, told Joe I was going to come                  16    Special Agent Steven Troyd of the FBI, correct?
 17   back and I knew I had to tell him that because he would                    17    A     Yes, he met me at the airport when I arrived. Met me
 18   send somebody after me or come after me, something would                   18    at Secondary in Customs.
 19   happen. I really didn't want to come back. I had to tell                   19                 THE WITNESS: It's the pronunciation thing.
 20   him I was and I had to make him believe that because I was                 20    Q     You mean like an interview room at the airport?
 21   terrified of him sending somebody off and coming back to                   21    A     Yes, yes.
 22   me hurting my family or hurting somebody.                                  22    Q     I want to show you what has been marked as




                                                                                        - --
 23   Q     I want to show you what has been marked as                           23    Government's Exhibit 1. It has what we call Bates
 24   Government's Exhibit 15. You could probably see it on                      24    numbers. Basically just numbered at the bottom and it is
 25



  1
  2
  3
      right over there.
      A     Oh, yes.
                         D

                          -
      your screen up there. There is a screen right to your
                                  - Direct/Kabrawala




                   THE COURT: Any objection to Government's
                                                                  39
                                                                                 25



                                                                                  1
                                                                                  2
                                                                                  3
                                                                                       D          e-mail 001 through D
                                                                                                          D
                                                                                                                               e-mail 155.
                                                                                                                   - Direct/Kabrawala


                                                                                                    Just thumb through that and let me know if this
                                                                                       is a set of e-mails you provided to Special Agent Troyd
                                                                                       when you arrived in the United States in January of 2016
                                                                                                                                                    41




  4   Exhibit 15.                                                                 4    at his office at the FBI?
  5                MR. LATO: No, your Honor.                                      5    A     Yes, these are e-mails that I had saved on my e-mail
  6                THE COURT: Government's Exhibit 15 is admitted.                6    account that Joe had sent to me over the years that I
  7                (Whereupon, Government Exhibit 15 was received                 7    kept, and I had printed these for Agent Troyd at his
  8   in evidence.)                                                               8    office.
  9   Q     Can you please read it to yourself and let me know                    9    Q     Are those all true and correct copies of the e-mails
 10   when you are done reading it?                                              10    you printed for Special Agent Troyd?
 11   A     I'm done.                                                            11    A     Yes.
 12   Q     I want to ask what impact, if any, the following --                  12                 MR. KABRAWALA: The government moves to admit
 13   withdrawn.                                                                 13    Government's Exhibit 1.
 14                Is it fair to say this is an e-mail from the                  14                 MR. LATO: Just one question. May I have one
 15   e-mail address joeval5@optonline.net to your e-mail                        15    moment, please?
 16   address?                                                                   16                 (Counsel confer.)
 17   A     Yes.                                                                 17                 MR. LATO: Your Honor, no objection.
 18   Q     And it is from October 4, 2010?                                      18                 The only thing I mention, given it is about 150
 19   A     Yes.                                                                 19    pages, we'll not go through all of it here, but
 20   Q     So at this point you would have been back in South                   20    technically it's in evidence, so this may require either a
 21   Africa?                                                                    21    summary witness or for us to write about it after the
 22   A     I was at home with my mother.                                        22    fact, but no objection.
 23   Q     You were testifying about statements that Mr. Valerio                23                 THE COURT: You can talk about that later.
 24   had made to you.                                                           24                 Exhibit 1 is admitted.
 25                Tell me what impact, if any, the following                    25                 (Whereupon, Government Exhibit 1 was received in
11 of 31 sheets                                                        Page 38 to 41 of 73
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                                                                        A-239



 1
 2
 3
     evidence.)
                     D

                      -       - Direct/Kabrawala



               MR. KABRAWALA: Thank you. Just one moment,
     your Honor, with the Court's indulgence.
                                                                42
                                                                                1
                                                                                2
                                                                                3
                                                                                     A
                                                                                                          D

                                                                                                           -      - Cross/Lato


                                                                                           Yes, the medications I got from the surgery,
                                                                                     penicillin, the hydrocodone, yes.
                                                                                                  MR. KABRAWALA: The government moves to admit
                                                                                                                                                 44




 4             (Counsel confer.)                                                4    Government's Exhibit 3 for the same reasons it outlined
 5             MR. KABRAWALA: May I stand next to the witness                   5    for Government's Exhibit 2.
 6   and go through the binder with her?                                        6                 MR. LATO: No objection, for the same reason.
 7             THE COURT: Yes.                                                  7                 THE COURT: Government's Exhibit 3 is admitted.
 8             MR. KABRAWALA: Thank you.                                        8                 (Whereupon, Government Exhibit 3 was received in
 9   Q    I want you to take a look at Government's Exhibit 2.                  9    evidence.)
10             Actually, before I show it to you, do you recall                10                 MR. KABRAWALA: Your Honor, the government --
11   the name of the dentist that you visited here on Long                     11    there's nothing further at this time.
12   Island?                                                                   12                 THE COURT: Okay. Why don't we take a 15-minute
13   A    I remember the first one when I went to a Deborah                    13    break.
14   Adams. After that I don't recall the name.                                14                 MR. LATO: Thank you.
15             The third dentist, the followup visit, it was a                 15                 (Whereupon, a recess was taken.)
16   family dentistry in Smithtown, I don't recall the name                    16                 THE COURT: Please be seated.
17   offhand but I did provide the information to the FBI                      17                 Go ahead, Mr. Lato.




                                                                                                -
18   because I had found a dental card, a medical card that I                  18    CROSS-EXAMINATION
19   had and when I followed up on the details the dentist's                   19    BY MR. LATO:




                                                                                           -
20   information was there.                                                    20    Q     Good afternoon. Is it Ms. D         ? I don't know if
21   Q    Now I'm showing you what has been marked as                          21    I'm pronouncing it correctly.
22   Government's Exhibit 2. Thumb through this and let me                     22    A     D         .




                                                                                             --
23   know whether this is familiar and whether they are your                   23    Q     D        ?
24   statements and whether this is Deborah Adams that you are                 24    A     Yes.
25



 1
 2
 3
     A    (Perusing.)
                     D

                      -
     referring to. Not the first page which is a declaration.
                            e - Direct/Kabrawala



               Yes, this is a form, one of these admission
     forms, and what I told her happened to me.
                                                                43
                                                                               25



                                                                                1
                                                                                2
                                                                                3
                                                                                     Q     Now, Ms. D
                                                                                                          D
                                                                                                              , were you in the United States,
                                                                                                                  - Cross/Lato


                                                                                     specifically in Long Island, in January of this year?
                                                                                     A
                                                                                     Q
                                                                                           Yes, I was.
                                                                                           And did you go to the house of Frances Valerio, who
                                                                                                                                                 45




 4             MR. KABRAWALA: Your Honor, given the witness'                    4    is in the courtroom?
 5   corroboration of the statements in the document and given                  5    A     Yes, I did.
 6   the declaration of the custodian of records, the                           6    Q     Do you remember that night something to the effect
 7   government moves to admit this document into evidence as                   7    that additional child pornography was found?
 8   self-authenticating.                                                       8    A     Yes, something came to light about this.
 9             MR. LATO: No objection.                                          9    Q     At this point you knew that Mr. Joseph Valerio had
10             THE COURT: Exhibit 2 is admitted.                               10    been convicted and was in jail, correct?
11             (Whereupon, Government Exhibit 2 was received in                11    A     Correct.
12   evidence.)                                                                12    Q     And in fact sometime this year did you go visit him
13   Q    I'm showing you now what has been marked as                          13    at the Metropolitan Correctional Center?
14   Government's Exhibit 3. It is a multipage document.                       14    A     Yes, I did.
15             Take a look at it and let me know whether it                    15    Q     Do you remember when that was?
16   looks familiar to you or whether it refreshes your memory                 16    A     That was shortly after I arrived. I think it was the
17   about where you went to seek dental care.                                 17    next day, if I remember correctly, but it was on my trip
18   A    I recognize the name of the doctor that I went to                    18    here to see Frances Valerio and the next morning I went to
19   see, Eric Baum.                                                           19    visit Joseph in prison.
20             Yes, this is a form, again, an admission form I                 20    Q     This was in January of this year?
21   filled in when I went to the dentist for a follow-up visit                21    A     Yes.
22   in Smithtown, the family dentist.                                         22    Q     Was that before or after the new child porn was found
23   Q    Do the statements contained in that record reflect                   23    that you visited him in prison?
24   what you told the doctor in connection with your dental                   24    A     I'm not sure. I mean I remember when I came to see
25   care?                                                                     25    him, it was on my trip here, second day.
                                                                     Page 42 to 45 of 73                                                     12 of 31 sheets
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                                                                        A-240



  1
  2
  3
      Q
      you?
      A
                            D

                             -      - Cross/Lato




              No, I went with Frances and my daughter.
                                                               46
              Did you go alone to the MDC or did someone go with                1
                                                                                2
                                                                                3
                                                                                     about an hour ago?
                                                                                     A
                                                                                     Q
                                                                                           Yes.
                                                                                                         D

                                                                                                          -      - Cross/Lato




                                                                                           And do you remember when Joe Valerio wrote this to
                                                                                                                                              48




  4   Q       Did you actually bring your daughter, is that                     4    you, right?
  5
  6
  7
      A
      A
      Q
       ••     A
               --
                     .
              -- In the MDC to see Joseph?
                                                                                5
                                                                                6
                                                                                7
                                                                                     A
                                                                                     date.
                                                                                     Q
                                                                                           I remember the events. I just don't remember the


                                                                                           Basically, it speaks for itself how he said that you
  8   A       Yes, I did.                                                       8    fucked up big time. Now I see the neighbor in their
  9
 10
 11
      Q
      A
      Q
              How old was A
              She's seven.   •    at the time?


              And you were aware of the charges that Mr. Valerio
                                                                                9
                                                                               10
                                                                               11
                                                                                     backyard and you put on a show, motherfucker. That's what
                                                                                     he wrote to you?
                                                                                     A     Yes.
 12   had been convicted of and you brought your daughter in,                  12    Q     And you saved this note?
 13   correct?                                                                 13    A     Yes, I did.
 14   A       To some degree, yes.                                             14    Q     And without telling me the reason, was there a reason
 15   Q       Now, is there a reason that you came to the United               15    that you saved it?
 16   States to see Frances Valerio?                                           16    A     Yes.
 17   A       Yes.                                                             17    Q     Now, do you remember speaking to Special Agent Troyd
 18   Q       Is there a reason that you went to the jail to see               18    this year a couple of times?
 19   Joseph Valerio in January of this year?                                  19    A     Yes.
 20   A       Yes, there is.                                                   20    Q     Did you tell him in substance that when Joe wrote
 21   Q       Was the reason, that you wanted to get money out of              21    this note or something to the effect, that you found this
 22   Frances Valerio?                                                         22    odd, his behavior odd?
 23   A       No, absolutely not.                                              23    A     Yes.
 24   Q       In the year 2015, did Frances Valerio wire transfer              24    Q     Now, did this note come before or after he had raped
 25



  1
  2
  3
      you money at any time?




      A
      Q
                            D

                             -
              Yes. Yes, she did.
                                    - Cross/Lato
                                                               47


              Is it fair to say that she wire transferred money to
      you several times during 2015?
                                                                               25



                                                                                1
                                                                                2
                                                                                3
                                                                                     you?




                                                                                     A
                                                                                     Q
                                                                                           Before.
                                                                                                         D

                                                                                                          -      - Cross/Lato



                                                                                           Now, did you think it was odd that Mr. Valerio
                                                                                                                                              49



                                                                                     thought that you were putting on a show for the neighbors,
  4   A       Yes.                                                              4    given what he had already done to you?
  5   Q       It would be a fair statement she wire transferred you             5    A     I'm sorry?
  6   approximately $31,265 in 2015. Is that a fair estimate?                   6    Q     Prior to him writing this note, he had raped you
  7   A       That sounds fair, yes.                                            7    before?
  8   Q       Okay. Now, given all the terrible things that                     8    A     Correct.
  9   Mr. Valerio did to you, you still wanted to go visit him,                 9    Q     Did it seem odd that a guy who had done this would
 10   correct?                                                                 10    write this note?
 11   A       I didn't want to but I did go, yes.                              11    A     Not really, no.
 12   Q       Well, did anyone force you to go visit him at the                12    Q     Now, it would be fair to say that before you lived
 13   jail?                                                                    13    with Joe, you dated a few times, correct?
 14   A       No, not really. No.                                              14    A     No, because --
 15   Q       When you say not really, was there a little bit of               15    Q     Go ahead.
 16   force or there wasn't any at all?                                        16    A     I only met him when I arrived at the United States
 17   A       There was a little bit.                                          17    the first time, so I had to live with him from when I
 18   Q       Now, did anyone force you to visit Frances Valerio?              18    arrived in the United States in February of '08.
 19   A       No, not really. Again, just a little bit. That's                 19    Q     Now, you met him through an on-line dating site?
 20   it.                                                                      20    A     Yes.
 21   Q       Throughout 2015, were you e-mailing Frances Valerio              21    Q     Were you looking specifically for American men?
 22   and was she e-mailing you?                                               22    A     No.
 23   A       Yes, we were in communication via e-mail, yes.                   23    Q     Is this the first American man that you met?
 24   Q       Now, remember about an hour or so ago, the government            24    A     Yes.
 25   introduced an exhibit, 3-D. Do you remember seeing this                  25    Q     Now, was he nice to you the day you met?
13 of 31 sheets                                                      Page 46 to 49 of 73
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                                                                                       A-241


                               ~ • CrosS/Lato                                                                                   ~ • CrossJl..al:o
                                                                               50                                                                                              52
 1   A      Yes , it he very n ice.                                                            1   Q       When was the last t ime slle se rlt y ou money?
 2   Q      SO Is It fa ir to say he IVOI5 nice to you OIt least a                             2   A       I think it was Febr uary, Jan uary o r February of t hi s
 3   l ittle bit?                                                                              3   year.
 4   A      Vp.~.                                                                              4   Q       I)f t his Yf';!r"!
 5   Q      And he st<llrted to chllnge; is th,,! correct?                                     5   A       Yes.
 6   A      Yes.                                                                               5   Q       More o r less the end ing 01 t he e- mai ls and the en ding
 7   Q WoukJ illJ~ rtli l Lu ~v ill l li~ CUUlS~ u r d lIdY or                                 7   U[    Llle I lllJl le v I ltll-'lHmeU oI lJU uL UIC! ~llle lillie   01d   I IIUIIUI
 8   wee k he wou ld be good and suddenly bad , carmet?                                        8   apart?
 9   A      yp.~.                                                                              9   A       YP.S, rhilr would b..,        rorrf~cr.

10   Q      Oy t he '/'I ny,   VlIlIS   this t he on ly Am ericlln mllll t hllt y ou          10   Q       I n December of 2010, Vlere vou in the Urlited St lltes or
'1   had me t IVhen you c<l m e to t he U .S. and stayed wit h                                11   ·... e re y oo in <;outh Atr ica?
12   f'.1r. V<lI~ l io?                                                                       12   A        2010. I It:fL in Mdrdl ul 2010.
13   A      W h en I s tayed wit h him, yes.                                                  13   Q       Were you and Joseph V<lleri o e-m ailing each ot her?
14   Q      Now, after Mr. Va lerio \ViiS in prison in this case,                             14   A       I thin k    so, yes.
15   hol'l ofte n did yo u ~lIld r rllnces VlIle rio, his mothe r, write                      15   Q       And i n fllct on or tlbout Dece m ber 1st of 2010, whi le
16   each ot her through e- mail ?                                                            15   ·~o u   were in <;outh Atr ica, did Joseph Valerio send y ou an
17   A      I lhi llk il w u uh.llJt: f.. ir Lu stl y lwil.:t: d w e d!., IIIdylJt:           17   C!- lIlCIi l Sdyin'.J i ll solJ~LoI l l ce . tU U IULkirrl.j ubey Ifle, lJuuuu irr
18   o ll c e a week.                                                                         18   chains belore me. Hail, Cesar.
19   Q      In spi te of e"eryttJinu tha t Mr. Valerio had done t o                           19   A       Yes , he did .
20   you, did y() U write to Mrs . V()lerio, the mother: I think                              20   Q       At th is point d id you SilY the re is someth ing
21   of Joe every da'l and pray for '~oLJ r, Mrs. Va le rio's,                                21   seriously wr ong wit h this g uy!
22   comfort?                                                                                 22   A       I d id, ye5.
23   AVes.                                                                                    23   Q       And you cOflt inued to e-mail him after t hat. correct?
24   Q      Now, du r1 rl ~ thi s period of ti me she \V ClS sendl llO y ou                   24   A       Correct.
25   m o rlCY, COrTcct~                                                                       25   Q       And du ri ng th i ~ tim e     VT.. a~   F rance~ Valer io ~ending yo o

                               ~ • CrosS/Lata                                                                                   ~ • CrossJl..al:o
                                                                               51                                                                                              53
 1   A      Correc t .                                                                         1   mon ey a month or so befo re or after?
 2   Q      were '/ou a lso sendinu her pictures of kids?                                      2   A       I n lOW?
 3   A      Of me ilnd my chi ldren, y es.                                                     3   Q       Yes .
 4   Q      Now y ou need ed t his mon ey trom her, correct?                                   4   A       No.
 5   A      Fur l:hih] sUPlJur L.                                                              5   Q       NUl"; , rruLw i LIr~l.olldi n\l l he Hdl<! Cde~d l e- nl dil eve l Y now
 6   Q      !\nd fa r re nt also, correct?                                                     6   and t hen Joe Va ler io w ou ld se nd y ou a nice e-mail,
 7   A      Yes.                                                                               7   correct ?
 8   Q      And ba sicall 'f Vllla t you were re(llly doin g ..... as t hilt you               8   A       Yes , h e did .
 9   were trying to convince them t hat y oo actually cared fo r                               9   Q       '>0 III' had go back and forth between good Joe and bad
10   her ,'md Joe <'ln d to get m oney oot of her, <'ln d not t hat they                      10   Joe , correct?
11   we re st upid?                                                                           11   A       Yes.
12   A      Nu.                                                                               12   Q       NUl"; , tlliuu l holV IfIClIlY rrrur l Lh~ i ll Ure Wtl l~1 M i l i lrou~t'
13                  MR. KABRAWALA : Objection .                                               13   .... a~ it bef ore   Mr. Valerio t r ippe d you?
14                  THF r:OI.IRT : SIl~til i nPfi .                                           14   A       Tr Wit ..,; _TV p.ilrly nn. T wmlld oc;ilY wiThin iI r:m1Il lp. of
15   Q      D id you )'jrite to Mr . VlI ler io .... lIile he WIIS i n jllil                  15   w ee ks.
16   t hrougll e- m ail?                                                                      15   Q Did y ou tind t hat odd t hat t his guy who is so rl ice to
17   A      I dill, ye5 .                                                                     17   fU U, all 0 1 d ~U t.lOO I lrilJveU yuu?
18   Q      D id you write to him           to kee p th is line of                            18   A       I d id, ye s .
19   commu nica tion apen?                                                                    19   Q       I s t llere a re<l50n wh y at that point y ou just didn't
20   A      Yes.                                                                              20   get up (ln d lea ve ilnd go bil ck to South Afrial (l nd go
21   Q      Wlli le you w ere wr it ing        to h im, was Frances Valerio                   21   somewllere else?
22   <'llso send ing you money?                                                               22   A       Ye s , ther·e is a 1000:§On .
23   AVes.                                                                                    23   Q       Now, w as .            liv ing with you at the ti me?
24   Q      When was the last t ime ·~ou e-malled Frances Valerio?                            24   A       _        w as wit h u s, y es.
25   A      From what I rec all , in January of thi s y e ar.                                 25   Q       WilS Joe sti ll good to _                ilt t hat point when he
                                                                                    Pa9" 50 to 53 d 73                                                                       14 of 3 1 s hed,;
                       Case 17-2371, Document 36, 03/05/2018, 2249739, Page18 of 183
                                                                          A-242



  1
  2
      tripped you?
      A     Yes, he was.
                          D

                             -     - Cross/Lato
                                                                  54
                                                                                  1
                                                                                  2
                                                                                       physical abuse?
                                                                                       A     Yes.
                                                                                                             D

                                                                                                              -        - Cross/Lato
                                                                                                                                                    56



  3
  4
  5
      Q     At some point he was bad to L
      would insult him, correct?
      A     Yes.
                                          •    too, correct? He                   3
                                                                                  4
                                                                                  5
                                                                                       Q     Yet prior to that argument, Mr. Valerio had
                                                                                       physically abused you many times, correct?
                                                                                       A     Yes.
  6
  7
  8
      Q
      A
      Q
            But at times he was still good to you and L
            Yes, he was.                               •   ?


            But the bad Joe was coming out more and more as time
                                                                                  6
                                                                                  7
                                                                                  8
                                                                                       Q     Yet on those prior occasions you never called the
                                                                                       police, correct?
                                                                                       A     I tried, but no.
  9   went on, correct?                                                           9    Q     When you say you tried, did you actually pick up the
 10   A     Correct.                                                             10    phone?
 11   Q     Now, remember at some point after Water Mill, did you                11    A     Yes, I did. I would pick up the phone and he would
 12   return to South Africa before moving into the Smithtown                    12    take the phone out of my hand.
 13   residence?                                                                 13    Q     When the police were finally there, did they give you
 14   A     Yes.                                                                 14    an opportunity to write a statement about what had
 15   Q     And at this point had he ever done anything                          15    happened?
 16   physically abusive to you other than tripping you?                         16    A     I don't recall that, but they did ask me what
 17   A     Yes.                                                                 17    happened.
 18   Q     He punched you, threw you on the floor?                              18                 MR. KABRAWALA: No objection.
 19   A     Yes.                                                                 19                 MR. LATO: Well, okay.
 20   Q     Once you were away from this guy, is there a reason                  20    Q     Let me just show you Exhibit 3-A. Please look at
 21   you came back to live with him again?                                      21    that for a minute and let me know when you are done?
 22   A     Yes, there is.                                                       22    A     Yes, I'm done.
 23   Q     Is the reason Mr. Valerio said he would come get you                 23    Q     Okay. May I have it back, please.
 24   if you didn't come back?                                                   24                 Thank you.
 25



  1
  2
  3
      A



      Q
      A
      Q
                          D

                             -
            One of the reasons.
                                   - Cross/Lato


            To your knowledge, was Mr. Valerio in the Marines?
            No.
            Was he in the CIA?
                                                                  55
                                                                                 25



                                                                                  1
                                                                                  2
                                                                                  3
                                                                                                             D

                                                                                                              -
                                                                                                    THE COURT: Did you say 3-A.
                                                                                                                       - Cross/Lato


                                                                                                    MR. LATO: Yes, your Honor.
                                                                                                    Oh, I'm sorry. It's 3-B.
                                                                                                    THE COURT: Okay.
                                                                                                                                                    57




  4   A     No.                                                                   4                 MR. LATO: All right. I'm showing everyone
  5   Q     The FBI?                                                              5    Exhibit 3-B.
  6   A     No.                                                                   6                 THE COURT: So the record is clear, we'll admit
  7   Q     Was he even a cop?                                                    7    this into evidence.
  8   A     No.                                                                   8                 MR. LATO: Yes, your Honor.
  9   Q     Did you actually believe he had the power to actually                 9                 MR. KABRAWALA: No objection.
 10   send people to South Africa to come get you?                               10                 MR. LATO: Before I even move to admit,
 11   A     Yes, I did.                                                          11    Mr. Kabrawala said there is no objection, if it's okay
 12   Q     Now, you came back and you lived with him in                         12    with the Court.
 13   Smithtown, correct?                                                        13                 THE COURT: 3-B is admitted.




                                                                                                    -
 14   A     Yes, first Water Mill and then we moved to Smithtown.                14                 (Whereupon, Defendant's Exhibit 3-B was received
 15   Q     And in Smithtown the abuse continued?                                15    in evidence.)
 16   A     Yes.                                                                 16    Q     Ms. D        e, did I get it, right?
 17   Q     Were you surprised given what he had done before?                    17    A     Yes.
 18   A     No.                                                                  18    Q     Is Exhibit 3-B the police report that was filled out
 19   Q     Do you remember, finally you called the police one                   19    when the police came to your house that night?
 20   day after an argument?                                                     20    A     Yes, correct.
 21   A     Yes.                                                                 21    Q     I'm going to turn over to page 2.
 22   Q     Would it be fair to say that that was the only time                  22                 Do you see where it says on the screen, it might
 23   you ever called the police, correct?                                       23    be easier for you, Statement of Allegation Supporting
 24   A     Yes.                                                                 24    Deposition and No Statement?
 25   Q     And the argument was verbal only, correct, no                        25    A     Correct.
15 of 31 sheets                                                        Page 54 to 57 of 73
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                                                                        A-243



 1
 2
 3
     Q
                          -
                          D   e - Cross/Lato


         It's a fair statement now, you had the opportunity to
     give the police a statement but you declined?
     A   Yes.
                                                                58
                                                                                1
                                                                                2
                                                                                3
                                                                                     that you were pregnant?
                                                                                     A
                                                                                     Q
                                                                                            He did, yes.
                                                                                                            -
                                                                                                            D          - Cross/Lato




                                                                                            Did he say something to the effect or ask you why
                                                                                                                                               60




 4   Q   Now, you testified on direct examination, please                       4    didn't you have an abortion?
 5   correct me if I'm wrong, that one of the reasons you                       5    A      Yes, he said that to me.
 6   didn't leave him is that you were embarrassed what you                     6    Q      Did you answer him?
 7   would tell people?                                                         7    A      No, I didn't.
 8   A   No, that's not the reason I didn't leave. That's the                   8    Q      You didn't say anything like yes, you have a polluted
 9   reason I didn't tell anybody.                                              9    gene pool but I'm not getting rid of this baby?
10   Q   Okay. Could you have left him at any one of these                     10    A      No, I didn't want to provoke him.
11   times?                                                                    11    Q      When was the last time you e-mailed Mr. Valerio?
12   A   In hindsight, yes.                                                    12    A      Probably before I came to the United States on my
13   Q   And you could have left him and told no one, friend                   13    previous trip in January.
14   or anyone, just I don't like the guy, I'm done with him,                  14    Q      Of this year?
15   correct?                                                                  15    A      Yes, I think so.
16   A   Correct.                                                              16    Q      And did you say things to him, for instance, in terms
17   Q   And moved back to South Africa?                                       17    of his sentence, it's in God's hand now, I forgive you?
18   A   Yes.                                                                  18    A      Yes.
19   Q   And ultimately that's what you did?                                   19    Q      You really forgive him?
20   A   Eventually, yes.                                                      20    A      I do.
21   Q   Now, was there an incident on a road by the beach                     21                  MR. LATO: One second, please.
22   where Joe was physically abusive towards you?                             22                  (Counsel confer.)
23   A   Yes.                                                                  23                  MR. LATO: Just about five more minutes.
24   Q   And in fact that happened twice, is that correct?                     24                  THE WITNESS: Sure.
25



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 3
     A



     Q
         Yes.



                          -
                          D   e - Cross/Lato


         On one of the occasions, did you actually get out of
     the car and grabbed a child from the back seat?
     A   Yes.
                                                                59
                                                                               25



                                                                                1
                                                                                2
                                                                                3
                                                                                     Q


                                                                                                            -
                                                                                            I wanted to confer with counsel to make sure I
                                                                                                            D


                                                                                     wouldn't leave anything out.
                                                                                     A
                                                                                     Q
                                                                                            Yes.
                                                                                                                       - Cross/Lato
                                                                                                                                               61



                                                                                            You testified on cross-examination over the last few
 4
 5
 6
     Q
     A
     Q
         A
          •
         Yes.
                ?


         How old was she?
                                                                                4
                                                                                5
                                                                                6
                                                                                     minutes that there would be a good Joe and a bad Joe,
                                                                                     remember?
                                                                                     A      Yes.
 7   A   I don't recall the age but she was small enough to                     7    Q      Now, was there -- would it be a fair statement that
 8   fit into a car seat.                                                       8    anything could just set him off, correct?
 9   Q   And while you were reaching in the back did                            9    A      Yes.
10   Mr. Valerio move the vehicle before he knocked you over?                  10    Q      In terms of the good things, even over the last few
11   A   I hadn't been able to. The back door wasn't opened.                   11    months of your relationship, was he good to you at times?
12   The front door was opened. So I hadn't been able to open                  12    A      Yes, there was. There were good days, yes.
13   the door yet before the car knocked me over.                              13    Q      For instance, one of the nights on the road to the
14   Q   Was it on this occasion or a subsequent occasion that                 14    beach beforehand, you had gone out to dinner, correct?
15   he said he was going to kill you?                                         15    A      We had gone on somewhere, yes.
16   A   On that occasion.                                                     16    Q      The date he said something about the lesbian cop?
17   Q   And you believed him, correct?                                        17    A      Yes.
18   A   I did.                                                                18    Q      And you had a nice time at dinner, correct?
19   Q   Even though you believed he was going to kill you,                    19    A      Yes, we did.
20   you stayed with him, right?                                               20    Q      And then all of a sudden, he just turned bad,
21   A   I did.                                                                21    correct?
22
23
24
     Q   Now, when you were pregnant with A
     planned or was it an accident?
     A   No, it was unplanned.
                                               •     , was it                  22
                                                                               23
                                                                               24
                                                                                     A
                                                                                     Q
                                                                                            Yes.
                                                                                            Do you know what the types of things were, if there
                                                                                     were any, that would just set him off to go from good to
25   Q   Did he say some bad things to you when he found out                   25    bad?
                                                                     Page 58 to 61 of 73                                                     16 of 31 sheets
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  1
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  3
      A


      Q
                              D

                               -     e - Cross/Lato


            No, I didn't. I couldn't explain it at any time what
      was making him angry. I never had an answer.
            Well, in terms of going places, did you ever go
                                                                       62
                                                                                       1
                                                                                       2
                                                                                       3
                                                                                            A


                                                                                            Q
                                                                                                              -
                                                                                                              D       e - Redirect/Kabrawala


                                                                                                  He was with me in the kitchen with the two police
                                                                                            officers.
                                                                                                  And did Mr. Valerio's physical presence impact your
                                                                                                                                                        64




  4   anywhere alone?                                                                  4    decision to give or not give a statement to the police?
  5   A     The only time I went somewhere alone, if I went to                         5    A     Absolutely, yes.
  6   the store to get some groceries now and then or if I took                        6    Q     Why?
  7   my son for a walk at the Smithtown house, is the only time                       7    A     Because I was afraid that if I had given a statement,
  8   I was alone, as I recall.                                                        8    I didn't know what would happen to me later if I was at




                                                                                                         -
  9   Q     Most of the time you were with him, if you were in or                      9    home with him. I thought it was better to leave it and
 10   out of the house?                                                               10    pretend it didn't happen.
 11   A     Yes.                                                                      11    Q     Ms. D           , you were asked about your journey here
 12   Q     Well, did you ever think to yourself while you were                       12    to the United States in January of this year.
 13   living there, I'm not suggesting anything, what am I doing                      13    A     Yes.
 14   wrong? Why is he like this?                                                     14    Q     And why did you come back in January?
 15   A     Yes, I did think that sometimes.                                          15    A     For some time Frances had been e-mailing me asking me
 16   Q     Did you ever ask him what's going on here? What am I                      16    to please come and visit her with the children. She
 17   doing? Why do you treat me this way?                                            17    wanted to see the grandchildren.
 18   A     Yes, I did ask him.                                                       18    Q     Is it fair to say that series of correspondence
 19   Q     What did he say?                                                          19    lasted approximately a year?
 20   A     He said to me I should do better. I should try                            20    A     Yes.
 21   harder.                                                                         21    Q     Continue.
 22   Q     Did he tell you try harder doing what?                                    22    A     I was in a situation where I have my two children at
 23   A     He didn't specify.                                                        23    home with me. It's not easy for me to just pick up and
 24                MR. LATO: One moment.                                              24    leave and come here. I have to arrange for my kids to
 25



  1
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      Q
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                         -
                   (Counsel confer.)
                                  - Redirect/Kabrawala


                   MR. LATO: Just a few more questions.
            Is it a fair statement that his mood could change
      from good to bad within a matter of seconds?
                                                                       63
                                                                                      25



                                                                                       1
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                                                                                                              -
                                                                                            leave school for a certain period of time, to make
                                                                                                              D         - Redirect/Kabrawala


                                                                                            arrangements for someone to care for the house when I was
                                                                                            not there.
                                                                                                                                                        65




                                                                                                         It was a process, because my daughter as part of
  4   A     Yes.                                                                       4    South African law is required to travel on two passports,
  5   Q     In other words, he would be happy and then all of a                        5    a U.S. and South African passport. There is a new law
  6   sudden he would be nasty?                                                        6    coming into effect. Certain documents have to be carried
  7   A     That happened a few times, yes.                                            7    with me, originals, with an apostle attached, and I
  8   Q     To this day, you don't have any idea what set him                          8    required those documents to travel with her. So all this
  9   off, correct?                                                                    9    takes time. I wasn't able to get up and leave and I
 10   A     No, I don't.                                                              10    explained this to Frances that it would take time. And
 11                MR. LATO: Nothing further.                                         11    the pressure became more apparent until eventually she
 12                MR. KABRAWALA: Very brief redirect, Judge.                         12    told me while she doesn't have a year to wait, if the kids




                   -
 13   REDIRECT EXAMINATION                                                            13    do not come now, she may not be around. So I thought she
 14   BY MR. KABRAWALA:                                                               14    may be sick, she was dying or something. So that made me
 15   Q     Ms. D           , you were asked about a police incident                  15    make more of an effort to come and see her.
 16   report?                                                                         16    Q     While you were in the United States in January of
 17   A     Yes.                                                                      17    this year, did you visit Mr. Valerio in prison?




                                                                                                                                          -
 18   Q     That was Exhibit 3-B.                                                     18    A     Yes, I did.
 19                I'm showing it to you again.                                       19    Q     Why did you go?
 20   A     Yes.                                                                      20    A     Well, my daughter was with me, A             , and she said to
 21   Q     You were also asked about the note statement on the                       21    me, mommy, can I just see my father once because she never
 22   second page?                                                                    22    met him because when I left she was just under a year old
 23   A     Yes.                                                                      23    so she has never known him. And my best friend at home
 24   Q     Where was Mr. Valerio in relation to you when you                         24    has grown up her whole life never knowing what he looked
 25   were asked to give a statement to the police?                                   25    like and I didn't want my daughter growing up like that.
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                      -       - Redirect/Kabrawala


                 I thought if she could meet him just once in her
     life, that might be all she needs and also if something
     would happen to her.
                                                                 66
                                                                                 1
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                                                                                 3
                                                                                      A
                                                                                                       D

                                                                                                        -       - Redirect/Kabrawala


                                                                                            Yes, I didn't know what they were. I just know there
                                                                                      was a white plastic bag containing objects that looked
                                                                                      like DVD covers that he had brought to the house that I
                                                                                                                                                    68




 4               I made the decision at the time it would be best                4    found in a set of drums that he had collected from
 5   for her to meet her father if she wanted. I made that                       5    Smithtown.
 6   decision.                                                                   6                 I mentioned the bag, but I didn't know what was
 7   Q    Briefly, tell us about that encounter with                             7    in it.
 8   Mr. Valerio at the prison.                                                  8    Q     Did you actually see any of the materials that were
 9   A    Frances and I and my daughter went into the waiting                    9    in the bags or view them?
10   area where you visit and we were sitting down and Joseph                   10    A     No.
11   and the other prisoners came in. And there is some kind                    11    Q     You got in touch with Special Agent Troyd because he
12   of a card they have to hand into an officer there, I don't                 12    had given you his number, presumably, at the airport?
13   know what it is, but Joe didn't hand the card in and he                    13    A     Yes, and he asked to please meet with me so they can
14   made a beeline to hug me, and one of the officers grabbed                  14    tell me the facts of what had happened because nobody had
15   him back and reprimanded him and he had to hand his card                   15    really told me the whole story what was going on.




               -
16   back.                                                                      16    Q     And instead of communicating with him for that
17               Everybody sat down at the table and he greeted                 17    reason, you called them and told them there was this bag
18   us and A        looked at him and then she buried her face in              18    of material that was recovered from the Valerio household?
19   my lap during the visit, didn't want to look up or speak                   19    A     Yes.
20   to him.                                                                    20    Q     And is it fair to say that your relationship with the
21               One of the prison officers was looking up and                  21    Valerios terminated after you turned in evidence against
22   down as if there was something wrong, if everything was                    22    Mr. Valerio?
23   okay. I nodded my had as if everything was fine. I just                    23    A     Yes, it did.
24   kept rubbing her back trying it keep her relaxed.                          24                 MR. KABRAWALA: Just one moment, your Honor.
25



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                -Joe's mom spoke a lot. Joe and I really didn't
                     D        - Redirect/Kabrawala


     converse much. He just felt it was necessary for him to
     tell me his reason why this happened and why he was there
     because nobody at this point had really spoken to me and
                                                                 67
                                                                                25



                                                                                 1
                                                                                 2
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                                                                                      at this time.
                                                                                                       D

                                                                                                        -
                                                                                                   (Counsel confer.)
                                                                                                                - Redirect/Kabrawala


                                                                                                   MR. KABRAWALA: Judge, there is nothing further


                                                                                                   THE COURT: Mr. Lato?
                                                                                                                                                    69




                                                                                                                       -
 4   told me what was really going on. And he gave his version                   4                 MR. LATO: One moment, please.
 5   of what had happened, and the rest of the time he spoke                     5                 Nothing further, your Honor.
 6   with his mother.                                                            6                 THE COURT: Ms. D         , thank you.
 7   Q    You were asked about payments that the Valerio family                  7                 THE WITNESS: Thank you.
 8   has made to you over the last period of time.                               8                 THE COURT: So the government rests.
 9               Have you used any portion of that money to                      9                 MR. KABRAWALA: Your Honor, the government rests
10   support your children?                                                     10    for purposes of the Fatico hearing, subject to any
11   A    Yes, that's all been to pay for the rent, help for                    11    rebuttal that might be necessary to the extent the
12   the school fees, whatever I would pay for, it was for                      12    defendant puts on a case.
13   child support.                                                             13                 THE COURT: I know there are other sentencing
14   Q    Including the daughter you have together with                         14    issues, but in terms of the Fatico hearing with respect to
15   Mr. Valerio?                                                               15    these other witnesses, the defense wants to put on a case?
16   A    Yes, correct.                                                         16                 MR. LATO: No, your Honor. We're not going to
17   Q    You were asked about the termination of e-mail                        17    put on a case. In other words, there may be some
18   correspondence with Mrs. Valerio.                                          18    documents that we want to put in, but there's a good
19   A    Yes.                                                                  19    chance that the documents are already in evidence that the
20   Q    And I think there was a suggestion that the money                     20    government put in.
21   also stopped coming around that time?                                      21                 I think I mentioned at the beginning of the
22   A    That's correct, yes.                                                  22    hearing when the government introduced an exhibit that
23   Q    Is it true that in January of 2016, you told the FBI                  23    consists of 150 or so pages, there is a good chance some
24   about some videos and other materials that were found from                 24    of the material in there I'll want to highlight as well as
25   the Valerio household?                                                     25    Mr. Kabrawala may want to highlight for the government.
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                         -   e - Redirect/Kabrawala


      There's a potential there could be other documents, but
      right now I don't foresee them.
                  THE COURT: How do you want to continue? Dr.
                                                                  70
                                                                                  1
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                                                                                  3
                                                                                       January 25, 1:00 p.m.
                                                                                                 MR. BODE: It's possible I'll be on trial, but
                                                                                       as long as it is 1:00 p.m., Mr. Kabrawala is primary on
                                                                                                                                                 72




  4   Bardet was doing a report. Do you have that report now?                     4    this.
  5               MR. LATO: One second, Judge.                                    5              MR. LATO: I'm sorry, what time?
  6               Your Honor, it's an ongoing thing with Dr.                      6              THE COURT: 1:00 p.m. on January 25th.
  7   Bardet by virtue of what happened at the beginning of the                   7              MR. LATO: That's fine, your Honor.
  8   Fatico hearing and what happened today is what basically                    8              THE COURT: Is there anything else for today?
  9   Mr. LaPinta and I predicted and we believe that some of                     9              MR. LATO: No, your Honor. Not from us.
 10   the testimony told and the last part of the hearing gives                  10              MR. KABRAWALA: Not from the government, your
 11   Dr. Bardet a reason to see Mr. Valerio again. So we hope                   11    Honor.
 12   to make that arrangement within the next two weeks subject                 12              THE COURT: All right. Thank you.
 13   to his availability to get him to evaluate Mr. Valerio                     13              (Proceeding adjourned.)
 14   again based on some things that happened here today.                       14
 15               THE COURT: What I would like to do is set a                    15
 16   date.                                                                      16
 17               MR. LATO: For sentencing?                                      17
 18               THE COURT: First, a sentencing date but also                   18
 19   just a date by which if you want to put a written                          19
 20   submission in.                                                             20
 21               MR. LATO: Yes.                                                 21
 22               THE COURT: A sentencing submission, if you want                22
 23   to put in Dr. Bardet's report, if you want to point to                     23
 24   other documents or e-mails or highlight things in the                      24
 25



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      e-mail the government submitted. I want to set a date for
                               - Redirect/Kabrawala


      sort of an omnibus memorandum and then a sentencing date.
      Tell me when you think you would get that in.
                  I'll set a government response date and a
                                                                  71
                                                                                 25



                                                                                                      I-N-D-E-X
                                                                                       W-I-T-N-E-S-S-E-S
                                                                                                                                                 73




  4   sentencing date.                                                                  A                   D                             3
  5               MR. LATO: Let me just confer with Mr. LaPinta,                        DIRECT EXAMINATION                                3
  6   your Honor.                                                                       BY MR. KABRAWALA
  7               Your Honor, how about the last week of November                       CROSS-EXAMINATION                                 44
  8   for all defense sentencings. In other words a sentencing                          BY MR. LATO
  9   memorandum plus anything related to this hearing.                                 REDIRECT EXAMINATION                              63
 10   Everything.                                                                       BY MR. KABRAWALA
 11               THE COURT: That's fine.
 12               November 30th?                                                       E-X-H-I-B-I-T-S
 13               MR. LATO: That's fine, your Honor. That's just                        Defendant's Exhibit 3-B was received in           57
 14   for an appearance or just for the submission?                                     evidence
 15               THE COURT: Just for the written submission.
 16               How long does the government want to respond.
 17               MR. KABRAWALA: I think we'll need at least                            Government Exhibit 3-A was received in            15
 18   three weeks because we'll probably want to evaluate the                           evidence
 19   forensic report.                                                                  Government Exhibit AD-3 was received in           37
 20               THE COURT: Okay.                                                      evidence
 21               MR. KABRAWALA: With the Court's indulgence,                           Government Exhibit 15 was received in             39
 22   we'd ask until the end of the year, of course.                                    evidence
 23               THE COURT: That's fine. December 30th.                                Government Exhibit 1 was received in evidence 41
 24               MR. KABRAWALA: 12/30.                                                 Government Exhibit 2 was received in evidence 43
 25               THE COURT: And then how about the sentencing                          Government Exhibit 3 was received in evidence 44
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                                                                     1


 1                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
 2

 3     -------------------------------X
       UNITED STATES OF AMERICA,
 4                                    :        CR-14-94
                                               (JFB)
 5            -against-                  :   United States Courthouse
                                             Central Islip, New York
 6     JOSEPH VALERIO,
                                      :      March 6, 2017
 7                     Defendant.            10:30 a.m.
       -------------------------------X
 8
                          TRANSCRIPT OF FATICO HEARING
 9                        BEFORE THE HONORABLE JOSEPH F. BIANCO
                          UNITED STATES DISTRICT COURT JUDGE
10

11     APPEARANCES:

12     For the Government:          ROBERT L. CAPERS, ESQ.
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18

19

20

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23

24
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25                         Transcript produced by CAT.


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                          US District Court Reporter
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                                                                      2

 1                 THE CLERK:   Calling case USA v Joseph Valerio.

 2     Counsel please state your appearance for the record.

 3                 MR. KABRAWALA:      Good morning, Judge, Ameet

 4     Kabrawala and Allen Bode for the United States.

 5                 THE COURT:   Good morning.

 6                 MR. LATO:    Leonard Lato for Mr. Valerio.

 7                 Good morning, your Honor.     I am not joined by

 8     Mr. La Pinta who is on trial today.       I cleared it with

 9     Mr. Valerio before today.

10                 THE COURT:   Let me just confirm that and

11     Mr. Valerio is present.

12                 Are you satisfied with proceeding with Mr. Lato

13     here today, Mr. Valerio?

14                 THE DEFENDANT:      Yes, your Honor.

15                 THE COURT:   We had scheduled this for another

16     part of the Fatico hearing relating to psychological

17     evidence that you intend to offer through Dr. Bardey.

18                 Is that correct?

19                 MR. LATO:    It is, your Honor.

20                 THE COURT:   You are ready to go?

21                 MR. LATO:    Yes.

22                 THE COURT:   Dr. Bardey, if you would come up for

23     the oath.

24     ALEXANDER BARDEY,

25            having been duly sworn, was examined


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 1               and testified as follows:

 2                  THE CLERK:   Please state your name and spell it

 3     for the record.

 4                  THE WITNESS:   Alexander, A-L-E-X-A-N-D-E-R, S,

 5     Bardey, B-A-R-D-E-Y, M.D.

 6                  THE COURT:   Go ahead, Mr. Lato.

 7     DIRECT EXAMINATION

 8     BY MR. LATO:

 9     Q.      Good morning, Dr. Bardey.

10     A.      Good morning.

11     Q.      Is it a fair statement that an attorney Anthony M.

12     La Pinta asked you to perform some type of evaluation on

13     Mr. Valerio?

14     A.      It is.

15     Q.      And what type of evaluation were you asked to form?

16     A.      A psychological and psychosexual evaluation.

17     Q.      What does that mean, what type of evaluations are

18     they?

19     A.      They are evaluations to assess an individual's

20     psychological and psychiatric makeup, especially as it

21     pertains to sexual behavior, usually done in the context

22     of a sexual offense.

23     Q.      In your evaluation, was there any focus on any part

24     of Mr. Valerio's life as it affected his present day

25     psychological makeup?


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 1     A.   There was.

 2                There was a focus on his early life experiences,

 3     specifically allegations that he had been sexually and

 4     physically abused by his father from the age of five until

 5     about the age of 11.

 6     Q.   How many times did you visit Mr. Valerio?

 7     A.   I examined Mr. Valerio over the course of six

 8     sessions starting in December of 2014, then I saw him in

 9     February of 2015, in March of 2015, twice in June of 2015

10     and then the last time in November of 2016.

11                The examinations were over the course of

12     approximately ten hours.

13     Q.   That's total of all six exams, correct?

14     A.   Yes, sir.

15     Q.   Where did each of these take place?

16     A.   At the Metropolitan Detention Center in Brooklyn.

17     Q.   Before we get into what you did, just tell the court

18     briefly about your background that makes you qualified to

19     testify what you are going to testify about.

20     A.   Certainly.

21                After graduating from Harvard with a bachelor's

22     in biology, I attended SUNY Stony Brook Medical School.

23                After completing medical school I then did a

24     four-year accredited internship and residency program in

25     psychiatry at NYU.


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 1                  I then remained on the faculty at NYU and

 2     eventually earned my board certification in psychiatry and

 3     then in forensic psychiatry.

 4     Q.   Now, when you examined Mr. Valerio at the MDC, and

 5     conducted examinations or evaluations, specifically what

 6     type of examinations or evaluations did you conduct?

 7     A.   Initially I obtained a history, which is the standard

 8     operating procedure.    I start with the day he was born and

 9     go through his life in as much detail as possible, up

10     until the present.

11                  I focused on various elements of his life, his

12     psychiatric history, his sexual development, his

13     experiences with the sexual abuse he claims to have been

14     victimized by, his education, his professional life, the

15     offense conduct.

16                  I then focused on his mental status which is an

17     assessment of the way he presents, the form of his

18     thought, his intelligence, the way he strings together

19     concepts and thinking.

20                  And then I administer a series of psychological

21     tests.

22     Q.   What kind of tests are they?

23                  I want to interrupt you so we prevent a

24     continuing narrative.

25     A.   Sure.


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 1     Q.      What type of tests did you administer to Mr. Valerio?

 2     A.      I administered several tests.

 3                  The first is a test called PAI, the Personality

 4     Assessment Inventory.    That's a pen and paper test that

 5     Mr. Valerio takes himself answering a series, several

 6     hundred questions.

 7                  The results of that questionnaire are then fed

 8     into proprietary software owned by the company that then

 9     generates a report and a summary of that report is

10     included in the report that I wrote myself.

11                  The other three tests I administered are

12     actuarial tests to assess the risks of violence and sexual

13     violence.    That's the HCR 20, the SVR 20 and the Static

14     99 R.    Those are all actuarial tests, in other words, they

15     take information about the individual's history, about his

16     current status, and about attitudes about the future or

17     about situations about his future and generate a risk

18     assessment based on his answers as compared to answers of

19     a normal population.

20     Q.      Did you also interview other persons in connection

21     with your evaluation of Mr. Valerio?

22     A.      I did.

23                  I evaluated his mother, his sister and his

24     uncle.

25     Q.      And you recall their names just for the record?


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 1     A.   Frances Valerio, Bernadette Imperiale and Joseph

 2     Tusso.

 3     Q.   Frances is the mother?

 4     A.   Yes.

 5     Q.   And Bernadette the sister?

 6     A.   Yes.

 7     Q.   And the remaining name?

 8     A.   The uncle, the mother's brother.

 9     Q.   Now, the mother's brother, John Tusso, does he have

10     some type of degree?

11     A.   He is a licensed social work therapist.

12     Q.   Over the course of your examination and evaluations

13     did you also look at court documents to determine what

14     Mr. Valerio is charged with now and any criminal history

15     he might have?

16     A.   Yes.

17                 I reviewed the accusatory instrument, the

18     indictment, the superseding indictment.

19                 I reviewed the presentence investigation report.

20     I reviewed updates of that report.     I reviewed the minutes

21     of various hearings, specifically the Fatico hearings that

22     had occurred later in 2016.

23                 I can refresh my recollection, I think I have

24     forgotten a few things but that's essentially the universe

25     of data that I reviewed.


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 1     Q.   Just tell me if this refreshes your recollection, did

 2     you also look at the criminal complaint in this case?

 3     A.   I did.

 4     Q.   What about Mr. Valerio's prior criminal history, did

 5     you look at anything, say any other probation department

 6     complaint from the state?

 7     A.   Yes, I did.

 8                 There was a 2005 arrest for inappropriate

 9     touching at Splish Splash out in Riverhead and the results

10     and outcome of that investigation.

11     Q.   Did you also speak with another professional in this

12     case, a Dr. Maura Gordon?

13     A.   Yes.

14                 I spoke with Maura Gordon who is a licensed

15     social work therapist as well who was in the process of

16     treating both the mother and the sister and then provided

17     a psychological or psychosocial evaluation of better than

18     debt at the request of their mother.

19     Q.   Now, did you actually refer the case to Maura Gordon,

20     in other words suggest that Mr. La Pinta retain

21     Ms. Gordon?

22     A.   Yes.

23     Q.   Did you also speak with any of the persons that

24     Ms. Gordon spoke with such as Bernadette Imperiale?

25     A.   Yes, I had Bernadette in my office as well as the


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 1     mother and John.

 2                  That was before I referred her to Maura and, in

 3     fact, that is why I referred her to Maura because I saw in

 4     my office that she was in need of having psychotherapeutic

 5     services so I made that referral.

 6     Q.   Which she, which one?

 7     A.   I'm sorry, Bernadette Imperiale.

 8     Q.   How many times did you speak with Bernadette, Frances

 9     or John?

10     A.   Just once.

11     Q.   Now, focusing on Mr. Valerio -- let me backtrack one

12     thing.

13                  Did Ms. Gordon actually generate a report based

14     upon her interviews of Ms. Imperiale and Frances Valerio?

15     A.   She did and I reviewed it.

16     Q.   Turning to Mr. Valerio, did you talk about his

17     upbringing, such as his focusing mainly on life under his

18     father?

19     A.   Yes, I did.

20     Q.   Please tell us what you and he said to each other,

21     tests you performed and so forth.

22     A.   Sure.

23                  Mr. Valerio stated that his father was a very

24     abusive man, abusive physically, emotionally and sexually,

25     that he had witnessed his father be emotionally and


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 1     physically abusive toward his mother and then himself had

 2     been the victim of physical, emotional and sexual abuse.

 3     Q.     Did he give details over the course of your

 4     examinations of Mr. Valerio over the six times?

 5     A.     He did.

 6                 He said that starting around the age of five,

 7     his father who had been a diamond setter and then who

 8     owned a pizzeria would come home late, come into his room

 9     and sodomize him on a repeated basis.

10     Q.     Just stop one second.

11                 (Pause in the proceedings.)

12     Q.     Please continue.

13     A.     He would come into his room sometimes on a weekly

14     basis, sometimes less frequently and would then sodomize

15     him.

16     Q.     Did he give specifics of what that sodomy consisted

17     of?

18     A.     It consisted of the father inserting his penis into

19     Mr. Valerio.     It was a sodomy.

20                 It also consisted of inappropriate touching.

21     Mr. Valerio said that his father would often fondle him in

22     the shower while he was naked and aroused, but it was

23     especially those evening visits that were harrowing to the

24     members of the family.

25                 Mr. Valerio said that their mother would


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 1     sometimes try to intervene but oftentimes the door was

 2     locked.   If the door was not locked, the father would then

 3     push and punch and shove the mother out that he could

 4     continue what he was doing to his son.

 5     Q.   Now, did he say anything about his father other than

 6     the sexual abuse that he withstood, either Mr. Valerio or

 7     Frances Valerio telling you or Ms. Imperiale telling you?

 8     A.   You mentioned those other individuals.

 9                I mean, one of the things that I look for when

10     I'm doing a forensic evaluation is corroboration.      Anyone

11     can say anything.    It was important to speak to the family

12     members and to get their open-ended answers to what they

13     had experienced as children in terms of Bernadette or Fran

14     as mother of both Joe and Bernadette.

15                And, independently, they gave versions of the

16     abuse that were strikingly similar and consistent with

17     what Joe had said.    When I got a chance to review

18     Ms. Gordon's report and discuss it with her, it seemed

19     that the history that Bernadette Imperiale gave to Maura

20     Gordon was also consistent with the abuse that Joe had

21     described to me.

22                So all of these accounts seemed to corroborate

23     with each other, and Bernadette's account corroborated

24     with what she had told the probation officer who was

25     conducting the presentence investigation in a manner that


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 1     was significantly consistent with what she had told me.

 2                  All of that, in my opinion, made this history

 3     credible.    There were certainly issues of doubt in my

 4     mind.    The fact that this history had been revealed really

 5     around the circumstances of sentencing, after trial,

 6     rather than years before was certainly suspect.

 7                  The fact that there had been allegations that

 8     Frances Valerio and Bernadette Imperiale had written I

 9     think a letter that seemed to be less than credible raised

10     in my mind some significant concerns.

11     Q.      So we can just know what you are talking about, what

12     letter that was less than credible are you referring to?

13     A.      I believe it was a letter sent regarding the fact

14     that the photos of Jane Doe two had been done by someone

15     other than Joe and, in fact, that Bernadette had an alibi

16     that put them in a different country thereby putting to

17     doubt the veracity statements that Frances Valerio and

18     Bernadette Imperiale had made.

19                  So that raised my index of suspicion.   Clearly

20     there is a lot at stake here and such a history of abuse

21     might be considered mitigating.     So I had to consider

22     that, and -- which is why it was important to speak to the

23     various parties involved, and in my professional opinion,

24     having heard all of these versions of the events that were

25     consistent, it raised my index of credibility sufficiently


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 1     that to a reasonable degree of medical certainty I took

 2     that history to be genuine.

 3     Q.   So if I understand you correctly, notwithstanding the

 4     false letter from Imperiale and Frances Valerio which

 5     raises suspicion, you still believe based on consistency

 6     and other factors that the history you were getting about

 7     the abuse is a true one?

 8     A.   Correct.

 9     Q.   Now, did Mr. Valerio talk to you about sexual abuse

10     that any other family member may have endured at the hands

11     of the father?

12     A.   He spoke of his sister also experiencing sexual

13     abuse, very consistent with the abuse he had experienced

14     himself, yes.

15     Q.   Did he say whether he knew it at the time or learned

16     it only later?

17     A.   No, he said he knew it at the time.

18     Q.   Now, with respect to Mr. Valerio's childhood life

19     other than the father, for instance, education, friends

20     and so forth, did you discuss that with him and how it

21     affected him turning out to be the person that he is

22     today?

23     A.   Yes.

24     Q.   Please tell us about that.

25     A.   Certainly.


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 1                 Mr. Valerio had difficulties academically as a

 2     child.    He had to repeat the first grade.    He was

 3     diagnosed as dyslexic.    He continued to be fairly poor

 4     academically for years thereafter, although he was able to

 5     graduate high school and attend some college.

 6                 He very early on became sexualized, by the age

 7     of 11 he was masturbating.    By the age of 12 he was trying

 8     to engage others in sexual behavior.

 9     Q.   Well, based upon your expertise, was that early or is

10     that a normal age or do most boys start masturbating

11     earlier, later, or about at 11?

12     A.   That seemed a little young.

13                 Typically boys start to masturbate a little bit

14     later in life.    So that seemed young.

15                 Certainly attempting to engage others in sexual

16     physical contact around the age of 11 or 12 is also very

17     young and that's a piece that would be consistent with

18     someone who has been exposed early on to some sort of

19     inappropriate sexual behavior.

20     Q.   Upon what do you base that conclusion?

21     A.   My own experience and that in the literature as well,

22     that the normalization of the sexual experience in a young

23     child usually heralds earlier sexual behavior for several

24     reasons.

25                 One, because at some level the physical


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 1     stimulation involved in the abuse is pleasurable and it's

 2     a feeling that the individual wants to reproduce, even if

 3     it's done in an inappropriate and abusive context.

 4                And, second, it serves to sort of normalize that

 5     as a behavior that should occur in the house among people

 6     that care for each other.    By almost sort of mimicking the

 7     behavior that they themselves experienced the, young child

 8     will start to get involved in more sexual activity.

 9     Q.   Did Mr. Valerio give you any specifics with respect

10     to others that he experimented with, boys, girls, ages,

11     the type of sexual acts that he was experimenting with?

12     A.   No.

13     Q.   When Mr. Valerio became a little older, did he tell

14     you about having used any type of drug, and by that I mean

15     either alcohol or some illicit substance?

16     A.   I think by around middle school early high school he

17     had begun to abuse various drugs and alcohol, marijuana

18     and alcohol.

19                He then very rapidly moved on to other drugs

20     like cocaine, other kinds of pills and stimulants,

21     hallucinogens.   He became a fairly significant substance

22     abuser from that point on to the point I think eventually

23     he sought some assistance from his uncle to try to get a

24     handle on the severity of his drug use.

25                Paralleling the evolution of his substance use


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 1     was his interest in various sexual behaviors, specifically

 2     internet pornography that grew more and more violent,

 3     getting more involved in S&M and bondage and that type

 4     of -- that jar of pornography and when he got older that

 5     also translated into what he was looking for in sexual

 6     partners, where he began to seek out more fetish type of

 7     behavior with the people he was with.

 8     Q.   Now, with respect to the substance abuse, did

 9     Mr. Valerio or his sister or his mother discuss whether

10     the father also abused either alcohol or any illicit

11     substance?

12     A.   My recollection is that the father drank.

13     Q.   Now, did Mr. Valerio tell you that at some point the

14     sexual abuse stopped at the hands of his father?

15     A.   Yes.

16     Q.   Did he tell you how that came about?

17     A.   At a certain point Mr. Valerio grew big enough and

18     strong enough to fight off his father's sexual advances.

19                  The emotional and verbal abuse continued

20     thereafter well, I think, into Mr. Valerio's 20s, but the

21     sexual abuse stopped at 11.

22     Q.   Did he say about what age he became strong enough and

23     big enough because -- did he, for instance, say how big

24     his father was?

25     A.   He said his father was a larger man than he was.


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 1                 My recollection was that it was at the age of 11

 2     when he was large enough to push his father away, 11 or

 3     12.

 4     Q.     But did he give any idea just in terms of large as

 5     the father is say as large as Steve Troy?

 6                 MR. KABRAWALA:   Objection.

 7                 THE COURT:   Sustained.

 8     BY MR. LATO:

 9     Q.     Did he give you some idea, my size, just comparative

10     sizes between the two?

11     A.     If it's in my report I can check.

12                 I have no recollection specifically how big he

13     said his father was.

14     Q.     Now, did he say anything about how he withstood it?

15                 Did he push his father away?    Did he yell at

16     him?   Did he give any indication?

17     A.     Well, he pushed his father away and that's something

18     that both his mother, Frances, and his sister, Bernadette,

19     corroborated was that there were a lot of physical

20     altercations between his father and Joseph from that point

21     forward and that lasted for a number of years.

22     Q.     Now, what happened next in terms of his development?

23                 He's now at the age where he's resisting his

24     father.   About how old is he now?

25     A.     He's getting to be into his teens, and thereafter, at


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 1     that point he really starts to focus on other people and

 2     starts to look elsewhere.

 3                 I think his involvement with cocaine starts to

 4     become more significant as does his interest in

 5     pornography, going to clubs, getting involved with, you

 6     know, various sort of kinky sexual behaviors, threesomes

 7     and social gatherings involving sex and things like that.

 8     Q.   Did he finish high school?

 9     A.   Yes.

10     Q.   Did he take any courses after that, say college

11     courses?

12     A.   He took I think some college courses.

13                 I don't think he finished college.

14     Q.   Was he working at all when he was a young man say his

15     late teens, early 20s?

16     A.   He worked throughout.    He eventually worked for his

17     father's tile business.    He did that many years.

18                 He also began to get involved in real estate and

19     made some money either buying properties to be used as

20     rental properties or flipping homes, buying damaged

21     houses, fixing them up and selling them for a profit.

22                 He then ran a kind of credit, I guess a credit

23     cleaning company where he would work with agencies to try

24     to improve their credit, had numerous clients in

25     Long Island, a lot of them in the social businesses which


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 1     then got him even more involved with drugs and sexual

 2     behavior.

 3     Q.   Was he successful in any of these endeavors?

 4     A.   He was.

 5                 He ended up owning several expensive properties

 6     and cars and boats and -- so he reached some measure of

 7     success.

 8     Q.   Then how do you reconcile his success with his

 9     otherwise inappropriate behavior?

10     A.   Well, intelligence and psychological or even social

11     behaviors can run very independently.

12                 He's someone who was very adept at negotiating

13     deals and meeting people and was social.      There is an

14     aspect of him that's fairly manipulative, that he sees

15     people and relationships as a means to an end, and was

16     able to use those psychological aspects of his personality

17     to his own benefit.

18                 In fact, I would argue that those same qualities

19     also made it possible for him to get involved with women

20     and attract women and have women around him.      He can be a

21     very charming, conversant, social being.

22     Q.   Now, at some point in his early 20s, did he tell you

23     about some type of accident that got him depressed and

24     more into drugs?

25     A.   He was involved in a motor vehicle accident, suffered


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 1     a neck injury, whiplash, I believe.

 2                   He then went out on a Workers' Compensation

 3     leave, was prescribed painkillers to which he became

 4     addicted to.     Being idle at home he ended up spending a

 5     lot more time watching pornography and then his substance

 6     abuse deepened at that point.

 7     Q.     Is there any correlation between say a person who is

 8     depressed, getting involved with this type of other

 9     behavior such as pornography or other deviant acts?

10     A.     There can be.

11                   I mean, there is no specific correlation.

12     Q.     Did he talk to you about his interests in pornography

13     as he grew older, whether it was consistent, I see always

14     grew stronger, less important, did he talk about it?

15     A.     Yes.

16                   His interest in pornography kept getting

17     stronger and stronger and always toward more deviant

18     bondage, S&M kind of scenarios.

19     Q.     Did he talk to you about other than the S&M and

20     bondage the age of the participants, did that matter to

21     him?

22     A.     Child pornography did not seem to have been a

23     prominent aspect of what he was interested in at that

24     point in his life, no.

25     Q.     Well, let's dispense with the adjective prominent,


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 1     was it an interest of his at all when he was talking about

 2     it?

 3     A.    Not to my knowledge.

 4     Q.    What about not children, but younger women, say women

 5     who might be the age of majority but say in their late

 6     teens or very early 20s, was that of interest to him?

 7     A.    Yes.

 8     Q.    What about older women dressing up as younger women?

 9     A.    Absolutely.

10                  And that was borne out of the objective testing

11     that I did.    What he's really interested in are young

12     women, not under the age of 14, but from that age upward

13     really was his chief focus of sexual attention.

14     Q.    Now, in evaluating Mr. Valerio, did you consider that

15     abnormal that he had an interest in, say, either older

16     women trying to look young or younger women like

17     teenagers?

18     A.    Well, objectively most heterosexual, quote-unquote,

19     normal men are attracted to both adult women and

20     adolescent women.    It becomes pathological if the

21     individual begins to act on their attraction to these

22     younger women if they are below the age of 18.

23                  But if there isn't that kind of behavior that is

24     considered a normal profile.

25     Q.    In other words it's normal to have the fantasy of the


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 1     younger women, say the teenagers, but not actually act on

 2     it?

 3     A.    Correct.

 4     Q.    Is that why, for instance, some men fantasize about

 5     having women of age dress up as, say, cheerleaders?

 6     A.    Yes.

 7     Q.    What else happened over the course of your, for

 8     instance, evaluation and tests of Mr. Valerio, again

 9     focusing on is he making all of this up?

10     A.    No.

11                  I mean the issue of credibility, malingering is

12     what we call it in our field, is something that is part of

13     every forensic evaluation.

14                  Every evaluation that is done in a forensic

15     setting, there is a lot at stake, either it's a financial

16     issue or someone's liberty.      So there is a motivation, an

17     inherent motivation for the individual to lie or

18     exaggerate on their own behalf.

19                  Over the course of the sessions that I had with

20     Mr. Valerio, I did not find him to be lying or

21     exaggerating.    He was very open about behaviors that were

22     fairly reprehensible.    He was very open about discussing

23     these and discussing his interests in them, which I found

24     to be honest and credible.

25                  And he was also honest and this evolved over


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 1     time in that early on in our meetings he really had very

 2     little understanding that what he had done was wrong.         He

 3     really did not manifest much in the way of remorse or

 4     guilt about what he had done.    He was very much trying to

 5     minimize or use what we call cognitive distortions.

 6                In other words, individuals use a distortion in

 7     their thinking to justify something, and typically when I

 8     evaluate someone who, say, into child pornography or been

 9     accused of a sexual offense toward a minor they will say,

10     oh, it was consensual, this young woman wanted this.

11     Those are the kind of distortions that people use to

12     justify their criminal behavior and initially Mr. Valerio

13     used a great deal of those.

14                He was minimizing.    He was deflecting

15     responsibility.   Over time --

16     Q.   How was he deflecting responsibility?

17     A.   That, you know, it was -- he was trapped by his

18     codefendant and coerced into doing this, that he was not

19     the one who put this forward.

20                But over time I saw an evolution and over time

21     by November of 2016 he was much more remorseful, was

22     tearful, was talking about himself as someone who needed

23     to change, said at some point that he was a monster that

24     had to change, that something had to be done.

25                And I mean maybe he was a very good actor and


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 1     fooled me, but it seemed credible to me that he had gone

 2     from what is called a state of egosyntonic reaction to

 3     egodystonic reaction and I'll explain what I mean.

 4                Egosyntonic means you are engaged in a behavior

 5     that sits well with you.    It's syntonic with your ego.      It

 6     feels right.

 7                Egodystonic is you are involved in a behavior

 8     that doesn't feel right to you, it feels alien, that you

 9     are conflicted about and that's an important transition in

10     evaluating whether someone can be rehabilitated or whether

11     they might be a good candidate for sex offender treatment.

12     Q.   Is that progression, or that evolution normal, for

13     instance, in other areas of psychology where the person

14     might be angry or in denial and then ultimately

15     acceptance?

16                In other words, is this the type of thing that

17     you have seen before where people will evolve from this

18     minimization or denial to acceptance and remorse?

19     A.   The short answer is yes.

20                The longer answer is it's what you hope to see.

21     I mean, that's the goal of treatment, is to get someone to

22     recognize that certain behaviors and thought patterns are

23     wrong and that they want to change them, that they want to

24     get rid of that little -- that cancer inside of them.

25     Q.   In your expert opinion, was the evolution or change


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 1     in Mr. Valerio a genuine one?

 2     A.   I felt it was.

 3     Q.   Now, did Mr. Valerio talk to you about any children

 4     he may have had with one or more women?

 5     A.   Yes.

 6     Q.   What did he say?

 7     A.   Well, he has a son from his first wife, and he has a

 8     daughter from a second relationship that he was in.

 9                 He still has a relationship or had a

10     relationship with his son.    I'm not sure what it is today

11     as I sit here, and the relationship with his daughter

12     ceased when he -- when she moved back to her country.

13     Q.   Did you have any concern with respect to whether

14     Mr. Valerio may have done anything improper to either of

15     these two children when they were young?

16     A.   I have no evidence to suggest that.

17     Q.   Suggest that he did anything to them, correct?

18     A.   Correct.

19     Q.   Now, is that unusual for a person to, say, be

20     interested in child pornography with others but not his

21     own children?

22     A.   Yes, it can be -- I mean, it's hard to throw a

23     blanket over an entire varied population of individuals

24     who get involved in that kind of behavior.

25                 Some people who are involved in child


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 1     pornography do move on to date kids that are around them

 2     even their own, others never do.

 3                 So I can't really answer that in a blanket way.

 4     Q.   Now, how many times have you been asked to examine

 5     people who have been involved in child pornography in

 6     general?

 7     A.   Probably 50 to a hundred.

 8     Q.   Did you think it unusual that Mr. Valerio became

 9     interested in very young children, only in the last few

10     years when he's in his 40s?

11     A.   I don't think that is necessarily that unusual, that

12     can happen.

13                 It's more the context in which it occurs.     In

14     other words, when you start thinking about child

15     pornography the question you want to answer is, is this

16     person a pedophile or is this just someone who has a very

17     broad range of sexual interest and for whom child

18     pornography happens to be one little slice of the pie.

19                 And in Mr. Valerio's case the child pornography

20     was one little slice.    I didn't see him as having a very

21     intense attraction to minors under the age of 13 which

22     would be the definition of pedophilia according to our

23     DSM V.

24                 I see him as someone who has a broad range of

25     sexual interests who is more opportunistic and if an


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 1     opportunity comes up for something sexual he will

 2     gravitate toward it.

 3     Q.   So to use your pizza metaphor for analogy, he may be

 4     interested in one type of pizza but if there are other

 5     slices he doesn't like as much that aren't available he'll

 6     eat it?

 7     A.   Correct.

 8     Q.   Now, with respect to incidents in his life, did he

 9     talk about, for instance, perhaps having an incestual

10     relationship or an improper relationship with a relative?

11     A.   I mean, other than the abuse that he talks about with

12     his father, no.

13     Q.   Let me modify what I just said rather than say it was

14     improper.

15                 Did he ever say that he had an intimate

16     relationship with a distant cousin?

17     A.   Oh, sure, other, I wasn't thinking about that.

18     Q.   It was my fault?

19     A.   I think it was a woman named Valeria, he described it

20     as really falling in love with this woman who eventually

21     died while she was pregnant and he described that loss as

22     emotionally traumatic.

23     Q.   Did he tell you she was pregnant because of him or

24     some other man?

25     A.   He hinted at the fact that she may have been pregnant


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 1     with his child.

 2     Q.   Did he talk about with any of the women he was ever

 3     involved with whether they had open relationships or an

 4     open marriage or anything like that, meaning having sex

 5     with persons other than the one they were supposed to be

 6     faithful to?

 7     A.   He claimed several of these relationships were open

 8     relationships, but I had no corroborating evidence one way

 9     or the other.

10     Q.   Now, is it a fair statement that over time

11     Mr. Valerio's interest in improper sexual acts grew worse

12     over time?

13     A.   Yes.

14     Q.   Now, based upon what's happened the last two years is

15     there any realistic way of reversing that trend?

16                  Because one of the things you must talk about

17     and consider is the likelihood of recidivism.

18     A.   Sure.

19                  My evaluation and the results of the various

20     actuarial risk assessment tools that I used show that

21     Mr. Valerio remains at moderate risk of reoffending.

22                  The fact that he had progressed to where he

23     began to see his behavior as maladaptive, as wrong, felt

24     regret for what he had done indicated -- was a positive

25     prognostic sign that he would be potentially responsive to


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 1     a course of sex offender based treatment.

 2     Q.   What type of treatment?

 3                 In other words, either in prison or after

 4     prison, what type of treatment could lower the risk of

 5     recidivism?

 6     A.   Well, to further explore these cognitive distortions

 7     I'm talking about, to help him really understand the

 8     impact of his behavior on other people, how traumatizing

 9     it is, how wrong it is and over time through cognitive

10     behavior therapy and through the sex offender which is

11     usually a group based mode of treatment, to help him

12     internalize the behaviors that are adaptive and to reject

13     the impulses that are not, to develop behavioral

14     techniques to avoid situations and places that would

15     permit his engaging in this kind of behavior again and for

16     him to structure his life in a way that he would stay away

17     from those situations that would encourage that kind of

18     behavior.

19     Q.   You use the term moderate risk.

20                 How many different risks are there?    For

21     instance, moderate presumably is in the middle somewhere.

22     What's above and below?

23     A.   High and low.

24     Q.   In a high risk, what does that actually mean about

25     recidivism, these people, practically it's hopeless to try


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 1     to rehabilitate them?

 2     A.   It's not necessarily hopeless and again it's hard to

 3     make a blanket statement.

 4                Two people -- risk is defined by elements in

 5     your past that you can't change, right, the behaviors you

 6     have done in the past, your level -- your intellectual

 7     level, your level of education, whether you have worked or

 8     not, whether you have had stable relationships, the number

 9     of offenses you have committed.

10                Those all populate the historical portions of

11     many of these actuarial risk assessment tools, but things

12     can change.   If you have a mental illness, a substance

13     abuse problem, or other emotional problems that can be

14     addressed through meaningful therapeutic intervention,

15     that reduces risk.   And also if you can make interventions

16     for the future where the person lives, how they live,

17     whether they are employed, whether they have supportive

18     family, factors such as those can help reduce risk in the

19     future.

20                So there is a certain amount of plasticity to

21     risk, so two people who are both high risk now might in

22     five years remain high, move down to moderate or even low,

23     depending on the interventions.

24                In Mr. Valerio's case, I found him to be at

25     moderate risk, so he wasn't the highest risk category.


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 1     Q.      Why?

 2                     In other words for the court it's important to

 3     say why you believe he's a moderate and not high as

 4     opposed to he just is.       Why?

 5     A.      Sure.

 6                     In part because the static, the HCR 20 and the

 7     VCR 20, using these actuarial tables, in other words they

 8     compare his history to that of thousands of people, his

 9     current situation to that of thousands of people and

10     compares his risk to others.

11                     So I'm not relying solely on my own clinical

12     impression.       I'm relying on what the actuarial tables tell

13     us and given his history, he's functioned well in certain

14     areas.    He's maintained certain types of relationships.

15     He's maintained relationships with his family, factors

16     such as those that impact on his degree of risk and they

17     are all consistently defining him as being of moderate

18     risk.

19     Q.      Fair to say that you spoke with Bernadette Imperiale

20     and Frances Valerio on or about May 27th of 2015, and also

21     John Tusso that one day, right?

22     A.      Correct.

23     Q.      Now, specifically, what is it about, say, Bernadette

24     Imperiale that leads you to believe that this probably

25     happened?


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 1                  What is it, rather than say it's consistent,

 2     what did she say that strikes you as consistent?

 3     A.   Well, the details of the abuse, the timing --

 4     Q.   Such as what?

 5     A.   In terms of what her father did to her, when he came

 6     into her room and sodomized her.

 7     Q.   What did he do to her as far as you were told?

 8     A.   He penetrated her with his penis on repeated

 9     occasions.

10                  He would be physically assaultive to her, push

11     her head down.    He put her down and assaulted her very

12     much in keeping with what Joe had described happening to

13     himself.

14                  She also witnessed interactions between her

15     father and Joe where he was physically abusive and

16     emotionally abusive of Joe.      She too witnessed her mother

17     and the abuse her mother suffered.

18                  Her psychological makeup, I mean, she was very

19     much -- she has various physical impairments, and she's

20     not able to cope with them well.     She very much has

21     remained kind of very much a victim in terms of how she

22     presents herself psychologically.

23                  So her makeup, the way she spoke, the way she is

24     coping with the world is consistent with someone who's

25     been abused.    That raised my index of credibility in this


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 1     case.

 2     Q.      What about her intellectual capacity?

 3                  Is there something to the effect that, say, an

 4     intelligent well educated person makes a more convincing

 5     liar?

 6                  Did she strike you as somebody who's just

 7     basically not smart enough to make all this stuff up?

 8     A.      She is not -- I think she has some limitations

 9     intellectually and I think it would be unusual for someone

10     to elaborate that kind of detailed lie.

11     Q.      Let's turn to Frances Valerio.

12                  Anything about her that was either consistent or

13     inconsistent with either what Bernadette Imperiale or

14     Joseph Valerio had said?

15                  And, please, discuss both.

16     A.      Right.

17                  No.   The history that she provided in terms of

18     how she was treated, and in terms of what she witnessed

19     her does doing to the two children was consistent with

20     what each of them had reported.

21     Q.      Did she talk about what he had done to her, either

22     physical assault or sexual or both?

23     A.      Well, he had been physically abusive of her on

24     repeated occasions.

25                  I mean, she explained that when they married he


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 1     found out that she had had other previous boyfriends and

 2     therefore in his mind was a tainted woman and then from

 3     that point on treated her like she was less than and

 4     became physically and emotionally abusive of her.

 5     Q.   Did you speak with John Tusso?

 6     A.   I did.

 7     Q.   And anything that he could recount that was either

 8     consistent or inconsistent with what you heard from the

 9     others?

10     A.   Sure.

11                  He had not witnessed firsthand the sexual abuse

12     that was described in terms of Bernadette Imperiale or

13     Joseph Valerio, but he did witness once at some early

14     function when Mr. Valerio was an infant saw their father

15     boasting about the size of his infant son's penis and then

16     reaching down with his mouth and putting the penis into

17     his mouth.

18     Q.   Did she -- did anybody other than Joseph Valerio --

19     let me just withdraw that.

20                  The mother, did she say she ever did anything to

21     try to stop this, either directly to her husband or

22     through other sources, her uncle, the police, anything.

23     A.   You are not referring to the incident I just

24     described, you are referring to --

25     Q.   In general.


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 1     A.      In general.

 2                    Right.   So she said she often physically tried

 3     to stop her husband from doing this to her children, but

 4     would be overpowered, beaten up, pushed.       She never went

 5     to the police because she was dependent on her husband

 6     because she described herself as a simple Italian woman

 7     where you just don't do that.

 8                    So you just deal with it and turn the other

 9     cheek.

10     Q.      In terms of overall, your diagnosis and formulation,

11     are those actual terms that are used in your profession?

12     A.      Yes.

13     Q.      Diagnosis I think we know.

14                    What does formulation mean?

15     A.      Formulation is to try to put it all together, to try

16     to understand.

17                    What I try to do in my job is to try to

18     understand why something has happened, what are the

19     psychological, psychiatric emotional underpinnings that

20     led someone to commit some sort of abhorrent act.

21                    So in my formulation I attempt to do that.

22     Q.      Let's break this down with respect to let's say the

23     diagnosis.

24                    How many disorders is Mr. Valerio suffering

25     from?


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 1     A.   Well, he suffered in my opinion from two what are

 2     called paraphilias, which are sexual behavior disorders.

 3     Q.   I just want to make sure you said paraphilia, not

 4     pedophilia?

 5     A.   Para, P-A-R-A.

 6     Q.   Okay.

 7     A.   In my opinion he is into frotteurism which is rubbing

 8     up and touching strangers.

 9                  He's voyeuristic.   He enjoys watching women

10     unbeknownst to them in compromising positions.

11     Q.   With your frotteuristic disorder, does that stem in

12     part from the Splish Splash incident where he grabbed an

13     adult woman in a wave pool?

14     A.   Yes.

15     Q.   What about --

16     A.   And --

17     Q.   I'm sorry.

18     A.   No, go ahead.

19     Q.   Did you finish what you wanted to say?

20     A.   About that, you are asking about diagnoses.

21     Q.   Yes.

22     A.   There are two sexual diagnoses.

23                  I also found him to have antisocial personality

24     traits.

25     Q.   What does that mean?


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 1     A.      That describes a certain type of personality

 2     organization that is characterized by a lack of empathy

 3     for others, a manipulative manner, a tendency to use

 4     people in a situation as a means to an end, to not be

 5     particularly troubled by things like remorse or guilt in

 6     terms of motivating factors in one's behavior.

 7     Q.      Did you make progress with respect to these over time

 8     with Mr. Valerio?

 9     A.      Right.

10                  As I said before there seemed to be some

11     evolution in his ability to manifest remorse and

12     understanding in terms of his conduct, and also

13     Mr. Valerio has a history, I'm speaking diagnostically

14     again, of cocaine and alcohol abuse that were significant

15     in his life.

16     Q.      Are they still ongoing or are they --

17     A.      No, no.

18                  They are in what we call institutional

19     remission.       He's in an institution and he's separated from

20     these substances of abuse.

21     Q.      So, in other words, if Mr. Valerio, say, were to get

22     out on say some type of post-prison release, would he have

23     to have that type of treatment for drug and alcohol as

24     well?

25     A.      Absolutely.


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 1     Q.   Is there a connection, do you think, between the

 2     cocaine and/or alcohol with the other traits you

 3     mentioned, either the antisocial personality trait or the

 4     two disorders, the frotteuristic or the voyeuristic

 5     disorder?

 6     A.   Absolutely and in several ways.

 7                 One is going way back to his childhood.

 8     Individuals who have been sexually abused as children

 9     suffer a host of psychological problems, substance abuse

10     problems, even develop mental problems.

11                 Early sexual abuse can have impact on the

12     development of your brain.     It can have an impact on your

13     emotional development.    It can have an impact on your

14     manifesting issues with drugs, alcohol and other

15     psychiatric disorders.

16                 So that very history can increase the likelihood

17     of an individual having the kinds of diagnoses I'm talking

18     about.

19     Q.   Even today, for instance, let's assume he were to get

20     out of prison at some point in the future, would his

21     consumption of alcohol affect his ability to stay away

22     from this inappropriate behavior?

23     A.   Of course.

24                 I was getting --

25     Q.   Why?


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 1     A.   I was getting to that.

 2     Q.   I'm sorry.

 3     A.   Because alcohol and drugs are disinhibiting.

 4                 In other words, they quiet down parts of your

 5     brain which serve as a break toward impulsive behavior.

 6     Q.   Well, let me just break that down.

 7                 Alcohol, it would be fair to say, is a central

 8     nervous system depressant, right?

 9     A.   Yes.

10     Q.   And that basically lowers ones inhibitions?

11     A.   Right, it lowers your inhibitions.

12     Q.   But cocaine is not a depressant?

13     A.   No.

14                 But cocaine it increases dopamine.    Dopamine is

15     a pleasure-seeking hormone, and as that specific

16     neurochemical when you have it in your brain you start to

17     engage in more pleasure-seeking behavior.

18     Q.   What about the combination, having this cocaine with

19     the increased dopamine release and consuming alcohol which

20     is a CNS depressant?

21     A.   You can think of it as having more gas and less

22     brake.

23     Q.   So in other words, Mr. Valerio would definitely need

24     that type of treatment with respect to keeping away from

25     cocaine and alcohol, correct?


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 1     A.   Precisely.

 2                 MR. LATO:    May I have a moment to confer with

 3     Mr. Valerio?

 4                 THE COURT:   Yes.

 5                 (There was a pause in the proceedings.)

 6     BY MR. LATO:

 7     Q.   Dr. Bardey, is there anything that we failed to cover

 8     with respect to your evaluation and diagnosis of

 9     Mr. Valerio that you feel feeds to be told to Judge Bianco

10     today?

11     A.   I don't believe so.

12                 MR. LATO:    Nothing further, your Honor.

13                 THE COURT:   Why don't we take a break.

14                 I have a criminal matter I have to handle and we

15     have to clear the courtroom.      So you can leave your stuff

16     here if you want.

17                 (Recess.)

18                 (Continued on next page.)

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 1                    (Following a recess.)

 2                    THE COURT:   Everyone can be seated.

 3                    Dr. Bardey, if you would resume the stand.

 4                    (Witness resumes the stand.)

 5     CROSS-EXAMINATION

 6     BY MR. KABRAWALA:

 7     Q.      Dr. Bardey, you are aware that Mr. Valerio had a

 8     prior sex offense prior to his conviction in the instant

 9     case.

10     A.      Yes.

11     Q.      Is that incident involved him groping a woman's

12     genitals in a wave pool at Splish Splash?

13     A.      Correct.

14     Q.      You reviewed the probation department file in

15     connection with that offense, correct?

16     A.      Yes.

17     Q.      You saw that Mr. Valerio received treatment through

18     the Suffolk County probation department as a result of

19     that sex offense?

20     A.      Correct.

21     Q.      In fact, he received extensive treatment attending

22     regular counseling sessions with social worker.

23     A.      I'm not sure it's any more extensive than anyone else

24     receiving treatment for such circumstances.

25     Q.      You agree that notwithstanding the treatment that he


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 1     received through the Suffolk County probation department

 2     he reoffended?

 3     A.   Correct.

 4     Q.   And notwithstanding the treatment, he still committed

 5     another sexual offense?

 6     A.   Well, yes.

 7     Q.   In fact, multiple sexual offenses?

 8     A.   Correct.

 9     Q.   You also testified that Mr. Valerio has an interest

10     in sadomasochistic pornography?

11     A.   I did.

12     Q.   And he has an interest in violent internet

13     pornography?

14     A.   Correct.

15     Q.   Now, you would agree that viewing such materials

16     would increase his risk of recidivism?

17     A.   If he were to view this material in the future, yes.

18     Q.   Correct.

19                Now, you would agree that Mr. Valerio, if he

20     does recidivate, his conduct could be more violent than it

21     previously has been?

22     A.   It's a possibility.

23     Q.   You reviewed the testimony of the two prior Fatico

24     hearings -- withdrawn.

25                You reviewed the testimony of the prior hearings


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 1     in connection with this Fatico in this case, correct?

 2     A.   I did.

 3     Q.   And you reviewed the testimony of a number of

 4     individuals, including Elena Kalchenko, Lucy Down and

 5     Angelique Davidse?

 6     A.   I did.

 7     Q.   You are aware, then, that Ms. Davidse testified about

 8     multiple violent rapes that she had -- withdrawn.

 9                 You reviewed the testimony of Angelique Davidse

10     who testified she was violently raped by Mr. Valerio?

11     A.   I did.

12     Q.   In fact, violently raped a number of times?

13     A.   On several occasions, yes.

14     Q.   And she spoke in detail about those instances?

15     A.   She did.

16     Q.   You also reviewed the transcript in which the

17     government had introduced corroborating medical

18     information?

19     A.   Yes.

20     Q.   Such as having her teeth knocked out by Mr. Valerio?

21     A.   Yes.

22     Q.   You also reviewed the testimony in which Mrs. Davidse

23     testified that the defendant told her that she would die

24     while he was raping her?

25     A.   Yes.


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 1     Q.     That he would kill her.

 2     A.     Yes.

 3     Q.     You have also reviewed Elena Kalchenko's testimony in

 4     the case?

 5     A.     I did.

 6     Q.     And you would agree that the two women, Ms. Davidse

 7     and Elena Kalchenko, testified in a strikingly similar

 8     way?

 9     A.     I'm not sure what way they were similar.

10     Q.     Well, they testified about the details of their own

11     rapes at the hands of Mr. Valerio.

12     A.     Yes.

13     Q.     And they both testified about specific locations

14     where the rapes were conducted.

15     A.     Well, as I recall one was more in his house, one was

16     in a car.

17                   I mean, they were -- they weren't identical.    So

18     I'm not exactly sure if I can answer your question.

19     Q.     And they both testified about the things that

20     Mr. Valerio said to them while he was raping them?

21     A.     Yes.

22     Q.     And, by the way, you also saw this similar language

23     in the e-mail correspondence that Mr. Valerio had sent

24     both to Ms. Kalchenko and Ms. Davidse?

25     A.     I did.


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 1     Q.   And you also reviewed the testimony of Lucy Down who

 2     was a British national?

 3     A.   Right, the nanny, yes.

 4     Q.   You are aware that she testified to having been lured

 5     to the United States under the pretense that Mr. Valerio

 6     had a child to take care of.

 7     A.   Precisely.

 8     Q.   And that's a fairly elaborate scheme, you would

 9     agree?

10     A.   I would agree.

11     Q.   Not something, necessarily, that's impulsive?

12     A.   No, I mean very deliberate, thought through, many

13     steps involved.

14                 It's not just an impulsive act.    No, I would

15     agree with that.

16     Q.   But you also agree that Mr. Valerio acts impulsively?

17     A.   As part of his psychological makeup.

18     Q.   Did you discuss these instances with Mr. Valerio?

19     A.   Yes.

20     Q.   And I see in your report of December 7, 2016, as well

21     as in the testimony that you gave, that the instances of

22     Mr. Valerio's rape of Elena Kalchenko and of Angelique

23     Davidse, they are not mentioned in any way.

24     A.   Correct.

25     Q.   Is there a reason --


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 1                MR. KABRAWALA:   Withdrawn.

 2     BY MR. KABRAWALA:

 3     Q.   What do you think about these --

 4                MR. KABRAWALA:   Withdrawn.

 5                (There was a pause in the proceedings.)

 6     BY MR. KABRAWALA:

 7     Q.   What did Mr. Valerio tell you about these instances?

 8     A.   He -- I mean, as I recall because I don't have the

 9     notes in front of me with regards to that, he described in

10     general terms minimizing the interactions compared to what

11     was testified to.

12     Q.   Did he admit to raping Ms. Kalchenko?

13     A.   Not as such, no.

14     Q.   What did he say?

15     A.   His argument was always that there was some version

16     of being consensual.

17     Q.   Did he admit to raping Angelique Davidse?

18     A.   He made the same type of argument there.

19     Q.   What did he say about knocking Angelique Davidse's

20     teeth out during a rape?

21     A.   That, I don't remember.

22     Q.   Was that part of --

23                MR. KABRAWALA:   Withdrawn.

24     BY MR. KABRAWALA:

25     Q.   Do you have the notes that you are referring to?


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 1     A.   No.

 2     Q.   Would it surprise you to learn that the government

 3     has asked for your notes?

 4                MR. LATO:    Objection.

 5                THE COURT:   Sustained.

 6     BY MR. KABRAWALA:

 7     Q.   You didn't bring the notes here today, did you?

 8     A.   I only have my report.

 9     Q.   We talked about this pizza pie analogy.

10                What part of the pie is Mr. Valerio's rape of

11     these two women, was that --

12                MR. KABRAWALA:    Withdrawn.

13     BY MR. KABRAWALA:

14     Q.   What part of your diagnosis of voyeuristic disorder

15     and frotteuristic disorder factors or considers

16     Mr. Valerio rape of these two women?

17     A.   Well, it doesn't really because he was not indicted

18     or found guilty of rape.

19                And other than the testimony that these women

20     provided, I did not have evidence that any rape had really

21     occurred, whereas, there was tremendous evidence of his

22     having had voyeuristic and frotteuristic tendencies.

23     Q.   So you found --

24                THE COURT:   Hold on one second.

25                (There was a pause in the proceedings.)


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 1     BY MR. KABRAWALA:

 2     Q.   Would you agree that if these rapes occurred as the

 3     witnesses testified about, would you agree that that is a

 4     cause for concern here?

 5     A.   Of course.

 6     Q.   And would you agree that that is not accounted for in

 7     your diagnosis of Mr. Valerio?

 8     A.   A rape is not a diagnosis.

 9                  What is accounted for is his anger and violent

10     behavior to women, and I explained that in great detail in

11     my report.

12     Q.   But you do not credit, or have not credited in your

13     report the testimony of the two women who testified at the

14     Fatico hearings.

15     A.   It wasn't my role to credit or discredit the

16     testimony.

17                  My role is to do a psychological and

18     psychosexual evaluation of Mr. Valerio which I did in

19     which I describe his propensity toward violent sexual

20     behavior toward women of which the rapes of which you

21     speak would be part of.

22     Q.   But you haven't factored -- you just testified that

23     you did not find -- you did conduct a credibility

24     determination but you didn't find their testimony to be

25     corroborated.


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 1     A.   I have no proof if they were raped or not.       I know

 2     they testified to that.

 3                  But in terms of understanding Mr. Valerio's

 4     propensity toward sexual violence, that I explain in great

 5     detail in my report, and those rapes that you are

 6     describing would fit under that, absolutely.

 7     Q.   But there's no specific diagnosis and formulation

 8     that accounts for his violent sexual rape of these two

 9     women.

10     A.   I completely disagree with you.

11     Q.   Well --

12     A.   In the formulation -- please let me finish.      In the

13     formulation there is a description of why Mr. Valerio

14     harbors such anger toward women and acts out violently

15     toward them.

16                  A rape would be one such act.   A rape is not a

17     diagnosis.    A rape is a fact.   It's a crime.   It's not a

18     diagnosis.    It wouldn't be listed as a diagnosis.

19                  The closest you would get would be the

20     antisocial personality traits.     Individuals who have those

21     traits tend to commit violent acts or illegal acts of

22     which rape would be one.

23     Q.   Is it fair to say that Mr. Valerio did not admit to

24     raping Ms. Kalchenko?

25     A.   That's fair to say.


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 1     Q.   And it's fair to say that Mr. Valerio did not admit

 2     to raping Angelique Davidse?

 3     A.   Correct.

 4     Q.   And is it fair to say that their rape is not included

 5     in your actuarial calculations?

 6     A.   Those instruments use convictions as a basis for

 7     inclusion.

 8                  So if he wasn't convicted of something it

 9     doesn't make its way into that actuarial table.

10     Q.   Did Mr. Valerio admit to sexually exploiting his

11     niece?

12     A.   No.

13     Q.   And you are aware that a jury convicted him of that

14     count?

15     A.   Yes.

16     Q.   You are also aware that the child's mother, that is

17     Bernadette, had testified in court at trial?

18     A.   Yes.

19     Q.   You didn't read the trial transcript, did you?

20     A.   I did not.

21     Q.   So you are unaware that she essentially blamed the

22     coconspirator, Elena Kalchenko, for the images of her

23     daughter.

24     A.   I think I testified to that on direct when I referred

25     to the letter that she had written blaming the codefendant


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 1     on taking those pictures.

 2                    So I am aware of that.

 3     Q.     And I'm talking about the trial transcript --

 4     A.     I know.

 5     Q.     Because she was also sworn to tell the truth at

 6     trial.

 7     A.     I understand.

 8                    MR. BODE:   May we have just a moment, your

 9     Honor.

10                    MR. KABRAWALA:   Sorry, your Honor.

11                    (There was a pause in the proceedings.)

12     BY MR. KABRAWALA:

13     Q.     Now, you testified earlier that normal heterosexual

14     men fantasize about younger girls from time to time.

15     A.     No, that was not my testimony.

16     Q.     Okay.

17                    Well, why don't you tell us what your testimony

18     was.

19     A.     I said it was normal for normal heterosexual men to

20     feel attraction to adult women and adolescent women above

21     the age of 14.

22     Q.     And that failure to act on that is still --

23                    MR. KABRAWALA:   Withdrawn.

24     BY MR. KABRAWALA:

25     Q.     And sometimes normal heterosexual men dress up older


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 1     women, that is, women that are above the age of majority,

 2     in cheerleader-type outfits.

 3     A.   Yes.

 4     Q.   And that's still considered normal sexual behavior?

 5     A.   Yes.

 6     Q.   Are you aware that some of the images admitted at

 7     trial showed a six year old niece of the defendant dressed

 8     up as a cheerleader?

 9     A.   I am.

10     Q.   You would agree that this is a heterosexual man

11     acting out his sexual fantasies in some way?

12     A.   Yes.

13                  MR. KABRAWALA:   Your Honor, just one more

14     moment, please.

15                  (There was a pause in the proceedings.)

16     BY MR. KABRAWALA:

17     Q.   Just to recap here, you agree that -- withdrawn.

18                  Just to recap, Mr. Valerio denied raping Elena

19     Kalchenko?

20     A.   Yes.

21     Q.   Denied raping Angelique Davidse?

22     A.   Yes.

23     Q.   He's denied sexually exploiting his then six year old

24     niece?

25     A.   Yes.


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 1     Q.   And you would agree that he is still holding back

 2     from true remorse.

 3     A.   I testified that he's making progress in that

 4     direction.

 5                  When I initially met with him, he had no

 6     remorse, did not accept any responsibility, but that's

 7     evolving and I'm finding at our last meeting that he was

 8     much more remorseful and seemed genuinely troubled by his

 9     behavior.

10     Q.   Thank you.

11                  MR. KABRAWALA:    Thank you, Judge, nothing

12     further.

13                  THE COURT:   Redirect?

14                  MR. LATO:    Yes, your Honor.

15     REDIRECT EXAMINATION

16     BY MR. LATO:

17     Q.   Do you recall being asked questions on

18     cross-examination about Mr. Valerio's having been on

19     probation in Suffolk County for a state court offense?

20     A.   Yes.

21     Q.   Be a fair statement that was the Splish Splash grab

22     offense, correct?

23     A.   It was.

24     Q.   Now, is there a reason why with treatment Mr. Valerio

25     could be more successfully treated now as opposed to when


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 1     he was on Suffolk County probation?

 2     A.   Yes.

 3     Q.   And why?

 4     A.   Well, there's an evolution in my opinion in his

 5     reaction to his offense.

 6                 The fact that he is now facing much more serious

 7     charges, that he's in a lot more trouble, has brought him

 8     a measure of reality in terms of the meaning of his

 9     behavior and just how criminal, unethical, morally wrong

10     it is.    And I think it's helped him in the last three

11     years that he's been incarcerated to reflect on this and

12     to actually make some meaningful changes in his

13     understanding of his actions and their sort of

14     psychological underpinnings.

15                 It's much like someone who suffers from

16     substance abuse problems.    They may need to go into a

17     rehab more than once before they, quote-unquote, get it

18     and are able to maintain some degree of abstinence.

19     Q.   It may be the case here with Mr. Valerio, and to use

20     your analogy of drug treatment, sometimes a person who is

21     getting outpatient may actually need inpatient, correct?

22     A.   That's correct.

23     Q.   And it's a fair statement Mr. Valerio needs intensive

24     treatment now?

25     A.   Oh, yes.


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 1     Q.   Now, do you recall being asked questions on

 2     cross-examination about Mr. Valerio's potential for

 3     committing even more violent acts in the future?

 4     A.   Yes.

 5     Q.   And you recall answering that it's a possibility?

 6     A.   Sure.

 7     Q.   Now, having a medical degree and having taken physics

 8     and chemistry, would you say that anything consistent with

 9     physical laws is possible?

10     A.   Correct.

11     Q.   Now, with respect to Angelique Davidse, you recall

12     being asked questions about her?

13     A.   I do.

14     Q.   And you recall being asked questions about Elena

15     Kalchenko?

16     A.   I do.

17     Q.   And Mr. Kabrawala saying according to the testimony

18     of those women they were raped, correct?

19     A.   Yes.

20     Q.   Now, if their allegations are true, let's assume for

21     this proceeding that they are true, how are we going to

22     try to prevent recidivism -- I don't mean we -- you, but

23     what is out there to try to prevent recidivism when you

24     factor in those rapes, if they occurred?

25     A.   Well, that kind of inappropriate sexual behavior


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 1     would be the focus of a targeted sex offender treatment.

 2                 And there are other measures that can be taken

 3     as well.    There are various types of treatment, even

 4     chemical castration which are options for individuals who

 5     engage repeatedly in that kind of violent sexual behavior.

 6     Q.   Now, in terms of your overall assessment of

 7     Mr. Valerio, did he have this demeaning attitude toward

 8     women in general?

 9     A.   Yes.

10     Q.   Did that come in part from the way his father treated

11     his mother and his sister and him as he grew up?

12     A.   Very much so.

13     Q.   Now, although you didn't factor into these alleged

14     rapes specifically, did you account for this violence

15     towards women in general in your report and your

16     assessment and diagnosis?

17     A.   Yes.

18     Q.   How so?

19     A.   Well, throughout my report and formulation I describe

20     exactly the kind of the dominos that fell from his early

21     childhood experience, witnessing his mother being treated

22     as she was by their father.

23                 And then how that translated into his own anger

24     toward women and then sexualized anger towards women.         So

25     it very much accounted for it.


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 1     Q.   Now, do you recall being asked questions about the

 2     sexual exploitation of Mr. Valerio's niece?

 3     A.   I do.

 4     Q.   To be specific, that exploitation consisted of

 5     dressing her or undressing her and taking photographs of

 6     her as opposed to sexual contact, correct?

 7     A.   Correct.

 8     Q.   Did you ask Mr. Valerio about whether he did these

 9     things?

10     A.   He denied it.

11     Q.   Is there a reason why he would admit to certain

12     things yet deny that, based upon your understanding having

13     evaluated him?

14     A.   Well, taking responsibility for his actions is not a

15     sudden curtain that opens up.

16                  It can be in fits and starts.    It can be by

17     degree and the idea of doing something to his own family

18     maybe more reproachable and reprehensible to him and he

19     may take longer before he gets to the point where he may

20     be able to deal with that.

21                  MR. LATO:   Your Honor, let me just check with

22     Mr. Valerio before I finish.

23                  (There was a pause in the proceedings.)

24                  MR. LATO:   Your Honor, if I may have a moment to

25     confer with Mr. Kabrawala.


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 1                 THE COURT:   Yes.

 2                 MR. LATO:    Your Honor, I needed to confer

 3     because this is technically beyond the scope of

 4     cross-examination.

 5                 Mr. Valerio would like me to ask the following

 6     question or series of questions.

 7     BY MR. LATO:

 8     Q.   Did Mr. Valerio divulge to you that at some point in

 9     his life he had thyroid cancer?

10     A.   Yes.

11     Q.   Is there any connection between his having had cancer

12     to anything else that you did with respect to your

13     diagnosis and evaluation?

14     A.   No.

15                 MR. LATO:    Nothing further.

16                 MR. KABRAWALA:    Your Honor, briefly.

17     RECROSS-EXAMINATION

18     BY MR. KABRAWALA:

19     Q.   Doctor, if Mr. Valerio had been convicted of raping

20     Elena Kalchenko and Angelique Davidse, you would agree

21     that he would be in a higher risk of recidivism category

22     than he currently is?

23     A.   Likely, yes.

24                 MR. KABRAWALA:    Thank you.    Nothing further,

25     Judge.


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 1                THE COURT:   Anything further?

 2                MR. LATO:    No, your Honor.

 3                THE COURT:   You can step down.

 4                Thank you, doctor.

 5                THE WITNESS:   Thank you, your Honor.

 6                (Witness steps down.)

 7                THE COURT:   Does the defense have anything

 8     further in connection with this issue?

 9                MR. LATO:    Yes.

10                We call Maura Gordon.

11                THE CLERK:   Please remain standing and raise

12     your right hand.

13     MAURA GORDON,

14            having been duly sworn, was examined

15            and testified as follows:

16                THE CLERK:   Please state your name and spell it

17     for the record.

18                THE WITNESS:   Maura, M-A-U-R-A, Gordon,

19     G-O-R-D-O-N.

20                THE COURT:   Go ahead.

21     DIRECT EXAMINATION

22     BY MR. LATO:

23     Q.   Ms. Gordon, good afternoon.

24     A.   Good afternoon.

25     Q.   Did you conduct a psychosocial examination of


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 1     Bernadette Imperiale?

 2     A.   Yes, I did.

 3     Q.   Please tell us briefly about your background that

 4     makes you qualified to conduct such an examination and

 5     give an opinion.

 6     A.   I graduated from St. Joseph's College in Patchogue

 7     with a BA in human relations.

 8                I graduated from Long Island University with a

 9     master's in public administration.     I graduated from

10     Fordham University with a master's in social work.

11                I also have a certification in trauma.

12     Q.   Have you ever testified in a court proceeding before?

13     A.   No, I have not.

14     Q.   Now, did you speak with both Ms. Imperiale and the

15     mother, Frances Valerio?

16     A.   I did.

17     Q.   About how many times since you first started speaking

18     with them have you spoken with them?

19     A.   I have met with them off and on through the course of

20     probably the last nine or ten months.

21     Q.   Now, with respect to your interviews of

22     Ms. Imperiale, did you conduct any type of testing or did

23     you just get a narrative from her?

24     A.   No.

25                At the request of Frances Valerio I did a


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 1     psychosocial of Bernadette, which is to just gather

 2     historical information.

 3     Q.   Please tell the court briefly if you can, we will

 4     elaborate if necessary, of what that history consists.

 5     A.   That history consisted of physical, verbal and sexual

 6     abuse by the father, Philip, of Bernadette through the

 7     ages of four to eight.

 8                She also stated that she witnessed abuse,

 9     physical abuse of her mother by her father, Philip, and

10     she also saw physical abuse from her father, Philip,

11     towards Joseph Valerio, her brother.

12                She also had multiple medical complications

13     through the course of her life up until current day.          We

14     discussed her family makeup of her current family.      We

15     discussed her fear of her father, Philip, in the sense

16     that she, unlike Joseph Valerio, the testimony that

17     Dr. Bardey provided, she went in the different direction

18     of being very fearful of having any kind of sexual

19     activity with males in fear of her father hitting her or

20     getting very, very violent with her if she had any kind of

21     physical interaction with any of the boys that had been in

22     part of her life as she was progressing through her teens

23     and 20s.

24     Q.   Did she give you specifics with respect to what her

25     father had done to her when she was a child?


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 1     A.   Yes.

 2                 She recalled occasions she stated it would be

 3     about once a week, he would come into her room when she

 4     was trying to fall asleep at night.     It would begin with

 5     him fondling her with his fingers.

 6                 He would penetrate with his fingers and then he

 7     moved on to attempt to penetrate her with his penis.          She

 8     would cry and say it would hurt.     He would tell her that

 9     he would harm her greatly if she told anybody or made any

10     kind of sounds.

11     Q.   In conducting your examination of Ms. Imperiale, did

12     you consider the possibility that she could be fabricating

13     everything to help her brother?

14     A.   I mean, that possibility exists because we are not

15     with these individuals when these acts occur.

16                 Her affect which is very flat, the lack of

17     sensitivity or emotion while she was describing these

18     events speaks to the possibility of being very strong

19     these events did occur.

20                 She seemed to be very removed from her emotions

21     when talking about her life and the violence that she

22     observed as well as the violence that she acquired

23     herself, which is the normal type of thing when there is

24     sexual abuse involved in a young person's life.

25     Q.   I know that you said it's a possibility, but we don't


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 1     deal with possibilities here.

 2                  Do you actually have an opinion whether it was

 3     more likely than not, if you have one --

 4     A.      No, I feel it's more likely than not that it did

 5     occur.

 6     Q.      And, again, was it simply her flat affect or anything

 7     else that leads you to believe these things occurred with

 8     her?

 9     A.      In the way she describes being very fearful of having

10     sex with young boys when it would be an appropriate time

11     in her life would fit to the history of having sexual

12     abuse.

13                  A lot of folks go in the opposite direction of

14     being very fearful of having any kind of sex with anyone

15     else.    Again, in the way that she spoke about the events

16     that happened when she was younger, she was very detailed

17     about it.

18     Q.      So if I understand you correctly, it was the

19     supplying of the detail that leads you to believe that

20     this probably occurred with the fingers and the crying and

21     so forth?

22     A.      That and the collaboration of her mother saying she

23     had seen the father in bed with Bernadette once.

24     Q.      Well, did you actually have a specific conversation

25     with Frances Valerio about what she had witnessed?


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 1                    Yes?

 2     A.      Yes, I did.

 3     Q.      And what did she tell you?

 4                    Was it consistent or inconsistent with what

 5     Bernadette was saying?

 6     A.      Frances Valerio only told me about one occurrence

 7     that she had actually seen Philip in bed with his

 8     daughter.

 9     Q.      And did she tell you or did you ask what Frances did

10     in reaction, or what was her reaction to what Philip had

11     done?

12     A.      No.

13                    She stated she walked away because she was

14     fearful of Philip.      She didn't do anything.

15     Q.      Did she, being Frances, detail for you any physical

16     abuse she may have suffered at Philip's hands?

17     A.      Yes.

18                    She said early on in the marriage there was a

19     lot of physical abuse as well as sexual abuse towards her.

20     She didn't go into detail, but she said he tried to use

21     objects with her in their sexual relations.

22     Q.      Did she discuss what kind of objects?

23                    In other words, would they be like normal

24     objects to play with or objects that weren't supposed to

25     be used for sexual purposes?


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 1     A.   She didn't go into detail.

 2     Q.   Was there anything about Bernadette's history after

 3     her father died that also suggests that these things

 4     probably did happen to her as a child, either her

 5     relationship with other men before her husband or with her

 6     husband?

 7     A.   No, there were no other things.

 8     Q.   If I understand your testimony, she shied away from

 9     boyfriends that did want to have sex because she was

10     fearful of her father?

11     A.   She had two serious relationships prior to her

12     husband, both of which did not involve sex.

13                  She stated that there was no sex -- that she was

14     very fearful that she could become pregnant and her father

15     would kill her, as she would put it.

16     Q.   Are you still --

17                  MR. LATO:   Let me withdraw that.

18     BY MR. LATO:

19     Q.   How many times did you meet with Bernadette

20     Imperiale?

21     A.   Over the course of three months from July until

22     September, late September.

23     Q.   Of which year?

24     A.   I'm sorry.    2016, excuse me.

25     Q.   And how many times have you met with Frances Valerio?


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 1     A.     I continue to treat Frances.

 2     Q.     And about how many times have you met with her?

 3     A.     Probably about a year, weekly or biweekly within the

 4     last year.

 5     Q.     When you say you continue to treat her, what are you

 6     treating her for?

 7     A.     The stressors of this event in her life.

 8                   She struggles with, of course, her feelings

 9     about her son being in prison, and what that all involves.

10     Her own physical ailments that she has, as well as having

11     a disabled adult daughter.

12     Q.     Did you ever discuss with Frances Valerio why she

13     never came forward until now with respect to the events

14     that her husband inflicted or I should say the criminal

15     conduct that her husband inflicted on her children and

16     her?

17     A.     She stated back in her day when you got married you

18     got married for better or for worse and you remained.

19                   You did not leave your marriages and you kept

20     everything private within the family.

21     Q.     Did she discuss whether she had any feelings of guilt

22     of not having intervened when the children were young?

23     A.     Yes.

24                   She would try and she said that she would try

25     and step in when Philip, the father, and Joseph would get


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 1     into physical altercations in the household.      She tried to

 2     get in between them or she tried to have Philip direct his

 3     anger towards her in lieu of either of the children.

 4     Q.    Now, in meeting with Frances Valerio, you are aware,

 5     of course, of the possibility or the motivation she would

 6     have to fabricating all of this, correct?

 7     A.    Yes, I am aware.

 8     Q.    Or at least fabricating parts of it, correct?

 9     A.    Correct.

10     Q.    Do you have an opinion whether some of most of what

11     she told you is a genuine feeling or belief on her part?

12     A.    No.

13                 It's my opinion that it most likely, yes, it

14     did, in fact, happen.

15     Q.    We already discussed with Bernadette Imperiale, but

16     why do you feel the same way with Frances Valerio?

17     A.    Again, with the detail of her description of the

18     physical altercations, she has a scar that goes into the

19     top of her lip.

20                 She stated that that occurred during one of the

21     physical altercations with Philip.     During a separate

22     meeting with Bernadette, Bernadette also discussed that --

23     observing that altercation between her parents and she

24     also said that my mother has a scar above her lip from one

25     time when my father hit her.


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 1                MR. LATO:    One moment, please, your Honor.

 2                (There was a pause in the proceedings.)

 3                MR. LATO:    Nothing further.

 4                THE COURT:    Okay.

 5                Cross-examination.

 6                MR. KABRAWALA:    No questions, Judge.

 7                THE COURT:    You can step down.    Thank you.

 8                (Witness steps down.)

 9                THE COURT:    Anything further from the defense?

10                MR. LATO:    No, your Honor.

11                THE COURT:    Does the government have any

12     evidence they want to submit on this issue?

13                MR. KABRAWALA:    No, your Honor.

14                THE COURT:    Let me make clear, I don't have

15     those reports.

16                Are you intending to submit the reports

17     themselves or -- I'm not asking for you to submit them,

18     but I want you to understand I don't think I have them.

19     Are you submitting the reports or just the testimony?

20                MR. LATO:    Just the testimony, your Honor.

21                THE COURT:    All right.

22                I want to discuss moving forward.      Mr. Lato, my

23     recollection is before you requested this hearing you were

24     preparing the sentencing memorandum, but I don't believe

25     it was filed, correct?


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 1                 MR. LATO:    That's correct, your Honor, because

 2     your Honor at the last court appearance said you don't

 3     want multiple submissions, you want one submission to

 4     contain not only our sentencing -- the memoranda specific

 5     to sentencing, but anything we have to say about the

 6     Fatico hearing, either the one where the government

 7     conducted or the one today.

 8                 I discussed this with Mr. Kabrawala on an

 9     earlier date and he said that still makes sense.       There

10     should be one set of papers.

11                 THE COURT:   That's fine.    That is what I said

12     and that continues to be my view.       So we can set a date

13     for that.

14                 The only thing I want to make clear is with

15     respect to the prior Fatico hearing, my intention was once

16     I have those submissions, to make findings on that prior

17     to the sentencing so that everybody going into the

18     sentencing would understand what I am or am not

19     considering is relevant conduct.

20                 So that's the progression I see.     In other

21     words, you will put in your written submission.       The

22     government will respond, either at a subsequent conference

23     or in a written opinion I will make findings on that

24     relevant conduct, and then we will proceed with the

25     sentencing.


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 1                Does that make sense?

 2                MR. LATO:    Yes, your Honor.

 3                Just so I'm clear, then, we'll have one set of

 4     papers and then your Honor will issue a decision, but

 5     there will be no further submissions after that point, and

 6     I think I can do that by the following way.

 7                When I put in my papers I will assume two

 8     different outcomes, either your Honor will find by a

 9     preponderance of the evidence that these things occurred,

10     or your Honor did not so find and I will address either

11     alternative in my papers so an additional submission won't

12     be necessary.

13                THE COURT:   Okay.    That's good.

14                You don't want to be heard orally on the prior

15     Fatico hearing.    In other words, you are satisfied with

16     relying on your written submission with that?

17                MR. LATO:    Yes, your Honor.

18                It would only be, your Honor, if based upon the

19     submissions had a question that was not addressed in the

20     papers that argument would be necessary.

21                THE COURT:   Okay.

22                Is that acceptable to the government?

23                MR. BODE:    That's fine, Judge.

24                I think we are on for March 29th now.      So would

25     that then be findings that day and then sentence to


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 1     follow?

 2                 THE COURT:   No.

 3                 MR. BODE:    I want to clarify how you want to do

 4     it.

 5                 THE COURT:   What I'm anticipating is findings

 6     prior to the date of the sentencing either, as I said, at

 7     a conference, but first before we figure whether that's

 8     the date or not the date let me ask Mr. Lato when can you

 9     get your submission in by?

10                 MR. LATO:    Three weeks, your Honor, and I just

11     want to tell you because Mr. La Pinta is on trial, his

12     input is obviously needed even though I'll be doing the

13     bulk of the writing.

14                 Mr. Valerio has to see the writings before they

15     go in.    So I think March 29th for sentencing is

16     unrealistic especially with Mr. La Pinta being on trial

17     now.

18                 THE COURT:   Three weeks sounds reasonable for

19     your submission.

20                 So that would be March 27th.

21                 MR. LATO:    Yes, your Honor.

22                 THE COURT:   How long would the government need

23     to respond?

24                 MR. KABRAWALA:     Two weeks, your Honor.

25                 THE COURT:   April 10th.


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 1                 I'm going to put it down for sentencing in early

 2     May and that would be the actual sentencing.      As I said,

 3     I'll do one of two things, I'll either issue written

 4     findings on the Fatico hearing prior to the date I'm

 5     setting for sentencing or, if I decide to do that orally,

 6     we'll set a scheduled conference before the sentencing so

 7     I can put those orally on the record.

 8                 MR. LATO:    One last thing before you leave, your

 9     Honor.

10                 THE COURT:   I'm not leaving.

11                 I'm finding a date in early May.

12                 MR. LATO:    I'm sorry.

13                 MR. BODE:    If you can make it the first two

14     weeks, your Honor, I'm on trial that third week.

15                 THE COURT:   May 4th at 10:30.

16                 Does that work?

17                 MR. BODE:    Yes, your Honor, that's fine.

18                 MR. LATO:    Yes, your Honor.

19                 What I was going to say was does the defense

20     have the right to have a reply to the government's

21     response?

22                 THE COURT:   Yes.

23                 MR. LATO:    And, if so, all I would need is one

24     week.

25                 THE COURT:   That's fine.


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 1                I forgot what I gave the government.

 2                MR. BODE:    It's April 17th for reply, then.

 3                THE COURT:   April 17th for any reply.

 4                Anything else?

 5                MR. BODE:    Yes, your Honor.

 6                I would just ask pursuant --

 7                THE COURT:   I'm sorry.

 8                Just so on this issue, today's Fatico hearing,

 9     I'm not making any findings in advance of the sentencing

10     because you are submitting this as one of the mitigating

11     factors you want me to consider, right?

12                MR. LATO:    Agreed.    It's purely a sentencing

13     factor and that's it.

14                THE COURT:   Okay.     Go ahead.

15                MR. BODE:    I would ask your Honor pursuant to

16     Section 3509 of Title 18 that we seal the minutes except

17     to the parties since one of the sexual abuse victims is

18     still a minor, except to the parties and obviously the

19     parties when they are submitting the sentencing

20     submissions will take that into consideration.

21                THE COURT:   I don't know that we should seal the

22     whole thing.

23                We should just --

24                MR. BODE:    We can seal the minutes to the

25     parties until such time as they can be redacted for the


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 1     public, your Honor.

 2                 We will get the minutes and such appropriate

 3     redactions and put that to the court.

 4                 THE COURT:   That's fine.

 5                 I won't release the transcript to anyone until

 6     you have had a chance to redact out --

 7                 MR. BODE:    Identifying information, such as the

 8     niece.

 9                 THE COURT:   Other than the niece, though, I

10     don't think there was anything else, right?

11                 MR. BODE:    It's our position that the adult sex

12     abuse victims should have a right to have their names

13     taken out of the transcript so it's not found on a Google

14     search every time they are looking for a job.

15                 THE COURT:   Okay.

16                 MR. LATO:    Agreed.

17                 THE COURT:   Okay.     Thank you.

18                 MR. KABRAWALA:    Thank you.

19                 MR. BODE:    Thank you, your Honor.

20                 MR. LATO:    Thank you.

21                 (The matter concluded.)

22

23

24

25


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                                ALEXANDER SASHA BARDEY M.D.
                                   FORENSIC AND CLINICAL PSYCHIATRY




                     FORENSIC-PSYCHIATRIC EVALUATION

                                    JOSEPH VALERIO
                                 Cr, No. 14-094 (S-2) (JFB))

                                       December 7, 2016


   Anthony M. La Pinta, Esq.
   Reynolds, Caronia, Gianelli & La Pinta, LLP.
   35 Arkay Drive, Suite 200
   Hauppauge, New York 11788



   Dear Mr. La Pinta,

          At your request, I performed a psychiatric and psychosexual evaluation of
   Joseph Valerio as an aide in sentencing with a specific eye towards assessing what
   impact, if any, Mr. Valerio’s childhood had on his emotional and psychological
   development, especially as it relates to the offense conduct.

         On November 2014, Mr. Valerio was found guilty at trial of all 15 counts he
   was charged with. Mr. Valerio was found guilty of inducing the production of child
   pornography, its transportation, its receipt, and of its possession.

          Mr. Valerio was examined at the Metropolitan Detention Center located in
   Kings County, NY on December 3, 2014, February 2, 2915, March 20, 2015, June 5,
   2015, June 25, 2015 and most recently November 9, 2016. In conducting this
   psychiatric examination, which consisted of a comprehensive psychiatric assessment,
   psychosexual evaluation, and a risk assessment, I reviewed his personal, social,
   educational, vocation, sexual and psychiatric histories, and I reviewed his
   understanding of the circumstances that led to his legal troubles. I performed a
   mental status examination in order to assess his intelligence, thought processes,
   cognitive functioning, memory, credibility, orientation, judgment, insight, and impulse
   control. The limits of confidentiality inherent to such an evaluation were explained to
   Mr. Valerio.

           As part of my evaluation, I administered the Abel Assessment for Sexual Interest-3
   (AASI-3) for men, the STATIC-99R, the SVR-20, as well as completed the HCR-20.
   On May 27, 2015, I conducted a collateral interview with members of Mr. Valerio’s
   family, including his sister, Bernadette Imperiale and his mother Frances Valerio, as

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   well as his uncle John Tusa, LCSW, and reviewed the following collateral sources of
   information in making my assessment:

      1. The Criminal Complaint, dated 2/25/14
      2. The Indictment, dated 2/26/14
      3. The Superseding Indictment, dated 3/5/14
      4. The Superseding Indictment, dated 4/9/15
      5. Miscellaneous email correspondence
      6. Records from Suffolk County Probation
      7. MDC call log
      8. Log of MDC money transfers
      9. MDC visitor list
      10. Affidavit in Support of Search Warrant, dated 1/27/14 and 2/10/14
      11. Investigative Report (FD-302), dated 1/28/14
      12. Grand Jury Transcript (redacted), dated 2/26/14
      13. Presentence Investigation Report, dated 10/27/15
      14. U.S. Probation Department Sentence Recommendation, dated 10/29/15
      15. U.S. Probation Department Sentence Recommendation Revised, dated
          3/4/16
      16. U. S. District Court, Transcript of Proceedings, dated 7/25/16
      17. U. S. District Court, Transcript of Fatico Hearing, dated 9/26/16
      18. Psychological Examination of Bernadette Imperiale, dated 11/10/16


                              PAST PERSONAL HISTORY

           Mr. Joseph Valerio is a 50-year-old Italian-American male who was born on
   July 18, 1966 in New York. His father, Filippo Valerio, died in 2010 at the age of 74
   as a result of complications secondary to his diabetes and cerebrovascular disease. His
   father was born in Italy and had immigrated to the U.S. in the 1920’s. Mr. Valerio
   described his father as having come from poor conditions, “in the tenements on the
   lower east side,” where life was difficult. He had been a diamond setter in Queens,
   New York, then worked as a jeweler in Massapequa, New York. He then was offered
   a partnership in a pizzeria in Long Island, New York where he worked long hours,
   often coming home at one or two o’clock in the morning. He added that his father
   experienced physical and verbal abuse from his own parents while growing up in
   Italy. Mr. Valerio characterized his father as “the dictator,” in that he was physically,
   emotionally, and sexually abusive of his wife and children. He also reported that his
   father frequently abused alcohol.

          His 71 year-old mother, Frances Valerio, currently resides in Massapequa, NY
   and is a homemaker. She is afflicted with various medical conditions, including
   hypertension, hyperlipidemia, end stage arthritis, and obesity. He indicated that his
   mother’s role in their parents’ relationship was a submissive one, compounded by not


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   only the physical abuse she was subjected to, but also the horrible sexual abuse her
   children experienced that she was powerless to stop.

          Mr. Valerio has an older sister, Bernadette Imperiale, who is now 52 years old.
   She is married with two children and also resides in Massapequa, New York. Mr.
   Valerio described the relationship with his sister as close.

           Mr. Valerio related that his mother was victim of both physical and emotional
   abuse at the hands of his father, Mr. Valerio, frequently witnessing his father yell and
   degrade his mother, and even being forced to witness his father physically abuse his
   mother. In addition to the abuse enacted on his mother, Mr. Valerio’s father was
   sexually abusive towards both him and his sister. Mr. Valerio recounted, and his sister
   corroborated, that his father would return home from working at the pizzeria, enter
   one of his children’s rooms, get into bed with them, and sodomize them. Mr. Valerio
   recalled his father speaking to him in Italian during these horrific events saying, “It’s
   like a zucchini.” The abuse started when he was about five years old and continued
   until he was 10 or 11, occurring almost weekly. He recalled at times his mother would
   try to enter the room to prevent the abuse from persisting, however, his father would
   scream at her, often “get out bitch.” If she succeeded in entering the room he would
   become physically aggressive with her, slapping and pushing her, as she pleaded with
   her husband to stop. Such aggressive sexual assaults occurred almost weekly for
   years. In addition, Mr. Valerio reported, while he was in the shower, his father would
   inappropriately touch Mr. Valerio’s genitals and would often also be naked at the
   time. The sexual abuse continued until Mr. Valerio grew strong enough to resist his
   father’s inappropriate sexual advances. Following this, his father sought sexual
   satisfaction from Mr. Valerio’s sister, as she then became the victim of his father’s
   sexual assaults, something he continues to endorse guilt for.

          In addition to experiencing such horrific abuse, he indicated that his father
   was very controlling in the actions of his family and often refused to allow his family
   to be independent of him. He frequently made decisions for them, often refusing to
   allow them to eat and wear what they wanted. His father often beat both Mr. Valerio
   and his sister with belts and threatened them. As his father aged, his health
   deteriorated as well as his hearing, which often resulted in louder verbal altercations.
   As a result of loud arguments, their neighbors, who heard the arguments, offered a
   refuge to Mr. Valerio and his sister.

          Although Mr. Valerio became strong enough to fight off his father’s sexual
   abuse as a youth, the emotional and verbal abuse persisted well into Mr. Valerio’s
   twenties.

          Likely a result of the ongoing trauma he was experiencing, Mr. Valerio
   manifested delays in various areas of his developing appropriate speech and learning
   capacity. As a result, Mr. Valerio was diagnosed with Dyslexia and was held back


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   multiple years in school, as he was falling behind.

          Mr. Valerio moved with his family to Long Island, New York, where he
   attended the Alfred G. Lockhard Elementary School from first through sixth grades.
   Mr. Valerio recalled experiencing such a strong attachment to his mother, bordering
   on the inappropriate, that he often dreaded, or even feared leaving her. In retrospect,
   during my evaluation, he reflected that the knowing that his mother was likely to be
   abused in his absence caused him to complain of feeling too sick to attend school in
   order to protect her, even at an early age.

          Mr. Valerio reported while in school his grades were barely adequate, often
   only passable. He described himself as social, with “lots of friends.” He described
   developing an early interest, or obsession, with sexualized behaviors, as he began to
   masturbate at 11 years old, arguably triggered by his father’s early sexualization of
   him. Early and repeated exposure to sexual behavior can cause a child to normalize
   the experience and prevent it from being considered “taboo,” as it would a normally
   developed individual.

           Mr. Valerio then attended Aimes Junior High School for seventh and eighth
   grades. There, he began to experiment with marijuana and his interest in music and
   girls blossomed, which resulted in his poor academic performance. By the age of 12,
   Mr. Valerio began engaging in odd sexual behavior with females, which only
   progressed with age and experience.

           Mr. Valerio attended Alfred G. Burner High School, graduating in 1985 with a
   high school diploma. By graduation, Mr. Valerio was introduced to alcohol and
   barbiturates, and soon after, he began abusing cocaine. Mr. Valerio was driven by the
   hallucinations brought on by the use of barbiturates and believed the experience
   improved his music, as he utilized music as an outlet to escape the abuse at home.

          Following his graduation from high school, Mr. Valerio was in a better
   position to stand up to his father, both physically and emotionally, however, his
   father remained taller and heavier than he, allowing for his father to continue the
   physical assaults on Mr. Valerio. To harness his anger and resentment for his father,
   Mr. Valerio participated in hockey, adding that he frequently got into fights during
   games as a form of release, as he was still not able to fully protect himself and his
   mother from his father’s abuse. He recalled often intervening during instances his
   father was physically assaultive towards his mother; one example he reported was
   when his father held his mother’s throat or threated her with a knife. As the abuse
   continued, Mr. Valerio, seeking alternate means to protect himself and his mother,
   purchased a BB gun.

         Mr. Valerio, feeling compelled by his father to do so, entered the family tile
   and marble business, working as part of the sales and delivery teams. He remained


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   employed with his family’s business for a number of years. In 1988, at the age of 22,
   Mr. Valerio was involved in a motor vehicle accident while riding in a taxi and
   sustained a whiplash injury as a result. He was prescribed medication to alleviate his
   pain, but due to his psychological fragility and ongoing substance abuse, he soon
   became addicted. He ceased employment with his family’s company as a result of the
   injury and received Worker’s Compensation. Mr. Valerio, out of work, and
   experiencing ongoing pain and the sequelae of emotional and physical abuse, began
   to abuse alcohol more heavily, and soon grew depressed. He sought “treatment”
   from his uncle, Mr. John Tusa, who is a psychotherapist. He reportedly saw Mr. Tusa
   on a weekly basis and, with Mr. Tusa’s assistance, worked toward overcoming his
   addiction to both alcohol and his prescription pain medications.

           As Mr. Valerio worked to overcome one addiction, another quickly took its
   place. After he was injured and subsequently spent many hours at home alone, he
   began viewing and masturbating to adult pornography for up to several hours a day.
   His interests evolved to include various fetishes, not surprisingly, “S & M,” and
   “Bondage.” The extensive history of sexual abuse and being witness to physical abuse
   towards his mother blurred the boundaries between sex, violence, and normal
   interpersonal behaviors. He had never developed the normal boundaries and
   established the expected taboos and self-restrictions that he should have.

          Over time, as he recovered from his neck injury, Mr. Valerio started a “credit
   repair” business. As the business began to flourish, thus occupying much of his time,
   the time he spent watching pornography waned. Mr. Valerio was able to save some
   money made through his credit repair business and bought various rental properties.
   Mr. Valerio then focused on earning his income from his real estate ventures.

           Through the time of his real estate business his use of pornography ebbed and
   flowed. Whenever he became depressed or stressed his use would escalate, as would
   his general interest in sexual outlets. Mr. Valerio began frequenting sex clubs and
   even began hiring prostitutes; typically this sexually deviant behavior occurred
   simultaneously with an increase in cocaine and alcohol use. By 1990, Mr. Valerio
   reported, he was “heavy into drugs,” with his drugs of choice being alcohol,
   marijuana, and cocaine. He related that his credit assistance business often put him in
   contact with bar and nightclub owners, which, during meetings with these clients, Mr.
   Valerio would often be offered cocaine and alcohol. As explained previously, Mr.
   Valerio has a predisposition to seek out unhealthy ways to cope with his abusive past,
   the introduction to these substances merely acted as a gateway to his addictions. This
   paved the way for his cocaine addiction, which frequently led to hypersexual behavior
   and the experimentation with odd sexual activity, as Mr. Valerio recalled, “a lot of
   S&M, bondage, and threesomes. Kinky stuff.”

         The abuse of cocaine grew problematic for Mr. Valerio who suffered
   headaches, bloody noses, and an overall loss of functioning, he began to “steer away


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   from the scene” in 1991 as a result. He denied any legal problems resulting from his
   substance use, such as DWI’s, at that time. Continued conversations with Mr. Tusa
   were helpful to aid in gaining some control over his substance abuse.

           Mr. Valerio married his first wife in 1994 after having known her for two
   years. Their son, Andre, was born in April of 1995. Throughout his marriage, his
   interest in pornography remained, in fact he shared his interest with his wife, often
   viewing pornography together. His sexual perversions escalated, as he recalled they
   would engage in role-playing behaviors and various sexual fetishes. Child
   pornography was reportedly never an aspect of their sexual play. Mr. Valerio became
   interested in the “entertainment business” and decided to create and launch a
   “lifestyle” magazine in Long Island. He engaged in extramarital sex promising
   photographs and interviews to be published in his magazine. During this marriage,
   Mr. Valerio employed nannies to care for his son whom he would record to “keep an
   eye on them.” He often caught these women undressing while recording and
   admitted to having inappropriate sexual relationships with at least three of them.
   Over the course of their marriage, Mr. Valerio explained, his wife grew more
   interested in her work, gained a lot of weight, and lost her sexual drive, “she was not
   meeting my sexual needs.” The couple separated around 2001.

          The years following his separation from his wife saw his addiction to cocaine
   and pornography continue to intensify. Mr. Valerio stated, “I was very, very deep into
   bondage, I wanted to go into the porn industry as an actor, but I was too old.” In
   2005, Mr. Valerio was arrested for inappropriately touching a female adult in a pool at
   a waterpark, he pled guilty to the charge and was required to a complete sex offender
   treatment program as part of the requirements for his supervised release.

           He and his wife legally divorced in 2007, sharing custody of their son. Soon
   after he met his second wife, who was already pregnant when they met. He reported
   raising her son as his own, and within the next two years had a daughter with his
   second wife. He added that they had an “open relationship,” and that the two
   engaged in sexual relationships with other people. The relationship ended amicably
   when she was forced to leave the country as her visa had expired. He added that he
   had little “grasp on things” following that period of his life because of his heavy drug
   and alcohol abuse.

          One experience remains a point of distress for Mr. Valerio to this day. In
   2008, Mr. Valerio disclosed that he initiated a sexual relationship with his distant
   cousin, and were “on and off” until her tragic death in 2011. Following her death, he
   found out she was pregnant when she died, sending Mr. Valerio “into a tailspin.” He
   began to abuse food and gained a tremendous amount of weight.




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          Mr. Valerio’s sexual interests continued to escalate and become more perverse
   in nature as time went on, eventually leading to his conduct resulting in the instant
   offense, described in detail in relevant legal documents.


                               COLLATERAL SOURCES

   Mrs. Frances Valerio, Bernadette Imperiale and Mr. John Tusa

           On May 27, 2015, Mr. Valerio’s mother, sister and uncle were interviewed as
   collateral sources to corroborate much of Mr. Valerio’s history and reports of events
   relating to the instant offense. Frances Valerio related that her late husband was born
   in Sicily and always had “a different way of thinking.” He never could accept that
   Mrs. Valerio ever had previous boyfriends and that he felt cheated since he had found
   out only after they had already been married. As a result, she added, “he took [his
   anger] out on the children” and became emotionally, physically, and sexually abusive.
   He would repeatedly tell Mr. Valerio that he was not his own son, but rather a
   bastard. He regularly beat both of his children, hitting them with a belt and buckle.
   Mrs. Valerio characterized her late husband’s abuse of Mr. Valerio as his receiving the
   “beatings of an animal.” She first caught her husband in bed naked with their son
   when he was five. She recalled his threatening, “If you say anything, I’ll kill you.” On
   different occasions, she saw her husband in bed with her children with a zucchini in
   hand. Mrs. Valerio, with no money and nowhere to go, felt trapped and helpless to
   witness the abuse her husband was perpetuating. Mrs. Valerio corroborated that her
   son began to fight back as he got older and stronger. She recalled that on several
   occasions, when her husband was beating her, her son would interpose himself and
   say “why don’t you hit me instead of hitting mom?” Regarding the ongoing sexual
   abuse of her son, Mrs. Valerio stated that she saw her husband go into her son’s
   room, maybe once a month, sometimes staying the entire night. She commented, “I
   was too frightened, I didn’t say anything.” She added that because of her husband’s
   old world upbringing, “you don’t call the police and you don’t get a divorce.” The
   sexual abuse went on from the age of five to about 13.

           Because of the abuse he endured, according to Mrs. Valerio, her son never
   wanted to be home. He would often sneak away to stay with neighbors or just ride
   off for hours on his bicycle. She confirmed that her son, as he grew into adolescence,
   began to harbor a great deal of anger which she too attributed to the years of abuse
   her son had endured. She added that she grew to believe that her son grew to not
   trust women and “maybe felt a woman was just a sexual object.”

          Bernadette Imperiale, Mr. Valerio’s sister, corroborated her own history of
   having been physically, emotionally, and sexually abused by their father. She also gave
   a few anecdotes of her father abusing her brother in sexual and non-sexual ways. She
   remembered her father forcing her brother to walk home from work in the snow


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   because the two had argued over a trifle. She recalled books and various objects being
   thrown at her brother’s head. She recalled that from the age of five to eight, her
   father came into her room, on a weekly basis, and force himself on her sexually. Her
   mother added that she would hear her children scream when they were being sexually
   assaulted.

   Psychological Examination of Bernadette Imperiale, dated November 10, 2016

           Mr. Valerio’s sister, Ms. Imperiale, was evaluated by Ms. Maura Gordon as
   requested by his mother, Mrs. Valerio, as part of her treatment of her daughter. As
   indicated in the report, much of Mr. Valerio’s reported upbringing was corroborated
   in that Ms. Imperiale detailed the physical abuse Mr. Valerio was subjected to during
   his developmental years. She described her brother as “very angry,” and she reported
   “her father told both her and [Mr. Valerio] that his father hit him all the time because
   he loved them.”1 Further, Ms. Imperial related, despite a relationship of over a year
   with an engagement, she refrained from sexual activity for fear of repercussion from
   her father if she became pregnant. Once married and actively trying to become
   pregnant, she attributed her difficulty to becoming pregnant to her father’s extensive
   sexual abuse.2

          Ms. Imperiale detailed the sexual abuse, beginning at age five and continued to
   age eight or nine years old. As indicated in the report, she stated that Mr. Valerio’s
   father would enter her room late at night and began with penetrating her with his
   fingers and progressed to sexual intercourse.3 She described crying herself to sleep at
   night as a result of the traumatic abuse. She added that her father began physically
   abusing her by hitting her in the back of her head, he was frequently “putting me
   down, he would tell me I was stupid.”4

           Impacting Mrs. Valerio’s relationship with both her husband and her children
   was her parents’ relationship that was, as described in the report, extremely
   tumultuous. As indicated in the report, Mrs. Valerio’s mother suffered from a mental
   illness, often was aggressive towards her children, and engaged in frequent
   extramarital affairs, one resulting in Mrs. Valerio’s half-brother.5 Further explained in
   the report was that Mr. Valerio’s mother and father were second cousins and “share
   25% of the same DNA.”6 His mother indicated that Mr. Valerio’s father was a “very
   abusive and jealous man” from even the beginning of their relationship.7 According
   to the report, his mother stated that Mr. Valerio’s father controlled all aspects of her

   1 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   2 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   3 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   4 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   5 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   6 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   7 Psychological Examination of Bernadette Imperiale, dated 11/10/2016




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   life, finances included, and even refrained from speaking to another male for fear
   “her husband would assume she was going to have an affair.”8 As stated in the report,
   his mother disclosed both of her children witnessed Mr. Valerio’s father hitting her.

           Specifically regarding the sexual abuse that Mr. Valerio’s father inflicted on
   both of his children, his mother recalled an occasion where his father was in Mr.
   Valerio’s bed with him when he was approximately five years old. She stated that
   when she confronted his father about the situation he threatened, “if you tell anyone
   I will kill you,” and as a result of genuine fear he would follow through with this
   threat, she laid witness to countless years of sexual abuse towards both Ms. Imperiale
   and Mr. Valerio.9 Mr. Valerio’s father appeared to maintain control over his family
   “using violence,” as was described by both Ms. Imperiale and Mrs. Valerio, his
   mother.10

           As opined in the report, Mr. Valerio’s interactions with women are modeled
   after the hostile and tumultuous relationship between his parents, “watching the way
   his father treated his mother.”11 The childhood depicted by Mr. Valerio and his
   family clearly indicates a “very chaotic and violent upbringing,” with the violence
   extending over multiple generations with a clear cultural component.12


                                   PSYCHO-SEXUAL TESTING

   Personality Assessment Inventory (PAI)

           On April 10, 2014, Mr. Valerio was administered the Personality Assessment
   Inventory (PAI), authored by Leslie Morey, PhD. The PAI is a multi-scale pen and
   paper test of psychological functioning that assesses constructs relevant to personality
   and psychopathology evaluation in various contexts including psychotherapy,
   crisis/evaluation, and forensic assessment. The PAI has 22 non-overlapping scales,
   providing a comprehensive overview of psychopathology in adults. The PAI contains
   four kinds of scales, validity scales, which measure the respondent’s approach to the
   test, including faking good or bad, exaggeration, or defensiveness; clinical scales,
   which correspond to psychiatric diagnostic categories; treatment consideration scales,
   which assess factors that may relate to treatment of clinical disorders or other risk
   factors but which are not captured in psychiatric diagnoses; and interpersonal scales,
   which provide indicators of interpersonal dimensions of personality functioning.



   8 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   9 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   10 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   11 Psychological Examination of Bernadette Imperiale, dated 11/10/2016
   12 Psychological Examination of Bernadette Imperiale, dated 11/10/2016




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           Mr. Valerio’s results on the PAI confirmed that he attended to the assessment
    items appropriately and in a consistent fashion.13

           Mr. Valerio’s PAI clinical profile is marked by significant elevation on the
    mania (MAN) scale, indicating “that the content tapped by this scale may reflect a
    particular area of difficulty for the respondent.” As such, the PAI Clinical
    Interpretative Report indicated Mr. Valerio is likely suffering from Relational
    Problem NOS (Family or Marital Problem) with a possible (rule-out) diagnosis of
    Bipolar I Disorder, Most Recent Episode Manic, Unspecified. Although a personality
    disorder was deferred, a rule-out diagnosis included Personality Disorder NOS
    (Mixed Personality Disorder with Borderline, Antisocial, Narcissistic, and Paranoid
    Features).

           Mr. Valerio described having “significant problems frequently associated with
    aspects of a manic episode.” According to the PAI, his clinical picture is
    characterized by grandiosity and a thought content marked by inflated self-esteem.
    The PAI predicted that others may see him as self-centered and narcissistic. He also
    reported difficulties consistent with “relatively mild or transient depressive
    symptomology,” such as a change in physical functioning, disturbance in sleep
    pattern, and decrease in energy and level of sexual interest. He reported concerns
    about his physical functioning and health in general, likely related to his recent and
    ongoing health problems. According to the report, Mr. Valerio “describes himself as
    being more wary and sensitive in interpersonal relationships than the average adult.”14
    He also reported a personality style “that involves a degree of adventurousness, risk-
    taking, and a tendency to be rather impulsive.” As these problems are frequently
    associated with mania, as is substance abuse, the PAI report warned, “attention
    should be paid to the possibility of denial of problems with drinking or drug use.”
    However, Mr. Valerio and his wife both reported limited involvement with substance
    abuse. Mr. Valerio’s self-concept “appears to involve a generally positive, and, at
    times, perhaps uncritical self-evaluation.”

           The PAI report indicated that Mr. Valerio’s interpersonal style is characterized
    as “pragmatic and independent.” He is not likely to be perceived by others as “a
    warm and friendly person, although he is not necessarily lacking in social skills and he
    can be reasonably effective in social interactions.” This may be, in part, because Mr.
    Valerio sees “relationships as a means to an end” and he allegedly does not believe
    his social relationships offer much support. Despite that, the report concluded that
    Mr. Valerio “views his environment as reasonably stable and predictable.”15

           Although Mr. Valerio endorsed “Critical Items” associated with traumatic
    stressors, it is not mentioned elsewhere in the report.
    13 Personality Assessment Inventory, Clinical Interpretive Report, administered 4/10/14, p. 6
    14 Personality Assessment Inventory, Clinical Interpretive Report, administered 4/10/14, p. 7
    15 Personality Assessment Inventory, Clinical Interpretive Report, administered 4/10/14, p. 8




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    Abel Assessment for Sexual Interest-3 (AASI-3)

            On February 5, 2015, Mr. Valerio was administered the Abel Assessment for
    Sexual Interest-3 (AASI-3) for males. The Abel Assessment is a psychological test
    designed to provide a self-report of a client’s sexual arousal patterns as well as an
    objective measure of their sexual interests. While the subjective measure provides a
    summary of what the client wishes to tell you about his or her arousal patterns, the
    objective measure provides an independent assessment of the client’s sexual interests
    that is obtained in a way that is beyond the client’s awareness.

            Results of the AASI-3 show that Mr. Valerio obtained a Cognitive Distortion
    Score of 15%, indicating that he does not frequently use justifications for his illegal
    sexual behavior (0 to 25% is non-problematic). He obtained a Social Desirability
    Score of 65%, which is within the high range and indicates an unwillingness to admit
    to any violation of common social mores. However, it appears that Mr. Valerio was
    forthcoming and honest with the test as he did admit to several social norm
    violations, including having fantasies about sexual relationships with children.

            Mr. Valerio, on the self-report section of the AASI-3, admitted to watching
    adult pornography since the age of 15 and Internet-based pornography since 29. He
    stated that he has engaged in Frottage (Rubbing up against or touching a stranger), on
    four occasions between the ages of 20 and 39, that he has engaged in Voyeurism
    (Secretly watching others) on 5 occasions between the ages of 19 and 46, that he has
    had 5 sexual affairs and that he has had sex with strangers on 6 occasions.

           Mr. Valerio reported that he had been the victim of sexual abuse on 200
    occasions between the ages of 5 and 11.

           During the self-report section of the AASI-3, Mr. Valerio admitted to having
    “a few” sexual fantasies about Frottage, “a few” fantasies about Voyeurism, and “a
    few” fantasies about having affairs and having sex with strangers.

           Mr. Valerio has not been accused of sexually abusing a child and denies that
    this behavior ever took place. He has never been investigated, arrested, or convicted
    for sexual or nonsexual crimes.

            On the Emerick Sexual Victimization Scales (a measure of an individual’s
    degree of Sexual Victimization Trauma, Mr. Valerio scored 83% on the trauma
    intrusive scale, indicating a high degree of intrusive thoughts about the child
    molestation he suffered. On the Trauma Symptomatology Scale, he scored a 78%,
    indicating also severe concerns and a tendency to have cognitive distortion about the
    abuse, justifications about violence, and faulty beliefs about the world in general.



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           Mr. Valerio admitted to finding the following behaviors “mildly arousing”:
    using sexual magazines or movies excessively, becoming obsessively aroused by
    objects or parts of the body, and rubbing up against or touching strangers in a
    crowded place.

           On the AASI-3, Mr. Valerio fit in the “Medium Risk Group” to re-offend,
    giving him a 4% actuarial risk of re-offending within the next 10 years.

           The results of the AASI-3 suggest that Mr. Valerio has a high sexual interest
    in Caucasian adolescents (fourteen to seventeen years old) and adult females. Of note,
    an attraction to adolescent females is not considered unusual in adult, heterosexual
    males so long as no actions are taken to satisfy that attraction. There was elevation of
    the Voyeurism S&M Adult White Male scales.

    HCR-20

           The HCR-20, a widely used actuarial tool to assess the risk of dangerousness
    was completed, using elements of Mr. Valerio’s prior history and his current
    psychiatric presentation. The HCR-20 evaluates 20 different factors divided into three
    groups. These are Historical, Clinical, and Risk Management Items. Based on this
    tool, Mr. Valerio scored in the Moderate range of Final Risk Judgement.

    SVR-20

           The Sexual Violence Risk–20 (SVR-20) is a commonly used structured
    professional judgment guideline for sexual offender risk assessment and risk
    management planning. The SVR-20 assesses historical factors related to psychosocial
    adjustment, the specifics of the sexual offense, and the quality of future plans. Mr.
    Valerio also scored in the Moderate risk group.

    STATIC-99R

           The Static-99 is a ten-item actuarial assessment instrument created by R. Karl
    Hanson, Ph.D. and David Thornton, Ph.D. for use with adult male sexual offenders
    who are at least 18 year of age at time of release to the community. It is the most
    widely used sex offender risk assessment instrument in the world, and is extensively
    used in the United States, Canada, the United Kingdom, Australia, and many
    European nations. The STATIC-99R also placed Mr. Valerio in the moderate risk
    pool of re-offending.


                          MENTAL STATUS EXAMINATION




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            Mr. Joseph Valerio is a 50-year-old Italian male of short stature, who
    presented for his evaluation appropriately dressed in prison garb and well groomed.
    Mr. Valerio was well-related and made good eye contact. He was cooperative and
    friendly. Mr. Valerio was forthcoming and honest and discussed his involvement in
    the offense conduct willingly, openly, and initially, with little shame or remorse. There
    was evidence that he was initially attempting to minimize or lessen the severity of his
    actions or their consequences. Most recently, Mr. Valerio was apologetic and tearful
    when discussing his offense conduct and became agitated, nearing aggression, when
    discussing the details of his past abuse, evidencing the recent linkage between the
    offense conduct and his past sexual and physical abuse.

            Mr. Valerio’s speech was clear, relevant, and coherent while his thought
    processes were logical and goal-directed. There was no evidence of any perceptual
    disturbances including hallucinations and delusions of any kind. There was no
    indication of suicidal or homicidal ideation. Mr. Valerio’s mood was normal and his
    affect was appropriate and full in range. He was alert and oriented in all spheres and
    did not appear to be suffering from any cognitive deficits. Mr. Valerio appeared to be
    of average intelligence.

           During my initial evaluations of Mr. Valerio he evidenced little insight into the
    maladaptive nature of his involvement in the instant offense, however, more recently
    he presents as an individual who is connecting the dots, so to speak, between his
    traumatic past and the influence on his deviant sexual behaviors. He discussed more
    openly, with insight, the etiology of his distorted view of women and their relation to
    sex.


                          DIAGNOSIS AND FORMULATION

                                 Voyeuristic Disorder
                                 Frotteuristic Disorder
                             Antisocial Personality Traits
                    Alcohol Use Disorder, In Institutional Remission
                    Cocaine Use Disorder, In Institutional Remission

            Mr. Valerio is a 49-year-old Italian male with no significant prior psychiatric
    history. His early years are notable for having been raised in an abusive household.
    Significantly, he witnessed the physical abuse of his mother by his father, the sexual
    abuse of his sister by their father, and his own sexual victimization by his father,
    including repeated instances of anal rape, from the age of 5 until 11.

           As a direct result of this abuse, Mr. Valerio was sexualized at a very young age,
    impacting his psychosexual development; he ultimately grew to experience
    hypersexual feelings and behaviors as a direct result of the abuse he was victim of.


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    The repeated abuse Mr. Valerio repeatedly experienced as a child molded his sexual
    behaviors as an adult. Various sexual behaviors, considered taboo to most individuals,
    became “normal” for Mr. Valerio and thus propelled him into his past and current
    sexual behaviors.

            It is not unusual for a young male, once abused and repeatedly sexualized by
    his father, to develop inappropriate and distorted outlooks on sexual behaviors. Mr.
    Valerio lacked the guiding, safe, nurturing, and consistent upbringing to develop
    normally emotionally, socially, and sexually. Instead, he developed maladaptive sexual
    interests, though through no fault on his own. He was raised by a very dictatorial,
    sexually depraved, misogynistic, and abusive father, who terrorized his family
    sexually, emotionally, and physically. The father demanded his family’s approval, fear,
    respect, and sexual subjugation. Despite being abused, Mr. Valerio was forced to
    strive for his father’s approval and acceptance for much of his childhood and young
    adulthood, fearing physical repercussions and abuse.

            As a result, Mr. Valerio grew angry, resentful, and self-loathing. His view of
    interpersonal relationship became modeled on what he had seen his father do. This
    fueled his desire to displace his authority through acts of sexual aggression, thus
    repeating the cycle of abuse perpetuated by his father. Mr. Valerio unfortunately
    learned to use sexual and aggressive behaviors as outlets for his negative feelings, as
    his father had before him.

            In parallel, Mr. Valerio, as a child, grew to hate and resent his mother for not
    protecting him from the abuse the father was wielding. This anger turned to rage as
    he grew older and the abuse persisted. This rage then expanded to include all women
    and has thus colored his ongoing relationships with important women in his life,
    something he now very much regrets as he comes to terms with it. He recalled
    blaming his mother for the years of sexual abuse he endured at the hands of his own
    father, causing him feelings of abandonment and helplessness that he vowed never to
    experience again, resulting in his dominating personality in regards to his sexual
    activities. When this anger at women was then combined with the sexually depraved
    behavior his father had inculcated into him, he grew to believe that a woman was
    merely a sexual object. In the end, Mr. Valerio’s interactions with women appear to
    be modeled after the hostile and tumultuous relationship between his parents,
    growing up believing it is acceptable, normal even, to physically and sexually abuse a
    significant other.

           Gathering from current research that examined the correlation between
    experiencing physical abuse as a child and continuing on to commit a sexual offense,
    males who experience physical abuse, as Mr. Valerio did, are at an increased risk to




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                                             Forensic-Psychiatric Examination
                                                      Joseph Valerio


    commit sexual offenses.16 Mr. Valerio possessed another propensity to engage in
    sexual offenses as cited in current research, the existence of childhood sexual abuse.
    The presence, and persistence into adulthood, of symptoms of depression, anxiety,
    substance abuse and sexual dysfunction, all of which are well documented in Mr.
    Valerio’s history, are associated with childhood sexual abuse.17 Mr. Valerio was not
    born with an antisocial personality or characteristics that left him susceptible to
    commit such heinous sexual acts, on the contrary, Mr. Valerio was turned into a
    sexual offender through years of horrible acts of sexual and physical abuse at the
    hands of his father.

           In addition to arrested and distorted psychosexual development, Mr. Valerio
    developed symptoms of anxiety and low self-esteem, which he self-medicated with
    various substances of abuse, usually alcohol and cocaine, which is not uncommon for
    victims of serial sexual abuse, as described previously in recent research. He also
    developed deviant sexual behaviors along two lines. He developed and has engaged in
    repeated instances of Frottage, as evidenced by his prior arrest, but also by his self-
    reported interest in the activity. He also developed an interest in Voyeurism, both in
    terms of viewing real females, but also through the videotaping of women without
    their knowledge, or by viewing videos that he had made during sexual activity, or as
    requested, as in the instant offense.

            Mr. Valerio’s psychosexual texting revealed that Mr. Valerio is sexually
    attracted to adolescent and adult women. This profile, in light of his history, does not
    support a diagnosis of pedophilia. On the contrary, those categories of sexual interest
    are considered normal in adult, heterosexual males. In my opinion, Mr. Valerio is not
    a pedophile. He does not have an interest in having sex with minors. His offense
    conduct was driven by his voyeuristic needs and his hypersexual nature, rather than a
    specific interest in having sex with minors.

            In assessing Mr. Valerio’s risk of dangerousness to the community, I
    considered a number of psychological features and historical data. In Mr. Valerio’s
    case, the presence of manipulative, impulsive, and antisocial personality traits place
    him in the moderate risk of dangerousness and risk of re-offending. In addition, the
    presence of a history of substance abuse, of legal entanglements, of impulsive acting-
    out, and of interpersonal chaos further aggravates his risk of endangering others. This
    finding is corroborated by the actuarial risk-assessment tools used.



    16Widom CS, Massey C. A Prospective Examination of Whether Childhood Sexual Abuse Predicts Subsequent
    Sexual Offending. JAMA Pediatr. 2015;169(1):e143357. doi:10.1001/jamapediatrics.2014.3357.
    17 Blanco, L., Nydegger, L., Camarillo, G., Trinidad, D., Schramm, E., & Ames, S. (2015, October).

    Neurological changes in brain structure and functions among individuals with a history of childhood sexual
    abuse: A review. Neuroscience and Biobehavioral Reviews, 57, 63-69.



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            On the other hand, Mr. Valerio’s capacity to sustain an intimate relationship
    with his family members, as well as his ability to sustain himself professionally speak
    to his capacity and desire to maintain legitimate relationships, which are mitigating of
    his dangerousness. The fact that he has not used weapons, threatened the lives of his
    victims, caused his victims physical harm, or manifested a recent escalation in the
    behaviors also mitigate his risk, and keeps him out of a higher risk level. In sum, there
    is evidence that Mr. Valerio is of moderate risk to the community at this time.

             I found Mr. Valerio not to be deeply troubled by his offense conduct during
    my initial evaluations with him. His behavior appeared ego-syntonic, i.e. not disturbing
    to himself. In other words, he was not deeply troubled by this aspect of his sexuality
    and was not motivated to deal with it. That has evolved over time and through our
    repeated examinations. Presently, in my recent reevaluation of Mr. Valerio, he
    manifested significant remorse and guilt. As such, his offense conduct is becoming
    ego-dystonic, i.e. uncomfortable for him. This internal conflict heralds the presence of
    an internal motivation to change. This is a good prognostic factor in assessing Mr.
    Valerio’s receptivity to sexual offender treatment. A successful bout of such
    treatment would decrease the chance of recidivism and increase the likelihood of
    success for treatment. As evidenced through his recent improvement of insight into
    his past behaviors, Mr. Valerio is a good candidate for treatment in a sex offender
    program, as he has displayed awareness of the importance of overcoming the impact
    of his own past sexual victimization.

            Though Mr. Valerio still has much therapeutic work to do to truly understand
    the psychological underpinnings of his actions and his underlying personality and
    substance-abuse issues, the Court may choose to consider his difficult early life and
    specifically the years of brutal sexual abuse he suffered as a child during important
    formative years as mitigating factors in meting out an appropriate sentence for Mr.
    Valerio. Mr. Valerio did not choose to be victimized or to see his normal
    psychological and psychosexual development be derailed by a monstrous father. The
    sexual trauma he suffered had a significant impact on his sexual behavior and
    attitudes and impacted on the degree to which he could freely choose his sexual
    outlets. His free will was influenced by his early experiences and should warrant
    consideration by the Court at sentencing.

    Respectfully submitted,


    Alexander Sasha Bardey, M.D.
    Diplomate in Psychiatry, American Board of Psychiatry and Neurology
    Diplomate in Forensic Psychiatry, American Board of Psychiatry and Neurology
    Clinical Faculty, Department of Psychiatry, New York University Medical Center
    Adjunct Assistant Professor, Department of Psychiatry and Behavioral Sciences
                   The New York Medical College


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 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
 2

 3     -------------------------------X
       UNITED STATES OF AMERICA,
 4                                    :        CR-14-94
                                               (JFB)
 5             -against-                 :   United States Courthouse
                                             Central Islip, New York
 6     JOSEPH VALERIO,
                                      :      June 6, 2017
 7                     Defendant.            1:15 p.m.
       -------------------------------X
 8
                           TRANSCRIPT OF SENTENCING
 9                         BEFORE THE HONORABLE JOSEPH F. BIANCO
                           UNITED STATES DISTRICT COURT JUDGE
10

11     APPEARANCES:

12     For the Government:           BRIDGET M. ROHDE, ESQ.
                                     UNITED STATES ATTORNEY
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15

16
       For the Defendant:            ANTHONY LA PINTA, ESQ.
17                                   LEONARD LATO, ESQ.

18

19

20

21     Official Court Reporter:       Paul J. Lombardi, RMR, FCRR
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23

24

25                 Proceedings recorded by mechanical stenography.
                           Transcript produced by CAT.

                         Paul J. Lombardi, RMR, FCRR
                          US District Court Reporter
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                                                                      2

 1                THE CLERK:   Calling case United States of

 2     America v Joseph Valerio.

 3                Counsel please state your appearance for the

 4     record.

 5                MR. KABRAWALA:    Good afternoon, Judge.    Ameet

 6     Kabrawala for the United States.     I'm joined by AUSA Allen

 7     Bode.

 8                MR. BODE:    Good afternoon.

 9                THE COURT:   Good afternoon.

10                MR. LA PINTA:    Good afternoon, your Honor.

11                Appearing for Mr. Valerio, Anthony La Pinta and

12     Leonard Lato.    Mr. Valerio is seated to my right.

13                THE COURT:   Good afternoon.

14                As you know, we are here for sentencing.      Are

15     both sides ready to proceed?

16                MR. KABRAWALA:    Yes, Judge.

17                MR. LA PINTA:    Yes.

18                THE COURT:   I want to review what documentation

19     I have because I want to make sure I have everything

20     that's been submitted by the parties and also make sure

21     you have a copy of everything that's before the court.

22                I have the presentence investigation report, the

23     initial probation department recommendation, the addendum

24     to the presentence report, which led to the Fatico

25     hearing, I have the revised probation department


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 1     recommendation which is a total of 60 years imprisonment.

 2     I have the government's May 8th sentencing submission

 3     which has various attachments.

 4                In terms of what I have from the defense, I have

 5     the initial sentencing memorandum of April 25th with

 6     attachments which include Dr. Barday's report and letter

 7     on Mr. Valerio's behalf, and earlier today I reviewed

 8     Mr. Lato's supplemental letter of June 6th which attaches

 9     various letters including a letter from Mr. Valerio.       I

10     believe that's all I have in terms of documentation, and

11     also I did receive a stipulation with respect to the

12     forfeiture which I signed several months ago.

13                Is there anything else I should have in

14     connection with the sentencing?

15                MR. KABRAWALA:    There is one other document that

16     we handed up to the court today, defense counsel has been

17     provided a copy.    It's entitled final order of forfeiture.

18                It should be attached to the judgment once it's

19     signed, Judge.

20                THE COURT:   I assume based upon the stipulation

21     that the defendants agree to this final order of

22     forfeiture as part of the judgment in this case?

23                MR. LA PINTA:    Yes, sir.

24                THE COURT:   Is that correct, Mr. Valerio?

25                THE DEFENDANT:    Yes, your Honor.


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 1                THE COURT:   I will order the forfeiture as

 2     contained in the final order of forfeiture.

 3                MR. LA PINTA:    You should be aware, your Honor,

 4     that today moments before you took the bench a payment in

 5     the amount of that money was given over by the form of an

 6     attorney escrow check to the government.

 7                THE COURT:   That's $75,000?

 8                MR. LA PINTA:    Yes.

 9                MR. KABRAWALA:    I can confirm receipt of a

10     payment for the amount of $75,000, it's check No. 1418,

11     and I'm in possession of it to the United States Marshal's

12     Office.

13                THE COURT:   Again, so the record is clear, I

14     did, as we had discussed after receiving the submissions,

15     issue a June 1st opinion which Mr. Lato referenced in his

16     supplement where I made findings of fact as it related to

17     the testimony of the various witnesses that the government

18     put forth at the Fatico hearing and I won't repeat those

19     findings here, but I found the government witnesses to be

20     fully credible in every respect with respect to their

21     testimony and I intend to consider those facts as part of

22     the history and characteristics of the defendant, as well

23     as on the issue of dangerousness under the 3553(a)

24     factors.

25                I would just ask, I know things have been


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 1     submitted to me under seal because they contain names of

 2     children.    I would just ask that redacted versions of the

 3     documents be prepared taking out the names of the children

 4     because I don't think all the filings should be under seal

 5     and obviously if you want to maintain Dr. Barday's report

 6     that would be fine, but if you could do that in the next

 7     week or so that would be helpful.

 8                  MR. LA PINTA:   Yes, sir.

 9                  THE COURT:   Mr. La Pinta, has Mr. Valerio

10     received the presentence report, the two recommendations

11     and the addendum?

12                  MR. LA PINTA:   Yes, your Honor.

13                  If I may just take a brief moment and spread on

14     the record in detail what we have done in that regard.

15                  Mr. Lato and I have met with Mr. Valerio

16     probably in excess of 25 to 30 times since he's been

17     incarcerated in the MDC.     We have spent numerous hours

18     going over the initial presentence investigation report,

19     the addendum, and the recommendations and most recently

20     this weekend, this past weekend, Mr. Lato, himself, went

21     to see Mr. Valerio and did go over your memorandum opinion

22     dated June 1st with him.

23                  He's asked numerous questions about all the

24     documents.    We have answered those questions.    We have

25     taken a lot of time and detail in explaining not only the


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 1     factual assertions contained therein, but in our opinion

 2     the significance and meaning of each and every document,

 3     in particular your memorandum and order dated June 1st.

 4                 I'm of the opinion that Mr. Valerio is quite

 5     capable of understanding the facts and circumstances of

 6     his case.   When it comes to legal matters that maybe a

 7     layperson is not aware of he's asked appropriate questions

 8     and we have taken the time to explain to him the

 9     sentencing guidelines, how it works and all of the 3553(a)

10     factors that the court is now going to consider and render

11     in a sentence.

12                 So I state on the record without any hesitation

13     or doubt that Mr. Valerio has been given much time, much

14     attention and much detail regarding each and every

15     document that the court is relying on in imposing

16     sentence, not just that but as you are obviously aware

17     through the Fatico hearing conducted before you,

18     Mr. Valerio was obviously present and we had a dialogue

19     with him before and after every day of those hearings to

20     discuss not only direct examination but the

21     cross-examination of each witness.

22                 THE COURT:   Mr. Valerio, has Mr. La Pinta

23     accurately described the nature of his interactions and

24     Mr. Lato's interactions with you as relates to their

25     representation of you, is that accurate?


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 1                THE DEFENDANT:    Yes, your Honor.

 2                THE COURT:   I just want to see if there are any

 3     objections to the presentence report and let's start with

 4     the guidelines offense level, criminal history.

 5                I don't think there are any objections to that

 6     calculation.   I do want to address Mr. Lato's multiplicity

 7     issue, but in terms of the calculation, level 47, criminal

 8     history category I, do both sides agree that's a proper

 9     calculation of the guidelines?

10                MR. LA PINTA:    Your Honor, with your permission

11     we'd like to kind of dissect our responsibilities here on

12     being joint counsel.

13                Mr. Lato is going to address the guidelines and

14     any legal matters since he authored all of the

15     submissions.   I'm going to deal with the PSR, family

16     matters and other facts regarding the proceeding, if

17     that's okay with you.

18                THE COURT:   That's fine with me.

19                Mr. Lato, I know you have an issue with the

20     multiplicity, but just in terms of the offense level and

21     criminal history, is there any objection to that?

22                MR. LATO:    No, your Honor.

23                THE COURT:   Does the government have any

24     objection to that?

25                MR. KABRAWALA:    No, Judge.


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 1                 THE COURT:   I don't know if the defense disputes

 2     that and it's not material but I want it to be accurate

 3     that Jane Doe number one was two years old at the time of

 4     the offense and not three, is that accurate?

 5                 MR. LATO:    It is immaterial, your Honor, but let

 6     me just hear from Mr. Valerio.

 7                 THE COURT:   Okay.

 8                 (There was a pause in the proceedings.)

 9                 MR. LATO:    Since we are not certain, we will not

10     object to what's in there.

11                 THE COURT:   Three is in there and the government

12     says that's wrong, it's two.

13                 MR. LATO:    Then I'll go with what the government

14     says.

15                 THE COURT:   I wanted the record to be clear and

16     I want it to be accurate but it is immaterial, two versus

17     three.

18                 So I adopt the offense level computation

19     contained in the presentence report in its entirety.       I'm

20     just going to summarize it for the record, but I adopt it

21     in its entirety.

22                 For the grouping of what they consider group

23     one, which includes the conspiracy to commit sexual

24     exploitation of a child as relates to Jane Doe number 1

25     it's a base offense level 32.     Because she had not


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 1     attained the age of 12, four levels are added, because it

 2     involved sexual contact with Jane Doe number one, two

 3     levels are added, and because Mr. Valerio communicated

 4     with Ms. Kalichenko via computer to persuade her to engage

 5     in the sexually explicit conduct with Jane Doe number one,

 6     two levels are added.    That's offense level 40 for that

 7     group.

 8                 And then with respect to the second group,

 9     counts 14 and 15, the attempted sexual exploitation of a

10     child, it's a base offense level 32, Jane Doe number two

11     was 6 years old at the time so four levels are added.          She

12     was related to the defendant, so two levels are added, and

13     that's an adjusted offense level of 38.      Under the

14     multicount adjustment, the combined adjusted offense level

15     is 42.

16                 Because the defendant engaged in a pattern of

17     activity involving prohibited sexual conduct, five levels

18     are added, and, therefore, the offense level is 47 in

19     terms of 4B1.5B1, and there is no acceptance of

20     responsibility points.    The criminal history category, he

21     has one point from a 2006 conviction.      So he maintains

22     criminal history category I.

23                 That results in a range under the chart of life,

24     and advisory range of life.      However, as the government

25     acknowledges, the defense obviously agrees, because there


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 1     is no count individually that carries a life sentence, the

 2     law requires the court to whatever the statutory maximum

 3     is of all the counts together becomes in effect the

 4     advisory guideline range, it becomes a number.

 5                The government asserted that that number just

 6     adds up all the counts is 410 years, but as Mr. Lato --

 7     I'll hear from the government, I think Mr. Lato is correct

 8     that there are some attempt counts that are completely

 9     subsumed in count two which is the actual sexual

10     exploitation of a child from April 1 of 2012 to November 1

11     of 2012.   So I believe to sentence him on those attempts

12     which are counts nine through 13 would be a violation of

13     the double jeopardy clause.

14                So I believe given he was convicted of

15     count two, that the court should dismiss counts nine

16     through 13.   Is there any objection to that?

17                MR. BODE:    We would just ask, your Honor, that

18     that be without prejudice should there be some issue that

19     arises in the future and some other count falls by the

20     wayside that we would then ask those counts -- the jury

21     verdict be reinstated, so either dismissed without

22     prejudice or there be no sentence issued on those counts,

23     including not even the special assessment on that count.

24                THE COURT:   I'm not issuing the special

25     assessment on those counts, but I will dismiss them


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 1     without prejudice if there were to turn out to be some

 2     problem with count two.      I don't believe that the

 3     dismissal should be with prejudice on those counts.       I

 4     will dismiss them without prejudice, but I am not going to

 5     impose any sentence on those counts.

 6                 So, Mr. Lato, I think correctly figured out the

 7     math, which is the remaining counts have 260 years of

 8     exposure.   So that becomes the effective advisory range or

 9     number in this case.     Obviously pursuant to United States

10     v Booker, the sentencing guidelines are advisory.       They

11     are only one factor the court is to consider among all the

12     statutory factors and I'll now hear from both sides

13     regarding the factors or anything else they wish to say

14     starting with the defense.

15                 I should ask you, I guess, do you have any

16     objections to the report?

17                 MR. LATO:    No, your Honor.

18                 THE COURT:   Does the government have any

19     objections to the report?

20                 MR. KABRAWALA:    No, your Honor.

21                 THE COURT:   I adopt all the information in the

22     presentence report as factual findings of the court in

23     addition to my findings at the Fatico hearing.

24                 Go ahead.

25                 MR. LATO:    May I have one moment to confer with


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 1     Mr. La Pinta?

 2                 THE COURT:   Sure.

 3                 (There was a pause in the proceedings.)

 4                 MR. LATO:    With the court's permission, your

 5     Honor, Mr. La Pinta is going to start off.       There are

 6     certain 3553 factors that he's better off addressing, some

 7     that I'm better off addressing, if that's fine with the

 8     court.

 9                 THE COURT:   That's fine.

10                 I wanted to confirm with Mr. Valerio directly

11     that you have had sufficient time to discuss all the

12     documents, the presentence report, the addendum, the

13     recommendations and had sufficient time to discuss them

14     all with your attorneys.

15                 THE DEFENDANT:    Yes.

16                 THE COURT:   Go ahead, Mr. La Pinta.

17                 MR. LA PINTA:    Thank you, Judge.   Do you mind if

18     I use the podium?

19                 THE COURT:   That's up to you.

20                 MR. LA PINTA:    Your Honor, before I begin please

21     note in court here today on behalf of Joseph Valerio is

22     his mom, Frances Valerio, his sister, Bernadette

23     Imperially, his uncle Gerolamo Valerio, his aunt, Dominica

24     Valerio, and his other uncle John Toussa, many of those

25     family members have written letters for your consideration


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 1     and I'm sure you understand and remember the family

 2     dynamic from the prior proceedings involved in this case.

 3                As you are aware, the Valerio family are

 4     Sicilian immigrants.    Mr. Valerio's father, Phillipo

 5     Valerio, migrated here as a young child, married his wife

 6     Frances and raised their family, first I believe in the

 7     Queens area, Brooklyn area and then moved to Long Island

 8     where they raised their two children in Massapequa.

 9                The family was raised under traditional Italian

10     family traditions, I'll say, traditions that as we all

11     stand members of our society here today were not

12     traditions that are acceptable to anybody.      They are

13     traditions that permeated the family through the acts of

14     severe domestic violence, at the hands of Mr. Valerio's

15     father, Phillipo.    We have gone to great lengths, your

16     Honor, to address these issues.     Dr. Barday also gave

17     great reference to those facts in his report, as we

18     believe they are very relevant in terms of understanding

19     the total picture of who Joseph Valerio is.

20                Joseph Valerio undoubtedly and his sister,

21     Bernadette, grew up under very, very difficult family

22     circumstances that have severely affected both of them as

23     adults.   They both witnessed severe spousal abuse at the

24     hands of their father on their mother, and Joseph Valerio

25     also experienced abuse at the hands of his father as well,


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 1     physical abuse and other abuse.

 2                 That's molded a young Joseph Valerio into the

 3     man that he is today, and I don't say that in any type of

 4     good way.    But I want you to know that besides all of the

 5     very troubling facts and circumstances that you know

 6     Joseph Valerio by, that there is good in Joseph Valerio.

 7     One thing that has been consistent to me since coming on

 8     to this case upon his arrest is the fact that his family

 9     members are all very devoted to him and all categorize him

10     as nothing short of a committed, loving son, brother and

11     nephew.

12                 As a young child he shared a very close

13     relationship with his mother, was her protector,

14     confronted his father on numerous occasions when

15     witnessing abuse that resulted in his abuse at the hands

16     of his father.    As most Italian immigrant families, what

17     was said in the house and what was done in the house

18     stayed in the house.    Nothing was spoken outside of the

19     house.    That would have been a sin against the family.

20                 As a result, there was no intervention by

21     professionals.    There was no helping hand to help ease the

22     pain of the physical and other abuse that was going on in

23     that household, and it wreaked havoc on the two children.

24     Mr. Valerio graduated high school, attended college for a

25     short period, worked in a family business and was involved


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 1     in real estate for the better part of his adult life.

 2     He's had many relationships, some of which you are well

 3     aware of, that have all failed miserably.      Not only have

 4     they failed miserably, but they were all permeated and

 5     destructed by violence and sexual exploitation.

 6                A good part of our presentation here today, your

 7     Honor, and our submissions relies on Dr. Barday's

 8     evaluation of Mr. Valerio.     He's undertaken a very

 9     thorough evaluation, not only of Mr. Valerio, he's met

10     Mr. Valerio numerous times at the MDC and has employed a

11     number of different well known objective testing

12     techniques to provide the court with as thorough as

13     possible of an abstract regarding who Mr. Valerio is.

14                He's employed a number of tests such as the able

15     assessment for sexual interest, the HCR-20 evaluation, the

16     HCR-20, the static-99, in addition to spending time with

17     Mr. Valerio, I believe on three or four occasions at the

18     MDC over hours and hours of discussions.      Dr. Barday also

19     met with his mother Frances Valerio and sister Bernadette

20     and spoke with them independently about the upbringing in

21     the family in order to understand and draw an accurate

22     picture of what existed there and then.      He's also

23     conducted other collateral interviews and has given the

24     report that you have read.

25                Dr. Barday's opinion is that Joseph Valerio is


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 1     not a pedophile.    He does suffer from some severe profound

 2     psychological ailments.    Page 12 of the report diagnoses

 3     Joseph as having voyeuristic disorder, frotteuristic

 4     disorder, antisocial personality traits and also has

 5     commented on his excessive alcohol use and drug use,

 6     meaning cocaine use, all being contributing factors in the

 7     life of Joseph Valerio that has contributed to the conduct

 8     that has brought him before the court here today.

 9                Mr. Valerio also has serious and physical

10     ailments in his past.    He's a cancer survivor.     He had

11     surgery on the thyroid gland.     Most of that gland was

12     removed.   While in jail he's had a number of other

13     problems physically that he sought medical attention for,

14     and as we are all well aware, unfortunately, the MDC and

15     all of the jails aren't exactly the perfect environment to

16     obtain first-class medical care from.

17                But with all that said, in all candor, we face a

18     monumental obstacle here, your Honor, in terms of trying

19     to convince you to save this man's life.      What I mean by

20     saving his life is to provide for some day Joseph

21     Valerio's return to society.     Under the framework of the

22     facts of this case, it may be difficult to understand that

23     the redeeming qualities of this man has deserves freedom

24     one day in his life.

25                But we believe he does.    We believe that he does


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 1     deserve to come home from jail and to spend the rest of

 2     his life with his family because what we have observed and

 3     what Dr. Barday has mentioned in his report is that since

 4     being incarcerated, since being interviewed and evaluated

 5     by Dr. Barday, for the first time in his life I think

 6     Joseph Valerio understands what he is about, understands

 7     the sickness and problems that he's had.

 8                And I think that Dr. Barday mentions and is

 9     quite of common nature in my opinion having had dealings

10     with psychiatrists and representing clients in the past

11     that the first real step in rehabilitation is

12     understanding and appreciating the problems that one has

13     and accepting the conduct and consequences of it.        And I

14     will tell you firsthand that in the hours and hours and

15     hours that we have spent with Mr. Valerio at the MDC, I

16     can tell you that he's come to terms with who he is and

17     what he is.   He understands the nature of his crimes being

18     of disgusting, despicable acts.     He understands the

19     destruction that he's caused to not only the children

20     involved here but his family as well.

21                While no one will argue that the heavy hand of

22     the law must come down today, your Honor, we argue that

23     that heavy hand does not crush and destroy the rest of

24     Mr. Valerio's life.    We would ask that you consider

25     Dr. Barday's report, the unique family circumstances that


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 1     existed in the Valerio household, and understand that as

 2     mitigating factors and how someone could be developed into

 3     the person that would conduct this conduct.

 4                So I'll leave you with one last thought.      I'd

 5     like to think that each and every one of us here in our

 6     society has both good and bad in them.      Sometimes the bad

 7     overshadows the good and sometimes the good overshadows

 8     the bad, and I don't envy your position in trying to come

 9     up with an appropriate sentence in a case like this

10     because anyone that would know the facts and circumstances

11     here would instinctively want to incarcerate this man for

12     the rest of his life.

13                But I ask that you not do so, and that you

14     understand that there is good in Mr. Valerio and allow him

15     to continue to come back to society one day and hopefully

16     live his life then and there as a productive member of

17     society.

18                I'm going to continue and transfer the

19     presentation over to Mr. Lato.

20                THE COURT:   Thank you, Mr. La Pinta.

21                MR. LA PINTA:    Thank you.

22                MR. LATO:    I'm going to wait until you look up

23     because I know you were writing something.

24                THE COURT:   I'm writing.

25                MR. LATO:    Okay.


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 1                THE COURT:   Go ahead.   Thanks.

 2                MR. LATO:    Because your Honor has read my

 3     submissions I'm not going to be repetitive.

 4                I just want to talk a little about general

 5     deterrence and not about Mr. Valerio in particular.

 6     Mr. La Pinta has done that somewhat and if he wishes to

 7     continue afterward I'm sure your Honor will give him the

 8     chance.   But all of this talk about 60, 50, 40 years it's

 9     all nonsense as I point out in my letter because given

10     Mr. Valerio's life expectancy, anything 34 years or more

11     is a de facto life sentence.     So the question really

12     becomes should he die in jail.

13                And where I come from that is in terms of

14     general deterrence is that in the criminal justice system,

15     we assign greater penalties to the crimes we consider

16     harsher than others.    For instance, there is a reason why

17     murderers get life imprisonment, and other people

18     typically do not.    Why?   Because society has determined

19     that killing another human being is the most serious crime

20     and I'm leaving out other crimes such as treason which are

21     in the constitution.

22                What I wanted out in my letter is that if we

23     believe in general deterrence, here is the problem.       The

24     whole idea of general deterrence you want word to get out

25     there to would-be wrongdoers that certain behavior will


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 1     not be tolerated, and that's a good thing but one has to

 2     be careful.   For instance, if, in fact, kidnapping were

 3     automatically a life sentence, would-be kidnappers who

 4     learn the law out there would say if I have a victim, what

 5     do I lose by killing this victim?     And obviously if we are

 6     talking about people with a history of sexual abuse where

 7     there is no hope for these people, even though they didn't

 8     kill the victims, these people are so dangerous they have

 9     to be put away for life.

10                But is that really necessary with Mr. Valerio?

11     Is he really going to be a danger to people in their 70s?

12     Do we really want to get word out there that if you take

13     pictures of a young child naked, as horrible as it is, you

14     are going to get 40 or 50 years in jail?      What's going to

15     happen when these sentences start to become prevalent and

16     some lunatic out there who is photographing these kids

17     decides to kill that little child?     That's my big concern.

18     I'm not talking about Mr. Valerio.     I'm just talking about

19     general deterrence in particular.

20                And as I pointed out in the letter, Mr. La Pinta

21     and I always knew, even before the Fatico hearing, your

22     Honor was not going to give Mr. Valerio 15 years and your

23     Honor would not have gone to the trouble of rendering that

24     decision unless your Honor were considering a sentence

25     well above 15 years and I'm not going to speculate what


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 1     number your Honor has in mind.

 2                 But I think that under these circumstances, for

 3     the reasons Mr. La Pinta stated and all of our

 4     submissions, as bad as what Mr. Valerio did, in terms of

 5     general deterrence I think it's shortsighted to give him a

 6     life sentence, but that's my view and maybe I'm wrong.

 7                 THE COURT:   Mr. La Pinta, is there anything else

 8     you want to add before I hear from Mr. Valerio?

 9                 MR. LA PINTA:   I don't.

10                 I just neglected to mention to the court, it's

11     in the PSR, that he does have two children and while he

12     was a member of society has always provided financial and

13     emotional support for his children.       He's been as good of

14     a father as he could be and I don't want to not mention

15     that because I think that's important for your

16     consideration.

17                 Thank you.

18                 THE COURT:   Thank you.

19                 Mr. Valerio, you also have the right to speak at

20     your sentence.    You can say anything you wish to say.

21                 I obviously read the long letter that you

22     submitted, which was a good letter, but you also can say

23     anything you want to say today.       You can remain seated.

24                 MR. LATO:    May we just have one moment, your

25     Honor.


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 1                THE COURT:    Yes.

 2                (There was a pause in the proceedings.)

 3                MR. LATO:    We are ready, your Honor.

 4                THE COURT:    Go ahead, Mr. Valerio.

 5                THE DEFENDANT:    Yes, your Honor.

 6                I have been waiting for a long time, 40 months

 7     now of incarceration to express my humbleness in all that

 8     I have done wrong to my victims, and witnesses.       The

 9     horrible heinous acts that I have committed, the innocence

10     in the children's lives that I look upon my own daughter

11     and my son and I came to grips of why I did such horrible,

12     horrible things to my victims and witnesses.

13                I was so consumed with addiction, drugs,

14     alcohol, mainly sexual addiction.     I had no control over

15     it at the time, your Honor, and I look back.      I cry many

16     nights for my victims, my family, and I feel the pain and

17     I can just imagine what I put them through at the time.

18     These are people that genuinely loved me and they put

19     their trust and their heart and soul into my hands and I

20     discarded all of that.    I took advantage of the love that

21     they gave me, the innocence that was there before me, and

22     I destroyed that.

23                My two adult victims loved me to the point where

24     they wanted to marry me.     I took that for granted, your

25     Honor, and I imagine each day that I sit in prison, the


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 1     thoughts that go through their minds about how they loved

 2     me and how they trusted me, to want me to adopt one of my

 3     victims' child, to place that trust in me and discard that

 4     with all my sick, dark desires.

 5                I'm soon to be a 51 year old man, your Honor.       I

 6     think of my family each and every day.      I think of my

 7     daughter which I will never see again in my life who is

 8     now in a foreign country.     I had gotten to see my daughter

 9     January of 2016 at MDC facility, I believe able just to

10     glance at her, and I thought about my victims' innocent

11     children, how they are so precious like my daughter, this

12     beautiful little child that I created with my

13     ex-girlfriend, her mother.     She genuinely loved me.

14                My victims put their trust in me, and I let them

15     down, and I feel for them like no other can feel for them.

16     I was consumed with sexual desire and that took over my

17     feelings for them.    The money that I had was a power over

18     them, was a tool in lieu for their sexual desires.

19                This is where I started to spin out of control.

20     After my father's death I experimented with many other

21     drugs, K 2, I was heavily on cocaine.      Wherein my

22     distorted way of thinking for that phase in time to think

23     of a child as a toy, to take away that child's innocence,

24     not even being in the same country, but ordering somebody

25     that I loved and she loved me as well, to direct her to do


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 1     something so horrible as that, I still can't come to grips

 2     of where and how in my mind was functioning at that time,

 3     your Honor.

 4                But I think each and every day of my victims,

 5     and I told both my attorneys where I went wrong, and I

 6     should have married my ex-girlfriend.      Perhaps marriage

 7     would have kept me on the righteous path, but I took them

 8     for granted.   I took this control over them just the way

 9     my father had control over me and my family, with the

10     abuse, with the demands, and with the physical desires and

11     the physical pain that was inflicted on me.

12                My father displayed these acts in front of me

13     with my mother, with my sister.     This made me an angry

14     young man developing into a man of many addictions.       Being

15     a musician I got involved in the drug scene, and I found

16     myself in a distorted world of fantasy.      I used women the

17     wrong way, and with Dr. Barday, he completely turned my

18     life around.

19                Other than my Uncle John being a social worker

20     who has counseled me in his own way, Dr. Barday was like a

21     revelation in my life.    The times that he visited me, I

22     was able to connect to where my addictions stem from, and

23     all the people that I hurt in my life.      He was able to

24     conclude where my trouble began and obviously where my

25     trouble ended today.


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 1                I want to be this rehabilitated man.      I am

 2     willing, able and I'm ready, after 40 months of

 3     incarceration, dealing with other inmates who knew of my

 4     case, who have approached me and have assaulted me in

 5     prison.   I felt this was part of my punishment for doing

 6     the heinous acts to innocent children, to victims who love

 7     me, who gave me their all, who proposed to me and wanted

 8     family with me.

 9                I plan, your Honor, to become a better

10     rehabilitated man.    That's my promise to you, your Honor,

11     my promise to my family, especially my mother who's been

12     there for me soon for 51 years of my life.      No other woman

13     has been there for me like my mother has, and that's the

14     bond we have.    We protected each other when it came to my

15     father's abuse.    We looked after each other.    We kept each

16     other calm and at peace when there was disorder and

17     destruction and abuse in my early childhood.

18                Your Honor, I ask of you, please, to consider

19     leniency on my sentence.     It's my promise to you, your

20     Honor, and the prosecutors, all law enforcement that gave

21     their time and everything that they have done to keep

22     order on the streets and they have done everything

23     possible to make sure that I'm removed from society and I

24     become a rehabilitated, righteous man.

25                I made a promise to God during my years of


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 1     incarceration when I reached the age of 50 to minister my

 2     bible study classes.    I found in better rehabilitation

 3     than the word of God, examples like Paul and Joseph who

 4     dealt with wickedness and sin, and I have learned from

 5     that, your Honor.    I put my head down in sorrow, your

 6     Honor, being a fellow Italian American in shame, and I

 7     feel the shame every time I come into this courtroom.          Law

 8     enforcement that does their job well, I respect what they

 9     do.

10                So, your Honor, I thank you for taking the time

11     to read my letter.    Please, your Honor, look deeply and

12     look past all my sins and please look at my family behind

13     me who are there for me, who are waiting for me, waiting

14     for that time to see a rehabilitated man.

15                Thank you, your Honor, for taking the time.

16                THE COURT:   Let me just say this, Mr. Valerio,

17     before I hear from the government.

18                I wasn't sure exactly what you were going to say

19     before I received your letter.     I know Dr. Barday had said

20     that you expressed some remorse in the last sessions that

21     he had with you, but I take your remorse at your word.          I

22     understand the childhood circumstances.      That seemed like

23     a horrific situation that you and your family were in with

24     your father.   I don't want you or your family to think I'm

25     not considering all those things.


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 1                I have considered all those things and remorse

 2     is important.    Obviously I have to consider other things

 3     as well, but I think it is important.      The first step

 4     forward in any situation like this is to acknowledge the

 5     wrongfulness of the conduct and to be willing to try to

 6     change.   I do give you credit for that.

 7                I'll hear from the government.

 8                MR. KABRAWALA:    Since his arrest in January of

 9     2014 and then his rearrest in February of 2014, we have

10     been witness in this courtroom to the path of destruction

11     that the defendant has left in his wake.

12                Judge, the government has asked for a 60-year

13     sentence and we don't do that lightly.      We are acutely

14     aware that that is a very significant sentence.       The

15     reason we are asking for that sentence and we join in

16     probation's recommendation of that sentence is simply that

17     the defendant is dangerous.      The defendant is dangerous

18     because he is deliberate.

19                We have seen in this courtroom the deliberation

20     with which Mr. Valerio has acted.      We have been witness to

21     the incident in 2005 that occurred at Splish Splash when

22     the defendant deliberately assaulted a woman in a wave

23     pool while he was on probation for that offense, the

24     defendant was found with videotapes that he had secretly

25     taped nannies and caretakers in his home who were unaware


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 1     they were being filmed.

 2                 He was deliberate when he sexually exploited the

 3     two victims in this case, one being a two year old.       He

 4     was deliberate when he convinced Kalichenko to make

 5     sexually explicit videos of her own daughter.      He was

 6     deliberate when he sexually exploited his six year old

 7     niece and then convinced his family that he was taking

 8     modelling, legitimately modelling photographs of his

 9     niece.

10                 He was deliberate when he chose to victimize the

11     woman known as AD.    He repeatedly abused her, made her

12     life a living hell.    Your Honor has read her letter that

13     was annexed to our May 8, 2017 letter.      Her life has been

14     completely transformed in a bad way because of the

15     defendant's involvement in her life.      He raped her

16     countless times.    He broke her teeth.    He knocked her out.

17                 He was deliberate when he sexually assaulted and

18     repeatedly raped his coconspirator, Kalichenko.       He was

19     deliberate and dangerous when he tried to adopt a child

20     from the Ukraine even after the relationship with he and

21     Kalichenko terminated.

22                 He tricked an au pair to come to the

23     United States on her gap year after she graduated from

24     high school in the United Kingdom.     He convinced her and

25     the agency for which she worked that he legitimately had a


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 1     daughter who needed care.     So she came here on her gap

 2     year, only to learn immediately that the defendant did not

 3     have a young child and that was only after the defendant

 4     tried to convince her to wear fetish outfits and go to

 5     some sort of sex party with him.     This is only a sampling

 6     of what we know about.

 7                 Simply put, the defendant has shown there are no

 8     limits to the lengths that he will go to deceive and trick

 9     others and abuse others and exploit others.

10                 A point about Dr. Barday.    Now, Dr. Barday's

11     evaluation in many ways is flawed.      Dr. Barday

12     acknowledged during his Fatico hearing testimony that he

13     had not fully accounted for the defendant's violent rape

14     of AD and of Kalichenko.     The court has credited the

15     testimony of AD and of Kalichenko and Lucy Down, and the

16     government has proven those acts by a preponderance of the

17     evidence.

18                 The court should consider seriously Dr. Barday's

19     evaluation and his opinion, but the court should be

20     mindful that Dr. Barday found Mr. Valerio to be only a

21     moderate risk, which is still a substantial risk of

22     dangerousness and recidivism.     Once the court concluded

23     that the government proved the defendant's violent acts

24     towards AD and toward Kalichenko, that risk of recidivism

25     and dangerousness is only enhanced.


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 1                  Finally, the defendant has asked for essentially

 2     a second chance.    He's received that second chance

 3     already.   He received it in 2005 when he was sentenced to

 4     a mere term of probation for sexually assaulting a Long

 5     Island woman in a wave pool.      He has demonstrated since

 6     that time that he cannot be trusted, that he will

 7     manipulate others, and that he is a danger to our

 8     community.

 9                  Thank you.

10                  THE COURT:   Thank you, Mr. Kabrawala.

11                  I'm now going to state the sentence I intend to

12     impose and give the lawyers a final opportunity to make

13     any legal objection before imposing the sentence.

14                  In considering this sentence I have carefully

15     gone through and considered all the factors set forth by

16     Congress in Section 3553(a), which include among others,

17     I'm not going to list all of them but I have considered

18     all of them, the nature and circumstances of the offense

19     and the history and characteristics of Mr. Valerio, the

20     need for the sentence imposed to reflect the seriousness

21     of the offense, to promote respect for the law, to provide

22     a just punishment for the offense, to afford adequate

23     deterrence to criminal conduct, and to protect the public

24     from further crimes by the defendant.

25                  I have also considered the advisory sentencing


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 1     guidelines issued by the sentencing commission and the

 2     applicable range or number in this case, the advisory

 3     number as well as the applicable policy statements issued

 4     by the sentencing commission.

 5                I have also considered the need to avoid

 6     unwarranted sentencing disparities among similarly

 7     situated defendants and although it was not mentioned here

 8     today in court, both sides briefed that issue fully in

 9     their written submissions to the court and I certainly

10     have considered not only sentences that I have imposed,

11     but that other judges have imposed in this area of crime.

12                Having considered those factors and all the

13     factors I intend in my discretion to impose a total

14     sentence of 60 years in jail, 720 months, and I don't do

15     that instinctively or emotionally.     I do it with great

16     thought and pause and having reconsidered it several times

17     whether or not that's the appropriate sentence and I

18     conclude it is for the following reasons.

19                I'm not going to go into great detail about the

20     instant offense.    It's all in the presentence report.        It

21     all came out at the trial, but the instant offense

22     involved extremely violent conduct towards children.        It

23     showed the defendant to be a compelling danger to the

24     community, especially to children.     I think it's an

25     aggravating factor the way it was done in terms of the


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 1     defendant directing Ms. Kalichenko, scripting out how she

 2     should abuse her two year old daughter in the Ukraine,

 3     sending him multiple videos for money.

 4                Those e-mails that the government noted in its

 5     papers that contained promises, threats, treated her in

 6     such a demeaning, degrading, humiliating way as an object

 7     to make her completely dependent upon Mr. Valerio as he

 8     noted today with money, other promises and threats so that

 9     she would do his bidding, including exploit her own

10     infant, the extremely callous disregard for the well-being

11     of others is one that just shows extreme danger to

12     society.

13                I also note obviously that sexual exploitation

14     of the niece, how the basement was set up, the six year

15     old girl betraying the trust that was given to him as an

16     uncle and as the government noted deceiving and

17     manipulating people in order to satisfy his desires.       So

18     the counts of conviction demonstrate the defendant to be

19     extremely violent and dangerous and a clear and compelling

20     danger to the community especially to children at the

21     highest level.

22                I believe the level of danger is only further

23     confirmed by his history and characteristics as an

24     individual.   As the government noted we are not dealing

25     with a 20 year old individual who had a horrific abusive


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 1     childhood and is a young man trying to deal with that.

 2     This is a man at the time of these crimes was in his late

 3     40s, and his history and characteristics show that he is

 4     not only a danger to children, but he's a danger to women

 5     as well.

 6                His 2006 conviction for attempted forcible

 7     touching, although it was only a misdemeanor, it involved

 8     grabbing and attempting to penetrate the genital area of

 9     an adult female in a wave pool.     As the government noted,

10     his adjustment on supervision from that probation was

11     unsuccessful, problematic in many ways that are outlined

12     in the PSR that I won't repeat.     But he was given a chance

13     with treatment there and did not take that opportunity.

14     It only led to even more violent conduct in connection

15     with the instant offense as well as the other conduct that

16     I'm about to go into.

17                His extreme dangerousness was further

18     corroborated at the Fatico hearing.      As I said, those

19     women were completely credible to me.      I listened to them

20     testify.   I could hear it in their voice.     I could see it

21     in their eyes.    There was no question that those events

22     happened as they articulated.     AD testified to physical

23     and sexual abuse including rape, repeated threats to

24     killing her, being on a secluded road but grabbed by the

25     hair, smacking her head against the dashboard, telling her


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 1     tonight you are going to die.

 2                She jumps out of the car.     Her daughter's in the

 3     back seat, backs up, hits her in the head with the open

 4     door.   I mean, this type of violent conduct I think shows

 5     the level of dangerousness that Mr. Valerio has, and there

 6     were other incidents as well including rape and when she

 7     terminated finally the relationship with him, is when he

 8     knocked her unconscious and broke her teeth and threatened

 9     to kill her if she told the truth about what happened.

10                Ms. Kalichenko's testimony was also extremely

11     credible, and in many ways mirrored in some respects AD's

12     testimony in terms of how she was treated by Mr. Valerio

13     in terms of the violence and rape, and Ms. Downs, although

14     that didn't involve any type of sexual assault, I think

15     just corroborated the manipulativeness and deceptive

16     behavior Mr. Valerio has engaged in his life in order to

17     engage in this type of violent conduct towards women and

18     towards children.

19                So the counts of conviction and this history of

20     violence show him to be, which is clear to me he is an

21     extremely dangerous individual, that this court needs to

22     protect society from for the rest of his life.       I don't

23     believe there are any limits on what he would do to

24     satisfy his sexual desires to women or to children.       So

25     society needs to be protected.     I don't believe his level


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 1     of dangerousness will diminish over time.      I think his

 2     risk of recidivism is extremely high.

 3                I have considered general deterrence.      I won't

 4     say it's the driving force in this sentence.      It is a

 5     consideration and certainly this type of conduct should be

 6     met with extremely severe sentences to send a message to

 7     others out there victimizing children in the way that

 8     Mr. Valerio did in this case.     So it is a factor, but the

 9     primary factor is that this sentence needs to protect the

10     public because of the danger I view him as, and to reflect

11     the seriousness of the offense.

12                All that led me to conclude that 60 years

13     imprisonment, which is effectively a life sentence is

14     warranted, sufficient and no greater than is necessary to

15     reflect all of the factors.

16                I do want to spend one moment on the arguments

17     in mitigation.    I don't want the fact that I adopted the

18     recommendation of the probation department and the

19     government to be viewed as I just cast aside the

20     significant submissions and letters and hearings.       I

21     considered all those things, but I don't believe that a

22     sentence less than the one I'm imposing would properly

23     balance all the factors.

24                First, I did consider the report and testimony

25     of Dr. Barday, but I don't believe it warrants a lower


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 1     sentence for several reasons.     He acknowledges in his

 2     report on page 15 that the presence of manipulative

 3     impulsive antisocial personality put Mr. Valerio at a

 4     moderate risk of reoffending and dangerousness in the

 5     presence of history substance abuse, legal impulsive

 6     acting out of interpersonal chaos, further aggravates his

 7     risk of hurting others.    These are corroborated by the

 8     actuarial risk assessment tools he used.      So you have him

 9     putting Mr. Valerio at a moderate risk which is obviously

10     significant when you are talking about the type of

11     activity that Mr. Valerio was involved in in terms of

12     reoffending.

13                But I believe that this understates the risk for

14     a couple of reasons.    The government pointed out that he

15     did not take into account the defendant's violence towards

16     Ms. Kalichenko or AD and at the hearing he said that in

17     his report he suggested one of the reasons he only put it

18     at moderate was because he hasn't threatened lives of

19     others, he hasn't caused his victims physical harm.       So he

20     was assuming facts that we know to be incorrect.

21                We know that he's threatened the lives of

22     others.   We know he has caused victims physical harm

23     including rape and sexual assaults and beating.       And he

24     conceded at page 58 of the hearing that I think the

25     government said if you assumed those things were true,


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 1     would his risk be even higher and I think he answered yes

 2     and it's obvious that the risk would be higher and that's

 3     why I conclude that it is higher.

 4                He did mention treatment could help, but as the

 5     government pointed out he did have a chance to receive

 6     treatment many years ago and was unsuccessful.       Dr. Barday

 7     does suggest the difference might be that Mr. Valerio now

 8     has finally some remorse for his conduct.      I have some

 9     concerns regarding that because prior to receiving his

10     letter and hearing his statement today his level of

11     remorse was extremely weak.

12                Even Dr. Barday acknowledged that he met with

13     the defendant for many years after the jury's verdict

14     which was in November of 2014, and met with him in

15     December of 2014, February, March and June of 2015, and

16     said that he didn't view his behavior as disturbing.         He

17     was not deeply troubled by this aspect of his sexuality,

18     but not motivated to deal with it.     So he had someone for

19     years even after his conviction was still in complete

20     denial that he had done anything that he should be dealing

21     with or be concerned about.

22                Dr. Barday did say that he finally made that

23     jump in one of the last meetings and obviously the letter

24     and the statements made in the courtroom do indicate a

25     level of remorse and I have considered that, but I don't


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 1     believe that even though Mr. Valerio obviously promised

 2     that he would turn his life around, I don't believe that

 3     that is sufficient to undo all the evidence before me of

 4     the violence that he's been involved in for a number of

 5     years, both to his children and to women.

 6                I don't think there is any indication that his

 7     level of danger would be significantly reduced.       At this

 8     point, as we sit here today, to me it is way too

 9     speculative just based upon his promise for me to conclude

10     that the danger, that compelling danger to society that I

11     believe exists will be diminished at any time during his

12     life.

13                So that's how I arrived at this sentence.      I

14     want to mention the sentencing disparity question.

15     Mr. Lato did point out that Judge Chen gave a 28-year

16     sentence to an individual Randazzo who was engaged in

17     similar type of sexual exploitation.      A 25-year sentence

18     was given by Judge Hurley to a guy named Wernick, and I

19     didn't go back to those cases to look at what their

20     history and characteristics were, whether they had the

21     violent acts that I have found existed in this defendant's

22     past, so I'm not sure if they are completely analogous to

23     the entire record before me.

24                In any event, assuming they were because there

25     are some sentences out there that are lower does not mean


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 1     that this factor is weighing in Mr. Valerio's favor.       The

 2     government points out in a very long cite numerous

 3     sentences of this severity are higher, including Judge

 4     Feuerstein's 90-year sentence in the McGowan case, the

 5     60-year sentence by Judge Mauskopf in the Brooks case, the

 6     75-year sentence in the Schneider case.      I don't believe

 7     the sentence is disproportional to other sentences for

 8     similar type conduct as the court has found here.

 9                The final thing I'll say is I am sensitive,

10     Mr. Lato spent a lot of time in his papers and mentioned

11     it today as well that sentences of life or the equivalent

12     of life are usually reserved for murder.      The Second

13     Circuit has tackled and discussed this issue in several

14     opinions over the past few years including United States v

15     Brown where Judge Pooler dissented making that point and

16     last week there was a case US v Ulbricht, that sentence

17     was imposed by Judge Forrest in a case it was a bit coin

18     case where certainly there were large amounts of drugs

19     involved but he was not convicted of any murder and the

20     Second Circuit again discussed that.

21                And I am sensitive to that.     I have never

22     sentenced anyone to this amount of time that did not

23     involve a murder, but I believe this is the extraordinary

24     case, given the combination of factors and all the

25     evidence before me, that an effective sentence of life is


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 1     necessary to, among other things, protect the public from

 2     the dangerousness that I believe the defendant poses to

 3     the community, notwithstanding his words today.

 4                 That's the sentence I intend to impose.     I don't

 5     think it's necessary given the length of the sentence but

 6     I am going to impose a lifetime supervised release.       If

 7     somehow he were to get out for any reason, he certainly

 8     should be on supervised release with all the conditions

 9     that would be necessary to monitor his activity, even

10     though I don't expect that to happen.

11                 I don't intend to impose a fine, although he

12     obviously has financial means, given the forfeiture in

13     this case and the other aspects of my sentence, I don't

14     believe an additional fine is necessary.

15                 I intend to impose the special assessments

16     except on counts nine through 13 which I'm dismissing

17     without prejudice as multiplicitous, and I'm not ordering

18     any restitution.    And I intend to impose on the counts as

19     set forth in the recommendation to achieve a 60 year

20     sentence.

21                 Is there any legal reason why I cannot impose

22     that sentence from the government's standpoint?

23                 MR. KABRAWALA:    No, your Honor.

24                 THE COURT:   From the defense standpoint?

25                 MR. LA PINTA:    No, sir.


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 1                  THE COURT:   It is the judgment of this court,

 2     Mr. Valerio, in its discretion that you be sentenced to

 3     the custody of the Attorney General through the

 4     Bureau of Prisons to a total term imprisonment of 60 years

 5     or 720 months, consisting of the following:

 6                  On counts one through three, six, seven, eight

 7     and 14, I sentence you to the statutory maximum of 30

 8     years on each count to run concurrently to each other.         On

 9     counts four and five I sentence you to 20 years

10     imprisonment, the statutory maximum on each count which

11     will run concurrently to each other but consecutively to

12     the sentences imposed on the above counts and, finally, I

13     impose a ten-year sentence on count 15, again the

14     statutory maximum, to run consecutively to the sentences

15     that I have imposed on the other counts for a total

16     sentence of 60 years.

17                  I impose lifetime supervised release to follow

18     any term of imprisonment should you get out with the

19     standard conditions and the following special conditions.

20                  1.   You shall comply with the forfeiture

21     provision.

22                  2.   You shall make full financial disclosure to

23     the probation officer.

24                  3.   You shall comply with sex offender

25     registration requirements mandated by law.


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 1                4.   You shall participate in a mental health

 2     treatment program which may include participation in a

 3     treatment program for sexual disorders as approved by the

 4     probation department.    The defendant shall contribute to

 5     the cost of such services rendered and/or any psychotropic

 6     medications prescribed to the degree you are reasonably

 7     able, and shall cooperate in securing any applicable

 8     third-party payment.

 9                You shall disclose all financial information and

10     documents to the probation department to assess your

11     ability to pay.    As part of the treatment program for

12     sexual disorders, you shall participate in a polygraph

13     examination to obtain information necessary for risk

14     management and correctional treatment.

15                You shall refrain from contacting the victims of

16     the offense.

17                You will not associate with any child under the

18     age of 18 unless a responsible adult is present and you

19     have prior approval from the probation department.

20                Unless otherwise indicated in the treatment plan

21     provided by the sex offender treatment program, the

22     defendant is prohibited from viewing, owning or possessing

23     any obscene, pornographic or sexually stimulating visual

24     or auditory material including telephone, electronic

25     media, computer programs or computer services that have a


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 1     reasonably direct relationship to the offender's deviant

 2     behavior pattern.

 3                If the defendant cohabitats with an individual

 4     who has minor children, the defendant will inform that

 5     party of his prior criminal history concerning his sex

 6     offense.   Moreover, he will notify the party of his

 7     prohibition of associating with any children under the age

 8     of 18, unless a responsible adult is present.

 9                The next condition I'm going to tie only to the

10     definition, in order to avoid any issues with the Circuit

11     that's come up in past cases.

12                The defendant is not to use a computer, internet

13     capable device, or similar electronic device to access

14     pornography of any kind.     The term pornography shall

15     include images or video of adults or minors engaged in

16     sexually explicit conduct as that term is defined in Title

17     18, United States Code, Section 2256(2).      The defendant

18     shall not communicate via his computer with any individual

19     or group who promotes the sexual abuse of children.

20                The defendant shall also cooperate with the US

21     Probation Department's computer and internet monitoring

22     program.   Cooperation shall include, but not be limited

23     to, identifying computer systems, internet capable

24     devices, and/or similar electronic devices the defendant

25     has, and allowing the installation of monitoring software


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 1     and/or hardware on said devices at the defendant's

 2     expense.

 3                The defendant shall inform all parties that

 4     access a monitored computer, or similar electronic device,

 5     that the device is subject to search and monitoring.       The

 6     defendant may be limited to possessing only one personal

 7     internet capable device to facilitate our department's

 8     ability to effectively monitor his internet related

 9     activities.   The defendant shall also permit random

10     examinations of said computer systems, internet capable

11     devices, similar electronic devices, and related computer

12     media, such as CDs, under his control.

13                The defendant shall notify his employer of his

14     computer-related offense if his job requires computer

15     access with internet capability.

16                The defendant shall not possess a firearm,

17     ammunition or destructive device.

18                The defendant shall submit his person, property,

19     house, residence, vehicle, papers, computers, as defined

20     in 18 USC, Section 1030(E)(1), other electronic

21     communications or data storage devices or media, or office

22     to a search conducted by a United States Probation

23     Officer.   Failure to submit to a search may be grounds for

24     revocation of release.

25                The defendant shall warn any other occupants


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 1     that the premises may be subject to searches pursuant to

 2     this condition.    An officer may conduct a search pursuant

 3     to this condition only when reasonable suspicion exists

 4     that the defendant has violated a condition of his

 5     supervision and that the areas to be searched contain

 6     evidence of this violation.      Any search must be conducted

 7     at a reasonable time and in a reasonable manner.

 8                  I order a special assessment of I believe $1,000

 9     having dismissed counts nine through 13, $100 on each of

10     the remaining ten counts, and I order forfeiture as set

11     forth in the final order of forfeiture including the

12     desktop computer, the SD card, and the $75,000 in

13     substitute for the Highgate Drive premises.

14                  I impose no fine or restitution.

15                  Mr. Valerio, I need to advise you of your right

16     to appeal the conviction and sentence.      If you are unable

17     to pay the cost of appeal you may apply for leave to

18     appeal in forma pauperis.     If you cannot afford an

19     attorney, one will be appointed on appeal to represent

20     you.   The notice of appeal must be filed within 14 days of

21     the judgment of conviction.

22                  I have dismissed counts nine through 13 without

23     prejudice.

24                  Does the government move to dismiss the open

25     counts in the underlying indictment?


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 1                  MR. KABRAWALA:    So moved, Judge.

 2                  THE COURT:   The open counts in the underlying

 3     original indictment are dismissed.

 4                  Are there any other issues from the government

 5     for today?

 6                  MR. BODE:    Just one thing I would ask your Honor

 7     to put on the record.

 8                  Obviously the court was cognizant of the

 9     lifetime advisory, the 216 I think was the advisory

10     guideline range that the court found, advisory guideline

11     sentence and the court structured the sentence to

12     accomplish that 30 and 20 consecutive and a ten

13     consecutive.

14                  If for some reason there were an issue with

15     counts four, five, and 15, am I safe in assuming that the

16     court would have considered consecutive sentences as to

17     victim one and victim two to accomplish the same 60-year

18     sentence?

19                  THE COURT:   Yes.

20                  MR. BODE:    Thank you.

21                  THE COURT:   My sentence you might have meant

22     something else with respect to the guidelines.       I know the

23     guidelines is 216 years, the advisory range, but my

24     sentence is not driven by the guidelines in this case.

25     Regardless of what the guidelines were, that number is not


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 1     influencing me.

 2                It's based upon what I have seen in this case

 3     and reviewed during the trial, during the hearings.       So

 4     this is not a case -- I know there are Second Circuit

 5     cases that talk about the guidelines sometimes for child

 6     pornography can be too severe for certain situations.          I

 7     don't believe that this is a case where this guideline

 8     number is driving the sentence.

 9                But, yes, the answer to your question is yes,

10     the sentence would be the same even in the absence of

11     those counts.

12                MR. BODE:    Thank you, your Honor.

13                THE COURT:   Anything from the defense?

14                MR. LATO:    Yes.

15                Just with respect to designation.     Given that

16     Mr. Valerio's family is on Long Island will your Honor

17     recommend to the Bureau of Prisons that to the extent they

18     can to designate him to a facility as close as possible to

19     Long Island?

20                THE COURT:   Yes.

21                I will designate that.    I will also recommend

22     that he receive treatment in the jail as well.       I won't

23     mention, I didn't mention this in my reasoning, obviously

24     I don't dispute the fact that his family loves him.       He

25     has their support, and that he's done good things for his


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 1     family.

 2                But he had that family all along when he engaged

 3     in this dangerous and violent conduct.      The fact that he

 4     may be good to his family doesn't mean that he can't at

 5     the same time pose an extreme danger to other individuals

 6     which I believe he poses.     I did consider that as well.

 7                Thank you.

 8                (The matter concluded.)

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                       UNITED STATES DISTRICT COURT
                                        for the
                            EASTERN DISTRICT OF NEW YORK

United States of America,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
               v.                                  )
                                                   )    Case No. 14-CR-94-JFB
Joseph Valerio,                                    )
                                                   )
                        Defendant.                 )
                                                   )

                                     NOTICE OF APPEAL

       Notice is hereby given that Joseph Valerio, the defendant in the captioned case, hereby
appeals to the United States Court of Appeals for the Second Circuit from the final judgment
(conviction and sentence) entered in this action on August 1, 2017. According to the judgment,
the judgment was "filed" on June 6, 2017, and was signed by the district judge on July 31, 2017.
According to the docket sheet, the judgment was "entered" on August 1, 2017.


 Date: August 1, 2017

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